Case: 2:23-cv-02813-MHW-CMV Doc #: 37-1 Filed: 06/26/24 Page: 1 of 157 PAGEID #: 166
                                                                                Exhibit A

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  UNITED STATES OF AMERICA,                     :       Case No. 2:23-CV-02813-MHW-CMV
                                                :
                        Plaintiff,              :       Judge Michael H. Watson
                                                :
  v.                                            :       Magistrate Judge Chelsey M. Vascura
                                                :
  JOSEPH EARL LUCAS, et al.                     :
                                                :
                        Defendants.             :

  INTERVENING PLAINTIFF UNITED OHIO INSURANCE COMPANY’S COMPLAINT
                    FOR DECLARATORY JUDGMENT

         Now comes Intervening Plaintiff, United Ohio Insurance Company (“United Ohio”), by

  and through counsel, and for its Complaint against Defendants Joie and Jeremy Carr, hereby states

  as follows:

         1.      United Ohio is an insurer authorized to issue policies of insurance in the State of

  Ohio and elsewhere.

         2.      United Ohio issued Policy No. CPP 0018978 to J Carr Rental Property, LLC for

  consecutive one-year periods from January 15, 2020 to January 15, 2021 (Exhibit 1). Policy No.

  CPP 0018978 was thereafter renewed for consecutive one-year periods from January 15, 2021 to

  January 15, 2022; January 15, 2022 to January 15, 2023; January 15, 2023 to January 15, 2024;

  and January 15, 2024 to January 15, 2025 (“the United Ohio Policies”).

         3.      Plaintiff United States of America filed an Amended Complaint on February 21,

  2024 against Joie and Jeremy Carr, among others, alleging claims under the Fair Housing Act

  related to acts of sex discrimination and sexual harassment of actual or prospective female tenants

  at rental property or properties owned by Joie and Jeremy Carr (“the Underlying Litigation”)

  perpetrated by Defendant Joseph Earl Lucas.
                                                    1
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          4.      Generally, the Underlying Litigation arises out of allegations that certain actual or

  prospective tenants were aggrieved by Defendants’ discriminatory conduct for many years at

  various rental properties managed by Defendant Joseph Earl Lucas, including at least one rental

  property owned by Joie and Jeremy Carr.

          5.      Plaintiff alleges that “Defendant Joseph Earl Lucas’s discriminatory housing

  practices… occurred within the scope of his agency relationship with Defendants … Joie Carr, and

  Jeremy Carr, and were aided by the existence of that agency relationship” and is thus liable to

  Plaintiff and those aggrieved by Joie and Jeremy Carr’s discriminatory conduct under the Fair

  Housing Act. Plaintiff further alleges that Joie and Jeremy Carr’s “conduct, as described in [the

  Amended Complaint], was intentional, willful and taken in reckless disregard of the rights of

  others.”

          6.      Joie and Jeremy Carr seek coverage under the United Ohio Policies as insureds for

  the claims asserted against it by Plaintiff in the Underlying Litigation.

          7.      United Ohio has and continues to defend Joie and Jeremy Carr in the underlying

  litigation subject to a complete reservation of rights.

          8.      United Ohio does not believe that it has a duty to defend and/or indemnify Joie and

  Jeremy Carr under the United Ohio Policies for some or all of the claims asserted against them by

  Plaintiff in the underlying litigation.

          9.      An actual and substantial controversy exists between Joie and Jeremy Carr and

  United Ohio as to whether the United Ohio Policies provide coverage to Joie and Jeremy Carr in

  the Underlying Litigation. Such controversies require a declaration of the respective rights and

  responsibilities of United Ohio and Joie and Jeremy Carr under the United Ohio Policies.




                                                    2
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     COUNT I – DECLARATORY JUDGMENT AGAINST JOIE AND JEREMY CARR

         10.     United Ohio incorporates by reference Paragraphs 1 through 9 above as if fully

  rewritten herein.

         11.      The United Ohio Policies, subject to other terms and conditions, provide

  commercial general liability coverage via coverage form CG 00 01 12 07, which only applies to

  damages or injuries because of “bodily injury” or “property damage” resulting from an “accident”

  or “occurrence” as those terms are defined in the policies which takes place during the policy

  period. The policy provides in pertinent part:

         SECTION I - COVERAGES

         COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

                 1. Insuring Agreement

                         a.     We will pay those sums that the insured becomes legally obligated
                                to pay as damages because of “bodily injury” or “property damage”
                                to which this insurance applies. We will have the right and duty to
                                defend the insured against any “suit” seeking those damages.
                                However, we will have no duty to defend the insured against any
                                “suit” seeking damages for “bodily injury” or “property damage” to
                                which this insurance does not apply.

                         ***

                         b.     This insurance applies to “bodily injury” and “property
                                damage” only if:

                                (1)     The “bodily injury” or “property damage” is caused by an
                                        “occurrence” that takes place in the “coverage territory”:

                                (2)     The “bodily injury” or “property damage” occurs during the
                                        policy period; and

                                (3)      Prior to the policy period, no insured listed under Paragraph
                                        1. of Section II-Who Is An Insured and no “employee”
                                        authorized by you to give or receive notice of an
                                        “occurrence” or claim, knew that the “bodily injury” or
                                        “property damage” had occurred, in whole or in part. If such
                                                   3
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                                        a listed insured or authorized “employee” knew, prior to the
                                        policy period, that the “bodily injury” or “property damage”
                                        occurred, then any continuation, change or resumption of
                                        such “bodily injury” or “property damage” during or after
                                        the policy period will be deemed to have been known before
                                        the policy period. * * *

         20.     The United Ohio Policies define “occurrence” as:

                 13.    “Occurrence” means an accident, including continuous or
                        repeated exposure to substantially the same general harmful
                        conditions.

         21.     The United Ohio Policies define “bodily injury” as:

                 3.     “Bodily injury” means bodily injury, sickness or disease
                        sustained by a person, including death resulting from any of
                        these at any time.

         22.     The United Ohio Policies define “property damage” as:

                 17.    “Property damage” means:

                        a.      Physical injury to tangible property, including all resulting loss of
                                use of that property. All such loss of use shall be deemed to occur at
                                the time of the physical injury that caused it; or

                        b.      Loss of use of tangible property that is not physically injured. All
                                such loss of use shall be deemed to occur at the time of the
                                “occurrence” that caused it.

         23.     United Ohio questions whether some or all of the alleged “bodily injury” occurred

  during the period of time that the United Ohio Policies were in effect, whether any “bodily injury”

  was caused by an “occurrence” and whether any of the claimants or potential claimants sustained

  “bodily injury” or “property damage” as those terms are defined in the policies.

         24.     The United Ohio commercial general liability coverage form contain the following

  Exclusions applicable to Coverage A:

                 This insurance does not apply to:

                 a.     Expected Or Intended Injury
                                                     4
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                           “Bodily injury” or “property damage” expected or intended from the
                           standpoint of the insured. This exclusion does not apply to “bodily injury”
                           resulting from the use of reasonable force to protect persons or property.

                  b.       Contractual Liability

                           “Bodily injury” or “property damage” for which the insured is obligated to
                           pay damages by reason of the assumption of liability in a contract or
                           agreement. This exclusion does not apply to liability for damage:

                           (1)    That the insured would have in the absence of the contract or
                                  agreement; or

                           (2)    Assumed in a contract or agreement that is an “insured contract”,
                                  provided the “bodily injury” or “property damage” occurs
                                  subsequent to the execution of the contract or agreement. Solely
                                  for the purposes of liability assumed in an “insured contract”,
                                  reasonable attorney fees and necessary litigation expenses incurred
                                  by or for a party other than an insured are deemed to be damages
                                  because of “bodily injury” or “property damage”, provided:

                                  (a)     Liability to such party for, or for the cost of, that party’s
                                          defense has also been assumed in the same “insured
                                          contract”; and

                                  (b)     Such attorney fees and litigation expenses are for defense of
                                          that party against civil or alternative dispute resolution
                                          proceeding in which damages to which this insurance applies
                                           are alleged.

          25.     One or more of the foregoing exclusions may apply to preclude coverage under the

  commercial general liability coverage form for some or all of the damages sought in the

  Underlying Litigation.

          26.     The United Ohio Policies, subject to other terms and conditions, provide personal

  and advertising injury liability coverage via coverage form CG 00 01 12 07. The policy provides

  in pertinent part:

          COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY

                  1. Insuring Agreement

                                                     5
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                       a.      We will pay those sums that the insured becomes legally obligated
                               to pay as damages because of “personal and advertising injury” to
                               which this insurance applies. We will have the right and duty to
                               defend the insured against any “suit” seeking those damages.
                               However, we will have no duty to defend the insured against any
                               “suit” seeking damages for “personal and advertising injury” to
                               which this insurance does not apply.

                       ***

                       b.    This insurance applies to “personal and advertising injury” caused
                             by an offense arising out of your business but only if the offense was
                             committed in the “coverage territory” during the policy period.
          27.   The United Ohio Policies define “personal and advertising injury” as:

                14.    “Personal and advertising injury” means injury, including
                       consequential “bodily injury”, arising out of one or more of the
                       following offenses:

                       a.      False arrest, detention or imprisonment;

                       b.      Malicious prosecution;

                       c.      The wrongful eviction from, wrongful entry into, or
                               invasion of the right of private occupancy of a room,
                               dwelling or premises that a person occupies, committed
                               by or on behalf of its owner, landlord or lessor; * * *

          28.   United Ohio questions whether any “personal and advertising injury” occurred

  during the period of time that the United Ohio Policies were in effect and whether any of the

  claimants or potential claimants sustained “personal and advertising injury” as defined in the

  policies.

          29.   The United Ohio commercial general liability coverage form contain the following

  Exclusions applicable to Coverage B:

                This insurance does not apply to:

                a.     Knowing Violation Of Rights Of Another

                       “Personal and advertising injury” caused by or at the direction of the insured
                       with the knowledge that the act would violate the rights of another and
                                                    6
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                           would inflict “personal and advertising injury”. * * *

                d.         Criminal Acts

                           “Personal and advertising injury” arising out of a criminal act committed by
                           or at the direction of the insured.

         30.    One or more of the foregoing exclusions may apply to preclude coverage under the

  commercial general liability coverage form for some or all of the damages sought in the

  Underlying Litigation.

         31.    The United Ohio Policies do not provide coverage for any claim or claims for

  punitive damages, exemplary damages, fines, costs, interests or penalties asserted against an

  insured given that Ohio statutory law precludes insurance coverage for punitive damages as well

  as commercial general liability form IL UO 15 (12/15) contained in the United Ohio Policies which

  provides:

                This insurance policy, including any endorsements or coverage parts attached
                hereto, does not apply to:

                           1.     Any punitive or exemplary damages, fines, costs, interests, or
                                  penalties; or
                           2.     Any attorney fees as a result of punitive or exemplary damages,
                                  fines, costs, interests, or penalties..

         32.    United Ohio reserves the right to assert other provisions of the United Ohio Policies

  which may apply to preclude coverage as to some or all of the claims asserted against Joie Carr

  and Jeremy Carr as may be determined by discovery.

         33.    Based on the foregoing, the United Ohio Policies may not provide coverage to Joie

  Carr and Jeremy Carr for any claims or damages asserted against them in the Underlying

  Litigation.

         WHEREFORE, United Ohio Insurance Company respectfully requests a declaration that

  Joie Carr and Jeremy Carr that the United Ohio Policies do not provide coverage (defense or
                                                     7
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  indemnity) to Joie Carr and Jeremy Carr for the claims and damages asserted against them in the

  Underlying Litigation. United Ohio Insurance Company further requests its costs herein and any

  other relief to which the Court deems United Ohio entitled.

                                                         Respectfully submitted,


                                                         /s/ Matthew R. Planey
                                                         MATTHEW R. PLANEY             (0066662)
                                                         PLUNKETT COONEY
                                                         716 Mt. Airyshire Blvd., Suite 150
                                                         Columbus, OH 43235
                                                         Phone: (614) 629-3000
                                                         Fax: (248) 910-4040
                                                         E-mail:Mplaney@plunkettcooney.com
                                                         Attorneys for United Ohio Insurance
                                                         Company



                                   CERTIFICATE OF SERVICE

         This is to certify that on this ________________, the foregoing document was

  electronically filed with the Clerk of the United States District Court for the Southern District of

  Ohio, using the CM/ECF system, which will send notification of such filing to all counsel of

  record. This document was filed electronically and is available for viewing and downloading from

  the ECF system.


                                                s/ Matthew R. Planey
                                                Matthew R. Planey, Esq.



                                                Open.P1545.P1545.33770095-1




                                                   8
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DocuSign Envelope ID: 68453262-E6C9-4860-96A6-5DFDEE80A225                          Exhibit 1




                                      CERTIFIED COPY OF POLICY


                                     POLICY NUMBER: CPP0018978

                                                      ,---DocuSigned by:


                                                             t-kt,att(1-r browtA,
                                                        --Fsr.c2R4nRnsocmig
                                                     Underwriting Manager




                                                              3/5/2024

                                                                  Date
    Case: 2:23-cv-02813-MHW-CMV Doc #: 37-1 Filed: 06/26/24 Page: 10 of 157 PAGEID #: 175
DocuSign Envelope ID: 68453262-E6C9-4660-96A6-5DFDEE80A225
               urr-untrea unto Insurance uo.
               P.O. Box 111
               Bucyrus, OH 44820


                                               COMMERCIAL PACKAGE POLICY
                                               DECLARATION SUMMARY PAGE
      Policy Number CPP 0018978 06                                  Policy Period: From 01/15/2020 To 01/15/2021
        Renewal of policy CPP 0018978                                             12:01 A.M. Standard Time at the Named Insured's Address

      Transaction   RENEWAL DECLARATION                                                     Customer #:             CPP0018978

                                                                                      Pay Plan: Automatic Monthly
     Named Insured and Address                                      Agent
     J CARR RENTAL PROPERTY LLC                                     MATHEWS INSURANCE INC                                1120000
     17651 S CANAAN ROAD                                            240 COLUMBUS ROAD
     ATHENS OH 45701                                                ATHENS OH 45701


                                                                    Telephone: 740-593-5573
Business Description                                                Type of Business                          Audit Period
RENTAL DWELLINGS                                                    LIMITED LIABILITY CORP                    NONE

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy. This policy consists of the following coverage parts for which a premium is indicated.
This premium may be subject to adjustment.
                    COVERAGE PART DESCRIPTION                                                                            PREMIUM
                    Commercial Fire                                                                                   $1,091.00
                    General Liability                                                                                     $566.00
                                                                     POLICY PREMIUM                                     1,657.00
                                                                     DEPOSIT PREMIUM
                                                                     TAXES AND SURCHARGES
                                                                     TOTAL DEPOSIT PREMIUM


Forms applicable to all Coverage Parts:                 See Forms and Endorsements schedule




These Declarations together with the common policy conditions, coverage declarations, coverage form(s), and form(s) and
endorsements, if any, issued, complete the above numbered policy.




                                                                                                           Issue Date: 12/15/19
CPPDEC 1 of 1                                            INSURED COPY                                                1 of 16
        Case: 2:23-cv-02813-MHW-CMV Doc #: 37-1 Filed: 06/26/24 Page: 11 of 157 PAGEID #: 176
DocuSign Envelope ID: 68453262-E6C9-4860-96A6-5DFDEE80A225
                urr-unneu Lau UldllUe                                           COMMERCIAL PROPERTY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820                                                Policy Number:      CPP 0018978 06
                                                                                 Named Insured: J CARR RENTAL PROPERTY LLC
                                                                                 Agent: MATHEWS INSURANCE INC              1120000




                                        TOTAL PREMIUM FOR THIS COVERAGE PART                                                    $1, 091



                                                  DESCRIPTION OF PREMISES
Prem. Bldg.                                                                                                                    Prot.
No.   No.          Occupancy                                                                   Construction                    Class Terr
00001 00001        ONE FAMILY DWELLING                                                          Frame                          07      050


00002 00001        ONE FAMILY DWELLING                                                         Frame                           09      050




                                         DESCRIPTION OF COVERAGES PROVIDED
PREM.     BLDG.                                                       LIMIT OF BLANKET        COVERED
NO.       NO.     COVERAGE                                          INSURANCE COVERAGE     CAUSES OF LOSS COINt         DED.        PREMIUM

00001 00001                     Building                            107,553                   SPECIAL         80       1,000           $351

00001 00001                  Business Income                           8,500                  SPECIAL         80                        $18
                      With Extra Expense
00002 00001                     Building                            170,818                   SPECIAL         80      1,000            $603

00002 00001                  Business Income               13,500                             SPECIAL         80                        $30
                     With Extra Expense
t COINSURANCE - IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS PAYMENT



                                DESCRIPTION OF OPTIONAL COVERAGES PROVIDED
                                                                           Replacement Costt Inflation Grd Monthly     Maximum Extended
Prem.    Bldg.                                                      Agreed     Pers   Inc'            Pers Limit of    Period of Period of
No.      No.      Coverage       Effective Date   Expiration Date   Value Bldg Prop "Stock" Bldg Prop Indemnity        Indemnity Indemnity

00001 00001 BLDG                                                           Rc                   4%
00001 00001 BUSINC                                                                                            N/A
00002 00001 BLDG                                                           RC                   4%
00002 00001 BUSINC                                                                                           N/A

t   RC = Replacement Cost
    FRC = Functional Replacement Cost
    ACV = Actual Cash Value




                                                                                                                    Issue Date: 12/15/19
CFDEC 1 of 2                                                 INSURED COPY                                                     2 of 16
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DocuSign Envelope ID: 68453262-E6C9-4860-96A6-5DFDEE80A225
                urr-unituu uiuu III UIdi1Gr VU.                     COMMERCIAL PROPERTY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820                                       Policy Number:   CPP 0018978 06
                                                                        Named Insured: J CARR RENTAL PROPERTY LLC
                                                                        Agent: MATHEWS INSURANCE INC              1120000




                               DESCRIPTION OF ADDITIONAL COVERAGES PROVIDED

COVERAGE         DESCRIPTION                                                                                       PREMIUM

CP UO 03         Equipment Breakdown Coverage                                                                           $87

OH-MSI-2         Loc    1 Bldg     1 Mine Subsidence Cov                                                                    $1

OH-MSI-2         Loc    2 Bldg      1 Mine Subsidence Cov                                                                   $1




    MORTGAGEES AND ADDITIONAL INTERESTS
        Refer to attached schedule, if any.

   FORMS AND ENDORSEMENTS
        Refer to attached schedule, if any.




                                                                                                      Issue Date: 12/15/19
CFDEC 2 of 2                                             INSURED COPY                                           3 of 16
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DocuSign Envelope ID: 68453262-E6C9-4B60-96A8-5DFDEE80A225
                urr-uiliwu UIIIU insuldllce UU.                         GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820
                                                                        Policy Number:      CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                            Agent: MATHEWS INSURANCE INC              1120000



      TOTAL PREMIUM FOR THIS COVERAGE PART                                                                   $566.00


      LIMITS OF INSURANCE
            General Aggregate Limit (Other than Products-Completed Operations)                          $       2,000,000
            Products - Completed Operations Aggregate Limit                                             $       2,000,000
            Each Occurrence Limit                                                                       $       1,000,000
            Personal and Advertising Injury Limit                                                       $       1,000,000
            Medical Expense Limit, any one person                                                                   5,000
            Fire Damage Limit, any one fire                                                                       100,000




      AMENDED LIMITS OF LIABILITY
            Refer to attached schedule, if any.


     LOCATIONS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
            Refer to attached schedule.


     CLASSIFICATIONS
            Refer to attached schedule.



     FORMS AND ENDORSEMENTS
            Refer to attached schedule, if any.




                                                                                                             Issue Date: 12/15/19
GLDEC 1 of 6                                                 INSURED COPY                                              4 of 16
     Case: 2:23-cv-02813-MHW-CMV Doc #: 37-1 Filed: 06/26/24 Page: 14 of 157 PAGEID #: 179
DocuSign Envelope ID: 68453262-E6C9-4B60-96A6-5DFDEE80A225
                Ur r-uniteu UIIIU uISurdnue UU.                         GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820                                       —Policy Number: CPP 0018978 06
                                                                         Named Insured: J CARR RENTAL PROPERTY LLC
                                                                         Agent: MATHEWS INSURANCE INC              1120000




                                              EXTENSION OF DECLARATIONS

    LOCATION OF PREMISES
    Location of All Premises You Own, Rent or Occupy:
    00001                                                             00002
    31 ELLIS AVENUE                                                   8415 NEW ENGLAND ROAD
    CHAUNCEY OH 45719                                                 STEWART OH 45778



    00003                                                             00004
    6950 SR 329                                                       6954 SR 329
    GUYSVILLE OH 45735                                                GUYSVILLE OH 45735


    00005                                                             00006
    6956 SR 329                                                       6948 SR 329
    GUYSVILLE OH 45735                                                GUYSVILLE OH 45735


    00007                                                             00008
    6946 SR 329                                                       19480 12 STORER STREET
    GUYSVILLE OH 45735                                                LOT 1
                                                                      GUYSVILLE OH 45735

   00009                                                              00010
   19486 12 STORER STREET                                             19488 12 STORER STREET
   LOT 2                                                              LOT 3
   GUYSVILLE OH 45735                                                 GUYSVILLE OH 45735

   00011                                                              00012
   12875 MILLCREEK ROAD                                               9930 MARTIN ROAD
   MILLFIELD OH 45761                                                 GLOUSTER OH 45732


   00013
   17775 S CANAAN ROAD
   ATHENS OH 45701




                                                                                                      Issue Date: 12/15/19
GLDEC 2 of 6                                                 INSURED COPY                                       5 of 16
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DocuSign Envelope ID: 68453262-E6C9-4B60-96A6-5DFDEE80A225
                Urr-unituu unit) inbuidnue                               GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820                                           Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                         —Agent: MATHEWS INSURANCE INC                  1120000



    PREMIUM
                                                                             Rate                   Advance Premium
    Location Classification Code No.         Exposure        Basis   Prem.Ops. Prod/Comp        Prem.Ops.    Prod/Comp
                                                                                    Ops.                          Ops.

     00001                 63010   $         1 - T   31.60900                     INCL               $32.00     INCL
               DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




     00002                63010   $         1 - T   31.60900                      INCL               $32.00     INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




     00003                63010   $         1 - T   31.60900                      INCL               $32.00     INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




     00004                63010   $         1 - T   31.60900                      INCL              $32.00      INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




     00005                63010   $         1 - T   31.60900                      INCL              $32.00      INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




    00006                 63010   $         1 - T   31.60900                      INCL              $32.00      INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




    00007                 63010   $         1 - T   31.60900                      INCL              $32.00      INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




    00008                 63010   $         1 - T   31.60900                     INCL               $32.00 INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




                                                                                                            Issue Date: 12/15/19
GLDEC 3 of 6                                                 INSURED COPY                                             6 of 16
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DocuSign Envelope ID: 68453262-E6C9-4B60-96A6-5DFDEE80A225
                urr-uiliteu UIIIU IIISUIdllce VU.                       GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820                                           Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                            Agent: MATHEWS INSURANCE INC              1120000



      PREMIUM
                                                                           Rate                      Advance Premium
      Location Classification Code No.       Exposure        Basis Prem.Ops. Prod/Comp           Prem.Ops.    Prod/Comp
                                                                                  Ops.                             Ops.

      00009                63010   $         1 - T   31.60900                       INCL             $32.0O    INCL
               DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




      00010                63010   $         1 - T   31.60900                       INCL             $32.0O    INCL
               DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




      00011                63010   $         1 - T   31.60900                       INCL             $32.0O    INCL
               DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




      00012               63010   $         1 - T   31.60900                        INCL             $32.00    INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




      00013               63010   $         1 - T   31.60900                        INCL             $32.00    INCL
              DWELLINGS-ONE-FAMILY (LESSOR'S RISK ONLY




                                            Extension of Declarations - Total Advance Annual Premium            $416.00


                        COMMERCIAL GENERAL LIABILITY CLASSIFICATION SCHEDULE

Loc      St Terr Code          Premium Basis                 Exposure        Rate          Per        Coy             Premium
         Classification Description
00001 OH 509 49950                                                  1                      N/A        ADDINS          $50.00
         ADDITIONAL INTERESTS CLASS CODE



00002 OH 509 49950                                                  1                      N/A        ADDINS
         ADDITIONAL INTERESTS CLASS CODE




                                                                                                         Issue Date: 12/15/19
GLDEC 4 of 6                                                 INSURED COPY                                          7 of 16
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                urr-untieu UIIIU                                        GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus. OH 44820                                       Policy Number: CPP 0018978 06
                                                                        Named Insured: J CARR RENTAL PROPERTY LC
                                                                        Agent: MATHEWS INSURANCE INC             1120000




                        COMMERCIAL GENERAL LIABILITY CLASSIFICATION SCHEDULE

 Loc     St Terr Code          Premium Basis                 Exposure    Rate        Per          Coy          Premium
         Classification Description
00003 OH 509 49950                                                  1                N/A         ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00004 OH 509 49950                                                  1                N/A         ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00005 OH 509 49950                                                  1                N/A         ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00006 OH 509 49950                                                  1                N/A         ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00007 OH 509 49950                                                 1                N/A          ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00008 OH 509 49950                                                 1                N/A          ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00009 OH 509 49950                                                 1                N/A          ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00010 OH 509 49950                                                 1                N/A          ADDINS
         ADDITIONAL INTERESTS CLASS CODE



00011 OH 509 49950                                                 1                N/A          ADDINS
         ADDITIONAL INTERESTS CLASS CODE




                                                                                                    Issue Date: 12/15/19
GLDEC 5 of 6                                             INSURED COPY                                         8 of 16
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                Lirr-urittuu LAW                                       GENERAL LIABILITY DECLARATION
                P.O. Box 111
                Bucyrus, OH 44820
                                                                           Policy NufFiber:   CPP 0018978 06
                                                                           Named Insured: J CARR RENTAL PROPERTY LLC
                                                                           Agent: MATHEWS INSURANCE INC              1120000




                        COMMERCIAL GENERAL LIABILITY CLASSIFICATION SCHEDULE

Loc     St Terr Code          Premium Basis                 Exposure        Rate         Per             Coy            Premium
        Classification Description
00012 OH 509 49950                                                 1                     N/A            ADDINS

      ADDITIONAL INTERESTS CLASS CODE



00013 OH 509 49950                                                 1                     N/A            ADDINS           $50.00

      ADDITIONAL INTERESTS CLASS CODE CG 2026




                                 ADDITIONAL COVERAGES AND ENDORSEMENTS
COVERAGE         DESCRIPTION                                                                                               PREMIUM


    ILU041          Cyber Liability                                                                                            $50




                                                                                                               Issue Date: 12/15/19
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               urr-unimu                                                COMMERCIAL POLICY SCHEDULES
               P.O. Box 111
               Bucyrus, OH 44820
                                                                        Policy Number:   CPP 0018978 06
                                                                        Named Insured: J CARR RENTAL PROPERTY LLC
                                                                        Agent: MATHEWS INSURANCE INC              1120000




                                             LOCATION ADDRESS SCHEDULE

    Prem #     1
    31 ELLIS AVENUE
    CHAUNCEY OH 45719



                     Building # 1
                     ONE FAMILY DWELLING

    Prem #     2
    8415 NEW ENGLAND ROAD
    STEWART OH 45778



                     Building # 1
                     ONE FAMILY DWELLING

    Prem #     3
    6950 SR 329
    GUYSVILLE OH 45735




                     Building # 1
                     ONE FAMILY DWELLING

    Prem #     4
    6954 SR 329
    GUYSVILLE OH 45735




                     Building # 1
                     ONE FAMILY DWELLING

    Prem #    5
    6956 SR 329
    GUYSVILLE OH 45735



                     Building # 1
                     ONE FAMILY DWELLING




                                                                                                          Issue Date: 12/15/19
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               urr-utilteu               UU.                        COMMERCIAL POLICY SCHEDULES
               P.O. Box 111
               Bucyrus, OH 44820                                         0 cy V .umber:
                                                                                 -      CPP 0018978 06
                                                                        Named Insured: J CARR RENTAL PROPERTY LLC
                                                                         gent: MATHEWS INSURANCE INC              1120000




    Prem #     6
    6948 SR 329
    GUYSVILLE OH 45735




                     Building # 1
                     ONE FAMILY DWELLING

    Prem #    7
    6946 SR 329
    GUYSVILLE OH 45735




                    Building # 1
                    ONE FAMILY DWELLING

    PR= #     8
    19480 12 STORER STREET
    LOT 1
    GUYSVILLE OH 45735


                    Building # 1
                    ONE FAMILY DWELLING

    Prem #    9
   19486 12 STORER STREET
   LOT 2
   GUYSVILLE OH 45735


                    Building # 1
                    ONE FAMILY DWELLING

   Prem #     10
   19488 12 STORER STREET
   LOT 3
   GUYSVILLE OH 45735


                    Building # 1
                    ONE FAMILY DWELLING

   Prem #     11
   12875 MILLCREEK ROAD
   MILLFIELD OH 45761




                    Building # 1
                    ONE FAMILY DWELLING




                                                                                                     Issue Date: 12/15/19
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                urr-unittu UM()           Uu,                           COMMERCIAL POLICY SCHEDULES
                P.O. Box 111
                Bucyrus, OH 44820
                                                                            Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                            Agent: MATHEWS INSURANCE INC              1120000




    Prem ri   12
    9930 MARTIN ROAD
    GLOUS TER OH 45732



                     Building # 1
                     ONE FAMILY DWELLING

    Prem #    13
    17775 S CANAAN ROAD
    ATHENS OH 45701



                     Building # 1
                     ONE FAMILY DWELLING




                                                                                                         Issue Date: 12/15 /19
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                urr-uf iiteu unto WWI dl lUe W.                         COMMERCIAL POLICY SCHEDULES
                P.O. Box 111
                Bucyrus, OH 44820
                                                                            Policy Number: CPP 0018978 06
                                                                          Named Insured: J CARR RENTAL PROPERTY LLC
                                                                        - Agent: MATHEWS INSURANCE INC              1120000




                                               POLICY INTEREST SCHEDULE

    00001                                                             00002
    Additional Interest CG 20 26                                      Additional Interest CG 20 26
    JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
    17651 S CANAAN ROAD                                               17651 S CANNAN ROAD
    ATHENS OH 45701                                                   ATHENS OH 45701




    00003                                                             00004
    Additional Interest CG 20 26                                      Additional Interest CG 20 26
    JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
    17651 S CANNAN ROAD                                               17651 S CANAAN ROAD
    ATHENS OH 45701                                                   ATHENS OH 45701




    00005                                                             00006
    Additional Interest CG 20 26                                      Additional Interest CG 20 26
    JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
    17651 S CANAAN ROAD                                               17651 S CANAAN ROAD
    ATHENS OH 45701                                                   ATHENS OH 45701




    00007                                                             00008
    Additional Interest CG 20 26                                      Additional Interest CG 20 26
    JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
    17651 S CANAAN ROAD                                               17651 S CANAAN ROAD
    ATHENS OH 45701                                                   ATHENS OH 45701




    00009                                                             00010
    Additional Interest CG 20 26                                      Additional Interest CG 20 26
    JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
    17651 S CANAAN ROAD                                               17651 S CANAAN ROAD
    ATHENS OH 45701                                                   ATHENS OH 45701




   00011                                                             00012
   Additional Interest CG 20 26                                      Additional Interest CG 20 26
   JEREMY AND JOIE CARR                                              JEREMY AND JOIE CARR
   17651 S CANAAN ROAD                                               17651 S CANAAN ROAD
   ATHENS OH 45701                                                   ATHENS OH 45701




                                                                                                            Issue Date: 12/15/19
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               urr-urineu                                               COMMERCIAL POLICY SCHEDULES
               P.O. Box 111
               Bucyrus, OH 44820                                            Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                            Agent: MATHEWS INSURANCE INC              1120000



    00013                                                             00002
    Additional Interest CG 20 26                                      Mortgagee
    JEREMY & JOIE CARR                                                FIRST NATIONAL BANK OF
    17651 S CANAAN ROAD                                               MCCONNELSVILLE
    ATHENS OH 45701                                                   PO BOX 208
                                                                      MCCONNELSVILLE OH 43756




                                                                                                         Issue Date: 12/15/19
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                urr-untLeu UIIIU InSulalI ULL                              COMMERCIAL POLICY SCHEDULES
                P.O. Box 111
                Bucyrus, OH 44820                                           Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                            Agent: MATHEWS INSURANCE INC              1120000




                                       FORMS AND ENDORSEMENTS SCHEDULE

                  Coverage Line            Form Nbr.            Ed. Date                 Description

              General Liability             CGUO30              (6/19)         Amend for Construct Defects
              General Liability             CG0001              (12/07)        Comml Gen Liab Coverage Form
              General Liability             CG0068              (5/09)         Recording & Distribution Of Ma
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2026              (7/04)         Addl Ins-Desig Person or Organ
             General Liability              CG2147              (12/07)        Excl-Employ.-Related Practices
             General Liability              CG2160              (9/98)         Excl-Yr 2000 Computer Rel & Ot
             General Liability              CG2167              (12/04)        Fungi or Bacteria Excl. (CGL)
             General Liability              CG2170              (1/15)         Cap on Loss Frm Cert Acts Terr
             General Liability              CG2186              (12/04)        Excl-Exterior Insul & Fin Sys
             General Liability              CG2187              (1/15)         Conditional Excl of Terrorism
             General Liability              CG2196              (3/05)         Silica or Silica-Related Dust
             Commercial Fire                CPUO03              (1/12)         Equipment Breakdown Coverage
             Commercial Fire                CP0010              (6/07)         Bldg and Pers Prop Cov Form
             Commercial Fire                CP0030              (6/07)         Business Income Cov Form (&EE)
             Commercial Fire                CP0090              (7/88)         Commercial Property Conditions
             Commercial Fire                CP0123              (4/08)         Ohio Changes
             Commercial Fire                CP0140              (7/06)         Excl of Loss Due To Virus/Bact
             Commercial Fire                CP1030              (6/07)         Cause of Loss - Special Form
             Commercial Fire                CP1032              (8/08)         Water Exclusion Endorsement
             All Lines                      IL UO 32            (8/13)         Conformity to Statute
             Commercial Fire                IL UO 34            (1/15)         Disclosure to Terrorism Risk
             General Liability              IL UO 34            (1/15)         Disclosure to Terrorism Risk
             General Liability              IL UO 41            (12/18)        Cyber Liability Endorsement
             General Liability              IL UO 51            (12/18)        Cyber Amendatory Endorsement
             General Liability              ILUO03              (2/03)         Lead Liability Exclusion
             General Liability              ILUO08              (4/05)         Asbestos Exclusion
             General Liability              ILUO15              (12/10)        Punitive/Exemplary Dmgs Excl
             General Liability              ILUO27              (1/12)         Exotic Animal Exclusion
             General Liability              ILUO28              (8/12)         Oil and Gas Exclusion
             Commercial Fire                IL0017              (11/98)        Common Policy Conditions
             General Liability              IL0017              (11/98)        Common Policy Conditions
             General Liability              IL0021              (9/08)         Nuclear Energy Liab Excl Endr
             Commercial Fire                IL0244              (9/07)         OH Chg-Cancellation/Nonrenewal
             General Liability              IL0244              (9/07)         OH Chg-Cancellation/Nonrenewal
             Commercial Fire                IL0935              (7/02)         Exc of Certain Cmpter Rel Loss
             Commercial Fire                IL0952              (1/15)         Cap on Losses from CAT
                                                                                                         Issue Date: 12/15/19
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                tirr-uniwu UIIIU HMI      '‘/U.                            COMMERCIAL POLICY SCHEDULES
                P.O. Box 111
                Bucyrus, OH 44820
                                                                            Policy Number: CPP 0018978 06
                                                                            Named Insured: J CARR RENTAL PROPERTY LLC
                                                                           - Agent: MATHEWS INSURANCE INC               1120000




                                       FORMS AND ENDORSEMENTS SCHEDULE

                  Coverage Line            Form Nbr.            Ed. Date                 Description

              Commercial Fire               IL0995              (1/07)         Conditional Excl of Terrorism
              Commercial Fire               OH-MSI-2            (7/09)         Mine Subsidence Ins Coverage
              Commercial Fire               OH-MSI-2            (7/09)         Mine Subsidence Ins Coverage
              All Lines                     SIG-1               (10/15)        OMIG Signature Page




                                                                                                            Issue Date: 12/15/19
FORMS SCHED 2 of 2                                           INSURED COPY                                             16 of 16
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        POLICY NUMBER : CPP 0018978 04                                                              SIG-1 (10-15)


                                                SIGNATURE PAGE

        In witness whereof, we have caused this policy to be executed and attested, and if required by state
        law this policy shall not be valid unless countersigned by our authorized representative.




                                         UNITED OHIO INSURANCE COMPANY



                                         OHIO MUTUAL INSURANCE COMPANY



                                               CASCO INDEMNITY COMPANY




                   Mark C. Russell, President                           David Hendrix, Chief Financial Officer




                                                    TOLL FREE: 800.686.3011                           Page 1 of 1
        SIG-1 (10-15)
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                                                                                                      IL 00 17 11 98

                                   COMMON POLICY CONDITIONS
        All Coverage Parts included in this policy are subject to the following conditions.

        A. Cancellation                                                   b. Give you reports on the conditions we
             1. The first Named Insured shown in the Dec-                    find; and
                larations may cancel this policy by mailing               c. Recommend changes.
                or delivering to us advance written notice of         2. We are not obligated to make any inspec-
                cancellation.                                            tions, surveys, reports or recommendations
             2. We may cancel this policy by mailing or                  and any such actions we do undertake
                delivering to the first Named Insured written            relate only to insurability and the premiums
                notice of cancellation at least:                         to be charged. We do not make safety
                 a. 10 days before the effective date of can-            inspections. We do not undertake to
                     cellation if we cancel for nonpayment of            perform the duty of any person or
                     premium; or                                         organization to provide for the health or
                                                                         safety of workers or the public. And we do
                 b. 30 days before the effective date of can-            not warrant that conditions:
                    cellation if we cancel for any other
                    reason.                                              a. Are safe or healthful; or
             3. We will mail or deliver our notice to the first           b. Comply with laws, regulations, codes or
                Named Insured's last mailing address known                   standards.
                to us.                                                3. Paragraphs 1. and 2. of this condition apply
             4. Notice of cancellation will state the effective          not only to us, but also to any rating,
                date of cancellation. The policy period will             advisory, rate service or similar organization
                end on that date.                                        which      makes     insurance    inspections,
                                                                         surveys, reports or recommendations.
             5. If this policy is cancelled, we will send the
                first Named Insured any premium refund                4. Paragraph 2. of this condition does not
                due. If we cancel, the refund will be pro                apply to any inspections, surveys, reports or
                rata. If the first Named Insured cancels, the            recommendations we may make relative to
                refund may be less than pro rata. The                    certification, under state or municipal
                cancellation will be effective even if we                statutes, ordinances or regulations, of
                have not made or offered a refund.                       boilers, pressure vessels or elevators.
            6. If notice is mailed, proof of mailing will be      E. Premiums
                sufficient proof of notice.                          The first Named Insured shown in the Declar-
        B. Changes                                                   ations:
            This policy contains all the agreements                  1. Is responsible for the payment of all pre-
            between you and us concerning the insurance                  miums; and
            afforded. The first Named Insured shown in               2. Will be the payee for any return premiums
            the Declarations is authorized to make changes               we pay.
            in the terms of this policy with our consent.         F. Transfer Of Your Rights And Duties Under This
            This policy's terms can be amended or waived             Policy
            only by endorsement issued by us and made a
            part of this policy.                                     Your rights and duties under this policy may
                                                                     not be transferred without our written consent
        C. Examination Of Your Books And Records                     except in the case of death of an individual
            We may examine and audit your books and rec-             named insured.
            ords as they relate to this policy at any time           If you die, your rights and duties will be
            during the policy period and up to three years           transferred to your legal representative but only
            afterward.                                               while acting within the scope of duties as your
        D. Inspections And Surveys                                   legal     representative.    Until   your    legal
            1. We have the right to:                                 representative is appointed, anyone having
                                                                     proper temporary custody of your property will
                 a. Make inspections and surveys at any              have your rights and duties but only with
                    time;                                            respect to that property.




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                                                                                                              IL 00 21 09 08

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         NUCLEAR ENERGY LIABILITY EXCLUSION
                                   ENDORSEMENT
                                                             (Broad Form)

        This endorsement modifies insurance provided under the following:

            COMMERCIAL AUTOMOBILE COVERAGE PART
            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            FARM COVERAGE PART
            LIQUOR LIABILITY COVERAGE PART
            MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
            POLLUTION LIABILITY COVERAGE PART
            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
            UNDERGROUND STORAGE TANK POLICY

        1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily
           A. Under any Liability Coverage, to "bodily                       injury" or "property damage" resulting from
               injury" or "property damage":                                 "hazardous properties" of "nuclear mater-
                                                                             ial", if:
              (1) With respect to which an "insured"
                   under the policy is also an insured                       (1) The "nuclear material" (a) is at any
                   under a nuclear energy liability policy                        "nuclear facility" owned by, or op-
                   issued by Nuclear Energy Liability                            erated by or on behalf of, an "insured"
                   Insurance Association, Mutual Atomic                          or (b) has been discharged or dispersed
                   Energy Liability Underwriters, Nuclear                        therefrom;
                   Insurance Association of Canada or any                   (2) The "nuclear material" is contained in
                   of their successors, or would be an                            "spent fuel" or "waste" at any time
                   insured under any such policy but for                          possessed, handled, used, processed,
                   its termination upon exhaustion of its                        stored, transported or disposed of, by
                   limit of liability; or                                        or on behalf of an "insured"; or
              (2) Resulting        from   the  "hazardous                   (3) The "bodily injury" or "property dam-
                   properties" of "nuclear material" and                         age" arises out of the furnishing by an
                   with respect to which (a) any person or                       "insured" of services, materials, parts
                   organization is required to maintain                          or equipment in connection with the
                   financial protection pursuant to the                          planning, construction, maintenance,
                   Atomic Energy Act of 1954, or any law                         operation or use of any "nuclear
                   amendatory thereof, or (b) the "in-                           facility", but if such facility is located
                   sured" is, or had this policy not been                        within the United States of America, its
                   issued would be, entitled to indemnity                        territories or possessions or Canada,
                   from the United States of America, or                         this exclusion (3) applies only to "prop-
                   any agency thereof, under any agree-                          erty damage" to such "nuclear facility"
                   ment entered into by the United States                        and any property thereat.
                   of America, or any agency thereof,                2. As used in this endorsement:
                   with any person or organization.
                                                                        "Hazardous properties" includes radioactive,
           B. Under any Medical Payments coverage, to                   toxic or explosive properties.
              expenses incurred with respect to "bodily
              injury" resulting from the "hazardous prop-               "Nuclear material" means "source material",
              erties" of "nuclear material" and arising out             "special nuclear material" or "by-product ma-
              of the operation of a "nuclear facility" by               terial".
              any person or organization.


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                                                                             Wolters Kluwer Financial Services I Uniform Forms TM
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            "Source material", "special nuclear material",                   (c) Any equipment or device used for the
            and "by-product material" have the meanings                          processing, fabricating or alloying of
            given them in the Atomic Energy Act of 1954                          "special nuclear material" if at any time
            or in any law amendatory thereof.                                    the total amount of such material in the
            "Spent fuel" means any fuel element or fuel                          custody of the "insured" at the
            component, solid or liquid, which has been                           premises where such equipment or
            used or exposed to radiation in a "nuclear                           device is located consists of or con-
            reactor".                                                            tains more than 25 grams of plutonium
                                                                                 or uranium 233 or any combination
            "Waste" means any waste material (a)                                 thereof, or more than 250 grams of
            containing "by-product material" other than the                      uranium 235;
            tailings or wastes produced by the extraction
            or concentration of uranium or thorium from                      (d) Any structure, basin, excavation, prem-
            any ore processed primarily for its "source                          ises or place prepared or used for the
            material" content, and (b) resulting from the                        storage or disposal of "waste";
            operation by any person or organization of any              and includes the site on which any of the
            "nuclear facility" included under the first two             foregoing is located, all operations conducted
            paragraphs of the definition of "nuclear                    on such site and all premises used for such
            facility".                                                  operations.
            "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus
                 (a) Any "nuclear reactor";                             designed or used to sustain nuclear fission in a
                                                                        self-supporting chain reaction or to contain a
                 (b) Any equipment or device designed or                critical mass of fissionable material.
                     used for (1) separating the isotopes of
                     uranium or plutonium, (2) processing or            "Property damage" includes all forms of radio-
                     utilizing "spent fuel", or (3) handling,           active contamination of property.
                     processing or packaging "waste";




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                                                                                                           IL 02 44 09 07

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
           OHIO CHANGES                          CANCELLATION AND NONRENEWAL
        This endorsement modifies insurance provided under the following:

            CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
            COMMERCIAL AUTOMOBILE COVERAGE PART
            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            COMMERCIAL INLAND MARINE COVERAGE PART
            COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
            COMMERCIAL PROPERTY COVERAGE PART
            CRIME AND FIDELITY COVERAGE PART
            EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
            EQUIPMENT BREAKDOWN COVERAGE PART
            FARM COVERAGE PART
            FARM UMBRELLA LIABILITY POLICY
            LIQUOR LIABILITY COVERAGE PART
            POLLUTION LIABILITY COVERAGE PART
            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

        A. With respect to a policy which has been in ef-                    substantial decrease in, the applicable
           fect for more than 90 days, or is a renewal of a                  reinsurance, or to obtain replacement
           policy we issued, the Cancellation Common                         coverage;
           Policy Condition is replaced by the following:                f. Failure of an insured to correct material
           1. The first Named Insured shown in the Dec-                      violations of safety codes or to comply
               larations may cancel this policy by mailing                   with reasonable written loss control
               or delivering to us advance written notice                    recommendations; or
               of cancellation.
                                                                         g. A determination by the Superintendent
           2. We may cancel this policy only for one or                      of Insurance that the continuation of
               more of the following reasons, except as                      the policy would create a condition that
               provided in Paragraph 6. below:                               would be hazardous to the policyhold-
               a. Nonpayment of premium;                                     ers or the public.
               b. Discovery of fraud or material misrepre-            3. We will mail written notice of cancellation
                   sentation in the procurement of the in-               to the first Named Insured, and agent if
                   surance or with respect to any claims                 any, at the last mailing addresses known to
                   submitted thereunder;                                 us. Proof of mailing will be sufficient proof
                                                                         of notice.
               c. Discovery of a moral hazard or willful
                   or reckless acts or omissions on your              4. We will mail the notice of cancellation at
                   part which increases any hazard in-                   least:
                   sured against;                                        a. 10 days before the effective date of
               d. The occurrence of a change in the indi-                    cancellation, if we cancel for nonpay-
                   vidual risk which substantially increases                 ment of premium; or
                   any hazard insured against after the in-              b. 30 days before the effective date of
                   surance coverage has been issued or                       cancellation, if we cancel for a reason
                   renewed except to the extent the insur-                   stated in 2.b. through 2.g. above.
                   er could reasonably have foreseen the              5. The notice of cancellation will:
                   change or contemplated the risk in writ-
                   ing the contract;                                     a. State the effective date of cancellation.
                                                                             The policy period will end on that date.
               e. Loss of applicable reinsurance or a sub-
                   stantial decrease in applicable reinsur-              b. Contain the date of the notice and the
                   ance, if the Superintendent has deter-                    policy number, and will state the rea-
                   mined that reasonable efforts have                        son for cancellation.
                   been made to prevent the loss of, or


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           6. Policies written for a term of more than one            2. We will mail the notice of nonrenewal at
               year or on a continuous basis may be can-                 least 30 days before the expiration date of
               celled by us for any reason at an anniver-                the policy.
               sary date, upon 30 days' written notice of             3. Proof of mailing will be sufficient proof of
               cancellation.                                             notice.
           7. If this policy is cancelled, we will send the        C. Common Policy Conditions
               first Named Insured any premium refund
               due. If we cancel, the refund will be pro              1. Paragraph A.2.a. of the Businessowners
               rata. If the first Named Insured cancels, the             Common Policy Conditions is deleted.
               refund may be less than pro rata. The can-             2. Paragraph E.2. of the Cancellation Common
               cellation will be effective even if we have               Policy Condition in the Standard Property
               not made or offered a refund.                             Policy is deleted. Paragraph E.2. is replaced
        B. The following is added to the Common Policy                   by the following (unless Item A. of this en-
           Conditions and supersedes any provisions to                   dorsement applies):
           the contrary:                                                 We may cancel this policy by mailing or de-
           NONRENEWAL                                                    livering to the first Named Insured written
                                                                         notice of cancellation at least:
           1. If we elect not to renew this policy, we will
               mail written notice of nonrenewal to the                  a. 10 days before the effective date of
               first Named Insured, and agent if any, at                      cancellation, if we cancel for nonpay-
               the last mailing addresses known to us.                       ment of premium; or
               The notice will contain the date of the no-               b. 30 days before the effective date, if we
               tice and the policy number, and will state                     cancel for any other reason.
               the expiration date of the policy.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
       This endorsement modifies insurance provided under the following:

           COMMERCIAL INLAND MARINE COVERAGE PART
           COMMERCIAL PROPERTY COVERAGE PART
           CRIME AND FIDELITY COVERAGE PART
           STANDARD PROPERTY POLICY

       A. We will not pay for loss ("loss") or damage                 2. Any advice, consultation, design, evaluation,
          caused directly or indirectly by the following.                inspection, installation, maintenance, repair,
          Such loss ("loss") or damage is excluded regard-               replacement or supervision provided or done
          less of any other cause or event that contributes              by you or for you to determine, rectify or test
          concurrently or in any sequence to the loss                    for, any potential or actual problems de-
          ("loss") or damage.                                            scribed in Paragraph A.1. of this endorse-
           1. The failure, malfunction or inadequacy of:                 ment.
                                                                  B. If an excluded Cause of Loss as described in Para-
               a. Any of the following, whether belonging
                                                                     graph A. of this endorsement results:
                  to any insured or to others:
                                                                     1. In a Covered Cause of Loss under the Crime
                   (1) Computer hardware, including micro-
                                                                        and Fidelity Coverage Part, the Commercial In-
                       processors;
                                                                        land Marine Coverage Part or the Standard
                   (2) Computer application software;                   Property Policy; or
                   (3) Computer operating systems and re-             2. Under the Commercial Property Coverage
                       lated software;                                   Part:
                   (4) Computer networks;                                a. In a "Specified Cause of Loss", or in ele-
                                                                            vator collision resulting from mechanical
                   (5) Microprocessors (computer chips) not
                                                                            breakdown, under the Causes of Loss -
                       part of any computer system; or                      Special Form; or
                   (6) Any other computerized or electronic              b. In a Covered Cause of Loss under the
                       equipment or components; or                          Causes Of Loss - Basic Form or the
               b. Any other products, and any services,                     Causes Of Loss - Broad Form;
                  data or functions that directly or indirectly      we will pay only for the loss ("loss") or damage
                  use or rely upon, in any manner, any of            caused by such "Specified Cause of Loss", ele-
                  the items listed in Paragraph A.1.a. of this       vator collision, or Covered Cause of Loss.
                  endorsement;
                                                                  C. We will not pay for repair, replacement or modifi-
              due to the inability to correctly recognize, pro-      cation of any items in Paragraphs A.1.a. and
              cess, distinguish, interpret or accept one or          A.1.b. of this endorsement to correct any defi-
              more dates or times. An example is the inabil-         ciencies or change any features.
              ity of computer software to recognize the
              year 2000.




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                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CONDITIONAL EXCLUSION OF TERRORISM
                                (RELATING TO DISPOSITION OF FEDERAL
                                   TERRORISM RISK INSURANCE ACT)
               This endorsement modifies insurance provided under the following:

                    BOILER AND MACHINERY COVERAGE PART
                    COMMERCIAL INLAND MARINE COVERAGE PART
                    COMMERCIAL PROPERTY COVERAGE PART
                    EQUIPMENT BREAKDOWN PROTECTION COVERAGE FORM
                    FARM COVERAGE PART
                    STANDARD PROPERTY POLICY


                                                                      SCHEDULE
             The Exception Covering Certain Fire Losses (Paragraph D.) applies to property located in the following
             state(s), if covered under the indicated Coverage Form, Coverage Part, or Policy.
                                          State(s)                                 Coverage Form, Coverage Part, or Policy
              Ohio               *OHIO                                              Policy




             Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


             A.     Applicability Of       The    Provisions   Of    This                        determines the amount of all
                    Endorsement                                                                  certified terrorism losses we must
                    1. The provisions of this endorsement become                                 pay in a calendar year, before the
                       applicable commencing on the date when                                    federal government shares in
                       any one or more of the following first occurs.                            subsequent payment of certified
                       But if your policy (meaning the policy period                             terrorism losses.); or
                       in which this endorsement applies) begins                             (2) Decrease the federal government's
                       after such date, then the provisions of this                              statutory percentage share in
                       endorsement become applicable on the date                                 potential terrorism losses above
                       your policy begins.                                                       such deductible; or
                       a. The federal Terrorism Risk Insurance                             (3) Redefine       terrorism      or  make
                           Program ("Program"), established by the                              insurance coverage for terrorism
                           Terrorism Risk Insurance Act, has                                    subject      to       provisions   or
                           terminated with respect to the type of                               requirements that differ from those
                           insurance provided under this Coverage                               that apply to other types of events
                           Form, Coverage Part or Policy; or                                    or occurrences under this policy.
                       b. A renewal, extension or replacement of                   2. If the provisions of this endorsement become
                           the Program has become effective                           applicable, such provisions:
                           without a requirement to make terrorism
                                                                                        a. Supersede any terrorism endorsement
                           coverage available to you and with                              already endorsed to this policy that
                           revisions that:                                                 addresses "certified acts of terrorism"
                               (1) Increase our statutory percentage                       and/or "other acts of terrorism", but only
                                   deductible under the Program for                        with respect to loss or damage from an
                                   terrorism losses. (That deductible                      incident(s) of terrorism (however defined)

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                     that occurs on or after the date when the             1. The "terrorism" is carried out by means of
                     provisions of this endorsement become                     the dispersal or application of radioactive
                     applicable; and                                           material, or through the use of a nuclear
                b. Remain applicable unless we notify you                     weapon or device that involves or produces
                     of changes in these provisions, in                        a nuclear reaction, nuclear radiation or
                     response to federal law.                                  radioactive contamination; or
           3. If the provisions of this endorsement do NOT                 2. Radioactive material is released, and it
                become        applicable,     any      terrorism               appears that one purpose of the "terrorism"
                endorsement already endorsed to this policy,                  was to release such material; or
                that addresses "certified acts of terrorism"               3. The "terrorism" is carried out by means of
                and/or "other acts of terrorism", will continue               the dispersal or application of pathogenic or
                in effect unless we notify you of changes to                   poisonous biological or chemical materials;
                that endorsement in response to federal law.                  or
        B. The following definition is added and applies                   4. Pathogenic or poisonous biological or
           under this endorsement wherever the term                           chemical materials are released, and it
           terrorism is enclosed in quotation marks.                          appears that one purpose of the "terrorism"
           "Terrorism" means activities against persons,                      was to release such materials; or
           organizations or property of any nature:                        5. The total of insured damage to all types of
           1. That involve the following or preparation for                   property in the United States, its territories
               the following:                                                 and possessions, Puerto Rico and Canada
                                                                              exceeds $25,000,000. In            determining
               a. Use or threat of force or violence; or                      whether the $25,000,000 threshold is
               b. Commission or threat of a dangerous                         exceeded, we will include all insured damage
                    act; or                                                   sustained by property of all persons and
                 C. Commission or threat of an act that                       entities affected by the "terrorism" and
                   interferes with or disrupts an electronic,                 business interruption losses sustained by
                   communication,          information,      or               owners or occupants of the damaged
                   mechanical system; and                                     property. For the purpose of this provision,
                                                                              insured damage means damage that is
             2. When one or both of the following applies:                    covered by any insurance plus damage that
                a. The effect is to intimidate or coerce a                    would be covered by any insurance but for
                   government or the civilian population or                   the application of any terrorism exclusions.
                   any segment thereof, or to disrupt any                     Multiple incidents of "terrorism" which occur
                   segment of the economy; or                                 within a 72-hour period and appear to be
                                                                              carried out in concert or to have a related
                b. It appears that the intent is to intimidate
                                                                              purpose or common leadership will be
                   or coerce a government, or to further
                                                                              deemed to be one incident, for the purpose
                   political, ideological, religious, social or
                                                                              of determining whether the threshold is
                   economic objectives or to express (or
                   express opposition to) a philosophy or                     exceeded.
                   ideology.                                                  With respect to this Item C.5., the
                                                                              immediately preceding paragraph describes
        C.   The following exclusion is added:
                                                                              the threshold used to measure the
             EXCLUSION OF TERRORISM                                           magnitude of an incident of "terrorism" and
             We will not pay for loss or damage caused                        the circumstances in which the threshold will
             directly or indirectly by "terrorism", including                 apply, for the purpose of determining
             action in hindering or defending against an actual               whether this Exclusion will apply to that
             or expected incident of "terrorism". Such loss or                incident. When the Exclusion applies to an
             damage is excluded regardless of any other                       incident of "terrorism", there is no coverage
             cause or event that contributes concurrently or in               under this Coverage Form, Coverage Part or
             any sequence to the loss. But this exclusion                     Policy.
             applies only when one or more of the following
             are attributed to an incident of "terrorism":




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        D.    Exception Covering Certain Fire Losses                   E.   Application Of Other Exclusions
              The following exception to the Exclusion Of                   1. When the Exclusion Of Terrorism applies in
              Terrorism applies only if indicated and as                       accordance with the terms of C.1. or C.2.,
              indicated in the Schedule of this endorsement.                   such exclusion applies without regard to the
              If "terrorism" results in fire, we will pay for the              Nuclear Hazard Exclusion in this Coverage
              loss or damage caused by that fire, subject to all               Form, Coverage Part or Policy.
              applicable policy provisions including the Limit of           2. The terms and limitations of any terrorism
              Insurance on the affected property. Such                         exclusion, or the inapplicability or omission of
              coverage for fire applies only to direct loss or                 a terrorism exclusion, do not serve to create
              damage by fire to Covered Property. Therefore,                   coverage for any loss or damage which
              for example, the coverage does not apply to                      would otherwise be excluded under this
              insurance provided under Business Income                         Coverage Form, Coverage Part or Policy,
              and/or Extra Expense coverage forms or                           such as losses excluded by the Nuclear
              endorsements that apply to those coverage                        Hazard Exclusion or the War And Military
              forms, or to the Legal Liability Coverage Form or                Action Exclusion.
              the Leasehold Interest Coverage Form.




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                                                                                                            IL 09 52 01 15

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      CAP ON LOSSES FROM CERTIFIED ACTS OF
                                  TERRORISM
        This endorsement modifies insurance provided under the following:

            BOILER AND MACHINERY COVERAGE PART
            COMMERCIAL INLAND MARINE COVERAGE PART
            COMMERCIAL PROPERTY COVERAGE PART
            EQUIPMENT BREAKDOWN COVERAGE PART
            FARM COVERAGE PART
            STANDARD PROPERTY POLICY


        A. Cap On Certified Terrorism Losses                            If aggregate insured losses attributable to terrorist
           "Certified act of terrorism" means an act that is            acts certified under the Terrorism Risk Insurance
           certified by the Secretary of the Treasury, in               Act exceed $100 billion in a calendar year and we
           accordance with the provisions of the federal                have met our insurer deductible under the
           Terrorism Risk Insurance Act, to be an act of                Terrorism Risk Insurance Act, we shall not be
           terrorism pursuant to such Act. The criteria                 liable for the payment of any portion of the amount
           contained in the Terrorism Risk Insurance Act for            of such losses that exceeds $100 billion, and in
           a "certified act of terrorism" include the following:        such case insured losses up to that amount are
                                                                        subject to pro rata allocation in accordance with
            1. The act resulted in insured losses in excess of          procedures established by the Secretary of the
               $5 million in the aggregate, attributable to all         Treasury.
               types of insurance subject to the Terrorism
               Risk Insurance Act; and                               B. Application Of Exclusions
            2. The act is a violent act or an act that is               The terms and limitations of any terrorism
               dangerous to human life, property or                     exclusion, or the inapplicability or omission of a
               infrastructure and is committed by an individual         terrorism exclusion, do not serve to create
               or individuals as part of an effort to coerce the        coverage for any loss which would otherwise be
               civilian population of the United States or to           excluded under this Coverage Part or Policy, such
               influence the policy or affect the conduct of the        as losses excluded by the Nuclear Hazard
               United States Government by coercion.                    Exclusion or the War And Military Action
                                                                        Exclusion.




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                                                                                                               OH-MSI-2 (07-09)

                      OHIO MINE SUBSIDENCE INSURANCE UNDERWRITING ASSOCIATION
                                  MINE SUBSIDENCE INSURANCE COVERAGE FORM
        In consideration of an additional premium, the structure at the described location per the insurance policy to which this
        mine subsidence insurance coverage form attaches is insured against direct loss on an occurrence basis caused by
        mine subsidence as herein defined and for the limit(s) of liability as stated below. This mine subsidence insurance is
        provided by the Mine Subsidence Insurance Fund. This endorsement creates no liability on the part of the insurance
        company issuing the policy to which this endorsement attaches or the Ohio Mine Subsidence Insurance Underwriting
        Association or its members, or the Ohio FAIR Plan Underwriting Association or the Ohio Guaranty Association or its
        members. Also, no liability is created on the part of the state of Ohio beyond the premiums paid into the Fund.
        DEFINITIONS
         1. "Mine subsidence" means lateral or vertical movement including the collapse, which results from such movement
            as a result of man made underground coal mines, clay mines, limestone mines, and salt mines. Mine
            subsidence does not include loss caused by earthquake, landslide, volcanic eruption, or collapse of strip mines,
            any surface mines, storm and sewer drains, or rapid transit tunnels.
         2. An "occurrence" is a single subsidence event or several subsidence events which are continuous.
         3. A "structure" means a 1- to 4- family dwelling building fixed to realty but does not include the land, trees, plants,
            crops, sidewalks, driveways, outbuildings, detached garages, industrial, or commercial buildings.
         4. "Private garages" are other structures at the described location, set apart from the dwelling structure by clear
            space. This includes structures connected to the dwelling structure by only a fence, utility line, or similar
            connection. However, these other structures may not be used in whole or in part for commercial, manufacturing,
            or farming purposes nor be rented by or held for rental to any person not a tenant of the dwelling structure.
         5. "Sidewalks and driveways" are those that are usual to a 1- to 4-family dwelling structure and that are used
            primarily by the residents of the structure at the described location.
         6. "Additional living expense" is any necessary increase in living expenses due to damage to the structure at the
            described location by mine subsidence which causes the structure to be unfit for habitation.
         7. "Fair rental value" is the rental income lost net of non-continuing expenses if a part of the structure is damaged
            by mine subsidence and that damage causes the rental structure or the rented part of the structure to be unfit for
            habitation.
        PROPERTY COVERED
        This coverage applies to the structure at the described location including:
         1. The cost of excavation or grading.
         2. Foundations of buildings, boilers, or engines which are below the under surface of the lowest basement floor or
            where there is no basement below the surface of the ground.
         3. Underground pilings, piers, pipes, flues and drains and/or pilings, which are below the watermark.
        This coverage may apply to private garages within the special limits of liability of the following loss payment clause of
        this coverage form.
        This coverage may apply to sidewalks and driveways but only if there is subsidence damage by the same occurrence
        to the insured structure. See the special limits of liability within the following loss payment clause of this coverage
        form.
        LOSS PAYMENT
        The limit of liability for loss to the structure at the described location under this coverage form shall not exceed the
        smallest of the following amounts:
         1. The limit of liability on your dwelling in the insurance policy to which this mine subsidence insurance coverage
            form attaches or $300,000, whichever is less;
         2. If more than one coverage for mine subsidence insures any given structure, the limit of liability is the largest limit
            of coverage on a single insurance policy to which this mine subsidence insurance coverage form attaches or one
            single limit of $300,000, whichever is less;
         3. The actual cash value of the loss if repairs will not be made to the property damaged by mine subsidence.
            Actual cash value is defined as replacement cost less depreciation or betterment;
         4. The amount actually and necessarily expended in repairing or replacing the insured structure with modern
            building materials only if that structure's repair or replacement is made intending that the structure have the
            same occupancy and use; or
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         5. The amount available in the Mine Subsidence Insurance Fund administered by the Governing Board of the Mine
            Subsidence Insurance Underwriting Association.
        Special limits of liability apply to the coverage for driveways, sidewalks, and private garages as follows:
         1. The total limit of liability for all sidewalks and driveways is an amount of up to 10% of the mine subsidence
            coverage limit of liability for the insured structure. In no case will this limit of liability exceed the amount actually
            and necessarily expended by the insured in repairing or replacing any sidewalks and driveways for which the
            insured has the responsibility for repair or replacement.
         2. The total limit of liability for all private garages is an amount of up to 10% of the mine subsidence coverage limit
             of liability for the insured structure. In no case will this limit of liability exceed the amount actually and
             necessarily expended in repairing or replacing the private garages with modern building material and payment
             will be made only if the repair is made intending that the building(s) be private garage(s) after repaired or
             replaced.
        An amount of coverage of up to $5,000 will be paid for additional living expense and/or fair rental value if the insured
        structure is not fit to live in due to a mine subsidence occurrence. Payment will be for the shortest time required for
        repair of the mine subsidence damage.
        The total of all amounts of coverage compensable to an insured will not exceed $300,000.
        PERILS NOT INSURED AGAINST
        The mine subsidence coverage does not insure against loss caused by earthquake, landslide, volcanic eruption, or
        collapse of strip mines, any surface mines, storm and sewer drains or rapid transit tunnels, or other earth movement.
        DEDUCTIBLE
        The following deductible provision applies per occurrence:
             2% of the coverage available with a minimum deductible of $250 and a maximum deductible of $500.
        OTHER PROVISIONS
         1. This coverage is provided by provisions of Ohio Revised Code 3929.50 to 3929.53 and 3929.55 to 3929.56 and
            3929.58 to 3929.61 and any subsequent amendments thereof enacted by the Ohio legislature. The amounts
            payable under this coverage are limited to the balance in the Mine Subsidence Insurance Fund from which all
            claims and other expenses of administrating this Fund are paid.
         2. The coverage afforded herein shall not be subject to provisions 3929.25 commonly known as the valued policy
            law.
         3. All claims authorized for payment shall be paid directly by the Mine Subsidence Insurance Fund.
         4. This entire coverage shall be void if, whether before or after a loss, the insured has willfully concealed or
            misrepresented any material fact or circumstance concerning this insurance or the subject thereof, or the interest
            of the insured therein, or in case of any fraud or false swearing by the insured relating thereto.
         5. There is no coverage for any loss occurring:
             a. while the hazard is increased by any means within the control or knowledge of the insured; or
             b. while a described building, whether intended for occupancy by owner or tenant, is vacant, or more than 50%
                unoccupied beyond a period of sixty consecutive days.
         6. This coverage shall terminate when the insurance policy to which this mine subsidence insurance coverage form
            attaches is canceled or non-renewed. The insured shall receive a pro-rata refund of the unearned premium
            provided that if the unearned premium to be refunded is less than $3.00, it will be refunded only if the first named
            insured specifically requests in writing that it be returned.
         7. If loss hereunder is made payable, in whole or in part, to a designated mortgagee not named herein as the
            insured, and if the insured fails to render proof of loss such mortgagee, upon notice, shall render proof of loss in
            the form herein specified within sixty (60) days thereafter and shall be subject to the provisions hereof relating to
            appraisal and time of payment and of bringing suit. If the Governing Board of the Ohio Mine Subsidence
            Insurance Underwriting Association shall claim that no liability existed as to the mortgagor or owner, it shall, to
            the extent of payment of loss to the mortgagee, be subrogated to all the mortgagee's rights of recovery, but
            without impairing mortgagee's right to sue; or it may pay off the mortgage debt and require an assignment
            thereof and the mortgage.
         8. The insured shall give immediate written notice of any loss to the Fund through his insurance company, protect
            the property from further damage, put it in the best possible order, furnish an estimate of the damaged property
            showing in detail, the amount of loss claimed; and within sixty (60) days after the loss, unless such time is
            extended in writing, by the Governing Board of the Ohio Mine Subsidence Insurance Underwriting Association,
            the insured shall render a proof of loss, signed and sworn to by the insured, stating the knowledge and belief of

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              the insured as to the following: the time and origin of the loss, the interest of the insured and of all others in the
              property, the amount of loss thereto, all encumbrances thereon, all other contracts of insurance, whether valid or
              not, covering any of said property, any changes in the title, use, occupation, location, possession or exposures of
              said property since the issuing of this policy, by whom and for what purpose any structure herein described and
              the several parts thereof were occupied at the time of loss and whether or not it then stood on leased ground,
              and shall furnish a copy of all the descriptions and schedules in all policies and, if destroyed or damaged, the
              insured, as often as may be reasonably required, shall exhibit to any person designated by the Governing Board
              of the Ohio Mine Subsidence Insurance Underwriting Association all that remains of any property herein
              described, and submit to examinations under oath by any person named by the Governing Board of the Ohio
              Mine Subsidence Insurance Underwriting Association and subscribe the same; and, as often as may be
              reasonably required, shall produce for examination of all books of account, bills, invoices and other vouchers, or
              certified copies thereof if originals be lost, at such reasonable time and place as may be designated by the
              Governing Board of the Ohio Mine Subsidence Insurance Underwriting Association or its representative, and
              shall permit extracts and copies thereof to be made.
         9. In case the insured and the Governing Board of the Ohio Mine Subsidence Insurance Underwriting Association
            shall fail to agree as to the amount of loss, then, on the written demand of either, each shall select a competent
            and disinterested appraiser and notify the other of the appraiser selected within twenty days of such demand.
            The appraisers shall first select a competent and disinterested umpire; and failing for fifteen days to agree upon
            such umpire, then, on request of the insured or the Governing Board of the Ohio Mine Subsidence Insurance
            Underwriting Association such umpire shall be selected by a judge of a court of record in the state in which the
            property covered is located. The appraisers shall then appraise the loss, stating separately the loss to each
            item; and failing to agree; shall submit their differences, only, to the umpire. An award in writing, so itemized, of
            any two when filed with the Governing Board of the Ohio Mine Subsidence Insurance Underwriting Association
            shall determine the amount of loss. Each appraiser shall be paid by the party selecting him and the expenses of
            appraisal and umpire shall be paid by the parties equally.
        10. There can be no abandonment to the Ohio Mine Subsidence Insurance Fund Association of any property.
        11. No suit or action on this coverage for the recovery of any claims shall be sustainable in any court of law or equity
            unless all the requirements of this coverage shall be complied with, and unless commenced within twelve months
            next after inception of the loss.
        12. As part of consideration given for the coverage provided by this endorsement, the insured agrees that the
            Governing Board of the Ohio Mine Subsidence Insurance Underwriting Association will receive full subrogation
            rights to the extent of any payment made to the insured. The Board's right shall be against any party who might
            be legally liable for the loss as determined by the Board. These subrogation rights shall be considered both
            contractual and equitable and shall be self-executing at the time any payment is made by the Board through the
            Ohio Mine Subsidence Insurance Fund, without the necessity of any written assignment. The insured covenants
            to refrain from damaging, destroying or releasing the Board's right of recovery against any third party. Any
            breach of the conditions of this paragraph will result in the forfeiture of all rights to recover any benefits under this
            mine subsidence endorsement.
        13. Nothing in this endorsement supplements, expands, increases, affects, or is affected by the coverage grants
            contained in the main policy to which this endorsement is affixed. The insured understands that the coverage
            given in this endorsement stands alone and is wholly separate and distinct from the main policy. This
            endorsement, therefore, shall not be construed to expand or enlarge the obligations of the company issuing the
            main policy for any of the coverages contained in the main policy. The language contained in the mine
            subsidence endorsement shall not be included by references in the body of the main policy to "other coverages"
            or other endorsements unless the mine subsidence endorsement is specifically named in the reference.




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        POLICY NUMBER: CPP 0018978 02                                                                        IL UO 32 (08-13)

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        CONFORMITY TO STATUTE
        This endorsement modifies insurance provided under
        the following:
             BUSINESSOWNERS COVERAGE FORM
             COMMON POLICY CONDITIONS
        The following is added to:
             1. SECTION III of the Businessowners
                  Coverage Form BP 00 03; and
             2. Common Policy Condition form IL 00 17
        Conformity to Statute
        The terms of this Policy and forms attached hereto
        which are in conflict with the Statutes of the State
        wherein this Policy is issued are amended to conform
        with such Statutes.




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                                                                                                         IL UO 34 (01-15)
      POLICY NUMBER: CPP 0018978 02

             THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
             RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
            INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
           CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                   DISCLOSURE PURSUANT TO TERRORISM RISK
                               INSURANCE ACT
                                                             SCHEDULE

        SCHEDULE -PART I
        Terrorism Premium (Certified Acts)        $ 0.00
        This premium is the total Certified Acts premium attributable to the following Coverage Part (s),
        Coverage Form(s) and/or Policy(ies):




        Additional Information, if any, concerning the terrorism premium:




        SCHEDULE - PART II
        Federal share of terrorism losses:
        (Refer to Paragraph B. in this endorsement.)

            a. 85%, for insured losses occurring before January 1, 2016;
            b. 84%, for insured losses occurring during the 2016 calendar year;
            c.   83%, for insured losses occurring during the 2017 calendar year;
            d. 82%, for insured losses occurring during the 2018 calendar year;
            e. 81%, for insured losses occurring during the 2019 calendar year; and
            f.   80%, for insured losses occurring on or after January 1, 2020.

        Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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                                                                                                         IL UO 34 (01-15)




        A. Disclosure Of Premium                                      C. Cap On Insurer Participation In Payment Of
           In accordance with the federal Terrorism Risk                 Terrorism Losses
           Insurance Act, we are required to provide you                 If aggregate insured losses attributable to
           with a notice disclosing the portion of your                  terrorist acts certified under the Terrorism Risk
           premium, if any, attributable to coverage for                 Insurance Act exceed $100 billion in a calendar
           terrorist acts certified under the Terrorism Risk             year and we have met our insurer deductible
           Insurance Act. The portion of your premium                    under the Terrorism Risk Insurance Act, we shall
           attributable to such coverage is shown in the                 not be liable for the payment of any portion of
           Schedule of this endorsement or in the policy                 the amount of such losses that exceeds $100
           Declarations.                                                 billion, and in such case insured losses up to
        B. Disclosure Of Federal Participation In                        that amount are subject to pro rata allocation in
           Payment Of Terrorism Losses                                   accordance with procedures established by the
                                                                         Secretary of the Treasury.
           The United States Government, Department of
           the Treasury, will pay a share of terrorism losses
           insured under the federal program. The federal
           share equals a percentage (as shown in Part II
           of the Schedule of this endorsement or in the
           policy Declarations) of that portion of the amount
           of such insured losses that exceeds the
           applicable insurer retention. However, if
           aggregate insured losses attributable to terrorist
           acts certified under the Terrorism Risk Insurance
           Act exceed $100 billion in a calendar year, the
           Treasury shall not make any payment for any
           portion of the amount of such losses that
           exceeds $100 billion.




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        CPP 0018978 06                                                                                   IL UO 41 (12-18)


                                 CYBER LIABILITY ENDORSEMENT

                                                      IMPORTANT NOTICE

        In consideration of the premium charged and notwithstanding anything contained in the Policy to the contrary, it is
        understood and agreed that the Policy to which this Endorsement attaches is amended to include Cyber Liability
        insurance. Insuring Agreements A-D provide claims-made and reported coverage. Insuring Agreements E-H
        provide first party coverage on an event-discovered and reported basis.

        The Cyber Liability limits of insurance are specified in the Cyber Liability Declarations shown below. Such limits
        of insurance are in addition to, and will not erode, the limits of insurance provided elsewhere in the Policy.
        Defense costs paid under this Endorsement will reduce, and may completely exhaust, the Cyber Liability limits of
        insurance.

        The terms, conditions, exclusions, and limits of insurance set forth in this Endorsement apply only to Cyber
        Liability insurance. Read the entire Endorsement carefully to determine your rights and duties and what is and is
        not covered.

        Throughout this Endorsement, the words "we," "us," and "our" refer to the Company providing this insurance.
        Other words and phrases that appear in bold face type have special meaning as described in Part IV. Cyber
        Liability Definitions of this Endorsement. To the extent any words or phrases used in this Endorsement are also
        defined elsewhere in the Policy, such definitions do not apply to the words or phrases used in this Endorsement.


                                             CYBER LIABILITY DECLARATIONS

        Item 1.     Limits of Liability per Insuring Agreement:

        A.        Multimedia Liability                                $                         per claim and in the aggregate
        B.        Security and Privacy Liability:                     $                         per claim and in the aggregate
        C.        Privacy Regulatory Defense and Penalties:           $   50,000.00             per claim and in the aggregate
        D.        PCI DSS Liability:                                  $   50,000.00             per claim and in the aggregate
        E.        Breach Event Costs:                                 $   50,000.00             per claim and in the aggregate
                  Proactive Privacy Breach Response Costs                 50,000.00
                  Sublimit:                                           $   50,000.00             per claim and in the aggregate
                  Voluntary Notification Expenses Sublimit:           $                         per claim and in the aggregate
       F.         BrandGuard®:                                        $   50,000.00             per claim and in the aggregate
       G.         Network Asset Protection:                           $   50,000.00             per claim and in the aggregate
       H.         Cyber Extortion:                                    $   50,000.00             per claim and in the aggregate
                                                                          50,000.00
       Item 2.      Maximum Aggregate Limit of Liability:             $   50,000.00

       Item 3.      Endorsement Period:                                   12O,000.00

       Item 4.      Retroactive Date:                    01/15/2020          01/15/2021

                                        01/15/2020




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                                          CYBER LIABILITY TERMS AND CONDITIONS

        Part L        Cyber Liability Insuring Agreements

        The Company agrees with the Named Insured to provide coverage as follows:

        A.       Multimedia Liability

                 The Company will pay on behalf of an Insured the sums within the applicable Limits of Liability that such
                 Insured becomes legaly obligated to pay as damages, including liability assumed under contract, and
                 related defense costs resulting from a claim for an actual or alleged multimedia wrongful act, but only
                 if: 1) the claim is first made against the Insured during the endorsement period (or during the cyber
                 liability extended reporting period, if applicable), 2) the claim is reported to the Company in writing in
                 accordance with Part V. Cyber Liability Notice Provisions of this Endorsement, and 3) the multimedia
                 wrongful act takes place on or after the retroactive date.

        B.       Security and Privacy Liability

                 The Company will pay on behalf of an Insured the sums within the applicable Limits of Liability that such
                 Insured becomes legally obligated to pay as damages, including liability assumed under contract, and
                 related defense costs resulting from a claim for an actual or alleged security and privacy wrongful
                 act, but only if: 1) the claim is first made against the Insured during the endorsement period (or during
                 the cyber liability extended reporting period, if applicable), 2) the claim is reported to the Company in
                 writing in accordance with Part V. Cyber Liability Notice Provisions of this Endorsement, and 3) the
                 security and privacy wrongful act takes place on or after the retroactive date.

        C.       Privacy Regulatory Defense and Penalties

                 The Company will pay on behalf of an Insured the sums within the applicable Limits of Liability that such
                 Insured becomes legally obligated to pay as a regulatory compensatory award or regulatory fines
                 and penalties (to the extent insurable by law) and related defense costs resulting from a privacy
                 regulatory proceeding instituted against the Insured because of a security breach or privacy breach,
                 but only if: 1) the privacy regulatory proceeding is instituted against the Insured during the
                 endorsement period (or during the cyber liability extended reporting period, if applicable), 2) the
                 privacy regulatory proceeding is reported to the Company in writing in accordance with Part V. Cyber
                 Liability Notice Provisions of this Endorsement, and 3) the security breach or privacy breach occurs
                 on or after the retroactive date.

        D.       PCI DSS Liability

                 The Company will pay on behalf of an Insured the sums within the applicable Limits of Liability that such
                 Insured becomes legally obligated to pay as PCI DSS fines and assessments and related defense
                 costs because of a claim resulting from a security breach or privacy breach, but only if: 1) the claim is
                 first made against the Insured during the endorsement period (or during the cyber liability extended
                 reporting period, if applicable), 2) the claim is reported to the Company in writing in accordance with
                 Part V. Cyber Liability Notice Provisions of this Endorsement, and 3) the security breach or privacy
                 breach takes place on or after the retroactive date.




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        E.       Breach Event Costs

                 Subject to the Limits of Liability, the Company will pay on your behalf the privacy breach response
                 costs, notification expenses, and breach support and credit monitoring expenses that you incur
                 because of an adverse media report, security breach or privacy breach, but only if: 1) the adverse
                 media report, security breach or privacy breach occurs on or after the retroactive date, 2) the
                 adverse media report, security breach or privacy breach is first discovered by you or your executive
                 during the endorsement period (or during the cyber liability extended reporting period, if applicable),
                 and 3) the adverse media report, security breach or privacy breach is reported to the Company in
                 writing in accordance with Part V. Cyber Liability Notice Provisions of this Endorsement.

        F.       BrandGuard®

                 Subject to the waiting period and Limits of Liability, the Company will indemnify you for provable and
                 ascertainable brand loss that you sustain during the period of indemnity as a direct result of an
                 adverse media report or notification, but only if: 1) the adverse media report is first discovered by you
                 or your executive, or the notification first occurs, during the endorsement period (or during the cyber
                 liability extended reporting period, if applicable), 2) the adverse media report or notification results
                 from a security breach or privacy breach that occurs on or after the retroactive date, 3) the brand
                 loss is reported to the Company in writing during the period of indemnity, and 4) you provide clear
                 evidence that the brand loss is directly attributable to the adverse media report or notification.

        G.       Network Asset Protection

                1.        Data Recovery

                Subject to the Limits of Liability, the Company will indemnify you for digital assets loss and special
                expenses that you incur because of damage, alteration, corruption, distortion, theft, misuse, or
                destruction of digital assets which results from a covered cause of loss, but only if: 1) the covered
                cause of loss occurs on or after the retroactive date; 2) the covered cause of loss is first discovered
                by you or your executive during the endorsement period (or during the cyber liability extended
                reporting period, if applicable), and 3) the covered cause of loss is reported to the Company in writing
                in accordance with Part V. Cyber Liability Notice Provisions of this Endorsement.

                Digital assets loss and special expenses will be reimbursed for a period of up to twelve (12) months
                following the discovery of the damage, alteration, corruption, distortion, theft, misuse, or destruction of
                digital assets.

                2.        Non-Physical Business Interruption and Extra Expense

                Subject to the waiting period and Limits of Liability, the Company will indemnify you for income loss,
                interruption expenses, and special expenses that you incur during the period of restoration because
                of a total or partial interruption, degradation in service, or failure of an insured computer system which
                results from a covered cause of loss, but only if: 1) the covered cause of loss occurs on or after the
                retroactive date; 2) the covered cause of loss is first discovered by you or your executive during the
                endorsement period (or during the cyber liability extended reporting period, if applicable), and 3) the
                covered cause of loss is reported to the Company in writing in accordance with Part V. Cyber Liability
                Notice Provisions of this Endorsement.

        H.      Cyber Extortion

                Subject to the Limits of Liability, the Company will indemnify you for cyber extortion expenses and
                cyber extortion monies that you pay as a direct result of a cyber extortion threat, but only if: 1) the
                cyber extortion threat is made against you on or after the retroactive date but before the end of the
                endorsement period (or during the cyber liability extended reporting period, if applicable), and 2) the
                cyber extortion threat is reported to the Company in writing in accordance with Part V. Cyber Liability
                Notice Provisions of this Endorsement.


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                   The Company will not be obligated to pay cyber extortion expenses or cyber extortion monies unless
                   the Company has given prior written consent for the payment of cyber extortion monies in response to
                   a cyber extortion threat. The Insured must make every reasonable effort to notify local law enforcement
                   authorities and the Federal Bureau of Investigation or similar equivalent foreign agency before
                   surrendering any cyber extortion monies in response to a cyber extortion threat.

        Part II.        Cyber Liability Defense and Settlement Provisions

        The following defense and settlement provisions will apply only to the coverage provided under this Endorsement
        and will supersede any other defense and settlement provisions contained elsewhere in the Policy.

        A.         We have the right and duty to defend an Insured against any claim covered under Insuring Agreement
                   A, B, C, or D, even if the allegations are groundless, false or fraudulent. We have the right to appoint an
                   attorney to defend any such claim. However, the Company will have no duty to defend any Insured
                   against any claim seeking amounts or relief to which this insurance does not apply.

        B.         The Limits of Liability available to pay damages will be reduced, and may be completely exhausted, by
                   payment of defense costs or any other amounts covered under this Endorsement.

        C.         The Insured shall not pay any damages, defense costs, or other amounts covered under this
                   Endorsement, or settle or offer to settle any claim, assume any contractual obligation, admit liability,
                   voluntarily make any payment, or confess or otherwise consent to any damages or judgments without our
                   prior written consent, which consent will not be unreasonably withheld. We will not be liable for any
                   damages, defense costs, settlement, judgment, assumed obligation, admitted liability, voluntary
                   payment or confessed damages to which we have not consented.

        D.         We have the right to make any investigation we deem necessary, including, without limitation, any
                   investigation with respect to coverage.

        E.         With respect to Insuring Agreements A, B, C, and D only, we will not settle any claim or pay any
                   damages, regulatory compensatory award, regulatory fines and penalties, or PCI DSS fines and
                   assessments, whichever applies, without the Insured's consent. If an Insured refuses to consent to
                   any settlement or compromise recommended by us or our representatives that is acceptable to the
                   claimant, and the Insured elects to contest the claim or continue any legal proceedings in connection
                   with such claim, then our liability for damages, defense costs, regulatory compensatory award,
                   regulatory fines and penalties, or PCI DSS fines and assessments, whichever applies, will not exceed
                   the following amount, subject to the Limits of Liability:

                   1.      The amount for which the claim could have been settled and defense costs incurred as of the
                           date the Insured withheld consent to such settlement, plus
                   2.      Fifty percent (50%) of any damages, defense costs, regulatory compensatory award,
                           regulatory fines and penalties or PCI DSS fines and assessments incurred after the date the
                           Insured withheld consent to such settlement or compromise. The remaining fifty percent (50%) of
                           such damages, defense costs, regulatory compensatory award, regulatory fines and
                           penalties, or PCI DSS fines and assessments, whichever applies, and any amounts that
                           exceed the applicable Limit of Liability, will be borne by the Insured at the Insured's own risk
                           and will be uninsured under this Endorsement.

       F.          We have no duty to pay any damages, defense costs, or other amounts covered under this
                   Endorsement, or to undertake or continue the defense of any claim, after the Limit of Liability is
                   exhausted. Once the Limit of Liability is exhausted, the Company has the right to withdraw from the
                   further defense or payment of any claim by transferring control of said claim to the Insured in
                   accordance with Part X. Transfer of Duties when the Limits of Insurance are Exhausted of this
                   Endorsement.




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        Part Ill.       Cyber Liability Limits ofLiability

        A.          The Limits of Liability set forth in Item 1 of the Cyber Liability Declarations are the most we will pay
                    under each Insuring Agreement for each claim first made during the endorsement period and in the
                    aggregate for all claims first made during the endorsement period, including defense costs where
                    applicable, regardless of the number of claims, claimants or Insureds.

        B.          The Maximum Aggregate Limit of Liability set forth in Item 2 of the Cyber Liability Declarations is the
                    most we will pay for all claims first made during the endorsement period, including defense costs
                    where applicable, regardless of the number of claims, claimants or Insureds, or the number of Insuring
                    Agreements that apply. All amounts we pay under this Endorsement will reduce, and may completely
                    exhaust, the Maximum Aggregate Limit of Liability.

        C.          All claims which arise out of the same, related, or continuing incidents, acts, facts or circumstances will
                    be considered a single claim, regardless of the number of claims made, Insureds affected, or claimants
                    involved. Only one Limit of Liability will apply to such claim. All claims which arise out of the same,
                    related, or continuing incidents, acts, facts or circumstances will be deemed first made on the date the
                    earliest of such claims is first made and will be deemed first reported to us on the date the earliest of
                    such claim is reported to us.

        D.          If a claim is covered under more than one Insuring Agreement of this Endorsement, the Limit of Liability
                    for each applicable Insuring Agreement will apply to that portion of the claim covered under such Insuring
                    Agreement, provided that the Company's total aggregate Limit of Liability for such claim will not exceed
                    the single largest Limit of Liability that applies. The Company has the sole discretion to allocate claims
                    paid, if any, against the appropriate Limit of Liability.

        E.          The existence of a cyber liability extended reporting period will not increase or reinstate the Limits of
                    Liability set forth in the Cyber Liability Declarations.

        Part IV.        Cyber Liability Definitions

        With respect to the coverage provided by this Endorsement, certain words are shown in bold and are defined as
        follows. If a term is defined below and in the Policy, the definition below applies only to the coverage provided by
        this Endorsement.

        Act of cyber terrorism means the premeditated use of information technology to organize and execute attacks,
        or the threat thereof, against computers, computer systems, networks or the internet by any person or group,
        whether acting alone or on behalf of, or in connection with, any organization or government, which is committed
        for political, religious, or ideological purposes, with the intention to influence any government, put the public in
        fear, or cause destruction or harm to critical infrastructure or data.

        Acquiring bank means a bank or financial institution that accepts credit or debit card payments (including stored
        value cards and pre-paid cards) for products or services on behalf of a merchant, including processing and
        crediting those payments to a merchant's account.

        Adverse media report means a report or communication of an actual or potential security breach or privacy
        breach which has been publicized through any media channel, including, but not limited to, television, print
        media, radio or electronic networks, the internet, or electronic mail, and threatens material damage to your
        reputation or brand.

        Assumed under contract means liability for damages resulting from a multimedia wrongful act, security
        breach, or privacy breach, where such liability has been assumed by an Insured in the form of a written hold
        harmless or indemnity agreement, but only if such agreement was executed before the multimedia wrongful act,
        security breach or privacy breach occurred.

        Bodily injury means physical injury, sickness, disease, or death sustained by any person and, where resulting
        from such physical injury only, mental anguish, mental injury, shock, humiliation, or emotional distress.

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        BPO service provider means any independent contractor that provides business process outsourcing services
        for your benefit under a written contract with you, including, but not limited to, call center services, fulfillment
        services, and logistical support.

        Brand loss means your net profit, as could have reasonably been projected immediately prior to notification, or
        in the event of an adverse media report, immediately prior to the publication of an adverse media report, but
        which has been lost during the period of indemnity as a direct result of such adverse media report or
        notification. Brand loss will be determined in accordance with the provisions of Part DC. Loss Determination of
        this Endorsement.

        Breach support and credit monitoring expenses means those reasonable and necessary expenses that you
        incur on your own behalf, or on behalf of a party for whom you are vicariously liable, to provide support activity
        to affected individuals in the event of a privacy breach. Breach support and credit monitoring expenses
        includes the cost to set up a call center and to provide a maximum of twelve (12) months of credit monitoring
        services, identity theft assistance services, or credit repair and restoration services. Breach support and credit
        monitoring expenses must be incurred with the Company's prior written consent.

        Card association means Visa International, MasterCard, Discover, JCB, American Express and any similar
        credit or debit card association that is a participating organization of the Payment Card Industry Security
        Standards Council.

        Claim means:

        A.      With respect to Insuring Agreement A and Insuring Agreement B:
                1.       A written demand made against an Insured for damages or non-monetary relief;
                2.       A written request received by an Insured to toll or waive a statute of limitations relating to a
                         potential claim against an Insured; or
                3.       The service of a civil lawsuit or the institution of arbitration or other alternative dispute resolution
                         proceedings against an Insured seeking damages, a temporary restraining order, or a
                         preliminary or permanent injunction.
                A claim under Insuring Agreement A or Insuring Agreement B does not include a PCI DSS demand.
        B.      With respect to Insuring Agreement C, a privacy regulatory proceeding. A claim under Insuring
                Agreement C does not include a PCI DSS demand.
        C.      With respect to Insuring Agreement D, a PCI DSS demand.
        D.      With respect to Insuring Agreement E, your written notice to the Company of an adverse media report,
                security breach or privacy breach.
        E.      With respect to Insuring Agreement F, your written notice to the Company of an adverse media report
                or notification that has resulted or may result in brand loss.
        F.      With respect to Insuring Agreement G, your written notice to the Company of a covered cause of loss.
        G.      With respect to Insuring Agreement H, your written notice to the Company of a cyber extortion threat.

       A claim under Insuring Agreement A, B, C or D will be deemed to be first made when it is received by an
       Insured. A claim under Coverage Agreement E, F, G, or H will be deemed to be first made when your written
       notice of the event or incident giving rise to the claim is received by the Company.

       Computer hardware means the physical components of any computer system, including CPUs, memory,
       storage devices, storage media, and input/output devices and other peripheral devices and components,
       including, but not limited to, cables, connectors, fiber optics, wires, power supply units, keyboards, display
       monitors and audio speakers.

       Computer program means an organized set of instructions that, when executed, causes a computer to behave
       in a predetermined manner. A computer program includes, but is not limited to, the communications,
       networking, operating systems and related processes used to create, maintain, process, retrieve, store, or
       transmit data.

       Computer system means an interconnected electronic, wireless, web, or similar system (including all computer
       hardware and software) used to process and store data or information in an analogue, digital, electronic or
       wireless format, including, but not limited to, computer programs, data, operating systems, firmware, servers,

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        media libraries, associated input and output devices, mobile devices, networking equipment, websites, extranets,
        off-line storage facilities (to the extent that they hold data), and electronic backup equipment.

        Computer virus means a program that possesses the ability to create replicas of itself (commonly known as an
        "auto-reproduction" program) within other programs or operating system areas, or which can spread copies of
        itself wholly or partly to other computer systems.

        Covered cause of loss means and is limited to the following:

        A.       Accidental Damage or Destruction

                 1.       Accidental physical damage to, or destruction of, electronic media so that stored digital assets
                          are no longer machine-readable;
                 2.       Accidental damage to, or destruction of, computer hardware so that stored data is no longer
                          machine-readable;
                 3.       Failure in power supply or under/over voltage, but only if such power supply, including back-up
                          generators, is under your direct operational control;
                 4.       Programming error of delivered programs; or
                 5.       Electrostatic build-up and static electricity.

        B.       Administrative or Operational Mistakes

                 An accidental, unintentional, or negligent act, error or omission by an insured, a BPO service provider
                 or an outsourced IT service provider in:

                 1.       The entry or modification of data on an insured computer system, which causes damage to
                          such data;
                 2.       The creation, handling, development, modification, or maintenance of digital assets; or
                 3.       The ongoing operation or maintenance of an insured computer system, excluding the design,
                          architecture, or configuration of an insured computer system.

        C.       Computer Crime and Computer Attacks

                An unintentional or negligent act, error or omission by an insured, a BPO service provider, or an
                outsourced IT service provider in the operation of an insured computer system or in the handling of
                digital assets, which fails to prevent or hinder any of the following attacks on an insured computer
                system:

                1.        A denial of service attack;
                2.        Malicious code;
                3.        Unauthorized access;
                4.        Unauthorized use; or
                5.        An act of cyber terrorism.

       Cyber extortion expenses means all reasonable and necessary costs and expenses, other than cyber
       extortion monies, that you incur with the Company's prior written consent as a direct result of a cyber extortion
       threat.

       Cyber extortion monies means any money or other property you pay, with the Company's prior written
       consent, to a person(s) or entity(ies) reasonably believed to be responsible for a cyber extortion threat, to
       terminate such cyber extortion threat.

       Cyber extortion threat means a credible threat or series of related credible threats, including a demand for
       cyber extortion monies, which is directed at you to:

       A.       Release, divulge, disseminate, destroy or use private information taken from an Insured as a result of
                unauthorized access to, or unauthorized use of, an insured computer system;
       B.       Introduce malicious code into an insured computer system;
       C.       Corrupt, damage or destroy an insured computer system;
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        D.        Restrict or hinder access to an insured computer system, including the threat of a denial of service
                  attack; or
        E.        Electronically communicate with your customers and falsely claim to be you, or to be acting under your
                  direction, to falsely obtain private information (also known as "pharming," "phishing," or other types of
                  false communications).

        A series of continuing cyber extortion threats, related or repeated cyber extortion threats, or multiple cyber
        extortion threats resulting from the same event or incident will be considered a single cyber extortion threat
        and will be deemed to have occurred at the time the first of such cyber extortion threats occurred.

        Cyber liability extended reporting period means the period after the end of the endorsement period for
        reporting claims, as provided in Part VI. Cyber Liability Extended Reporting Provisions and specifically
        excludes the endorsement period.

        Damages means a monetary judgment, award, or settlement, including prejudgment and post-judgment interest
        awarded against an Insured on that part of any judgment paid or to be paid by the Company; and punitive,
        exemplary or multiplied damages to the extent insurable under the law pursuant to which this Endorsement is
        construed.

        With respect to the insurability of punitive, exemplary or multiplied damages, the applicable law will be the law of
        the state most favorable to the Insured, provided that the state whose law is most favorable to the Insured has a
        reasonable relationship to the claim.

        A state's law will be deemed to have a reasonable relationship to the claim if it is the state where:

        A.       The Named Insured is incorporated or has a place of business;
        B.       The claim is pending; or
        C.       Any multimedia wrongful act or security and privacy wrongful act (whichever applies) was committed
                 or allegedly committed by an Insured.

        Damages does not include:

        A.        Any Insured's future profits or royalties, restitution, or disgorgement of any Insured's profits;
        B.        The costs to comply with orders granting injunctive or non-monetary relief, including specific performance,
                  or any agreement to provide such relief;
        C.        Loss of any Insured's fees or profits, the return or offset of any Insured's fees or charges, or any
                 Insured's commissions or royalties provided or contracted to be provided;
        D.        Taxes, fines or penalties, or sanctions;
        E.        Contractual liquidated damages, to the extent such damages exceed the amount for which the Insured
                 would have been liable in the absence of the liquidated damages agreement;
       F.         Any amount which an Insured is not financially or legally obligated to pay;
       G.        Disgorgement of any remuneration or financial advantage to which an Insured was not legally entitled;
       H.        Settlements negotiated without the Company's consent;
       I.        Monetary judgments, awards, settlements or any other amounts which are uninsurable under the law
                 pursuant to which this Endorsement is construed or any legal fees and costs awarded pursuant to such
                 judgments, awards or settlements; or
        J.       PCI DSS fines and assessments.

       Data means any machine-readable information, including, but not limited to, ready-for-use programs, applications,
       account information, customer information, health and medical information, or other electronic information that is
       subject to back-up procedures, irrespective of the way it is used and rendered.

       Defense costs means:

       A.        Reasonable and necessary fees incurred with the Company's consent and charged by an attorney(s)
                 designated by the Company to defend against a claim under Insuring Agreement A, B, C, or D; and
       B.        All other reasonable and necessary fees, costs, and expenses resulting from the defense and appeal of a
                 claim under Insuring Agreement A, B, C, or D, if incurred by the Company or by an Insured with our prior
                 written consent.
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        Defense costs does not include any wages or salaries of an Insured, or fees, overhead or other charges
        incurred by, or paid to, any Insured for any time spent in cooperating in the investigation or defense of a claim or
        a potential claim.

        Delivered programs means computer programs where the development stage has been finalized, having
        passed all test-runs and been proven successful in a live environment.

        Denial of service attack means an event caused by unauthorized or unexpected interference or a malicious
        attack, which is intended by the perpetrator to overwhelm the capacity of a computer system by sending an
        excessive volume of data to such computer system to prevent access to such computer system.

        Digital assets means data and computer programs that exist in an insured computer system. Digital assets
        do not include computer hardware.

        Digital assets loss means reasonable and necessary expenses and costs that you incur to replace, recreate or
        restore digital assets to the same state and with the same contents immediately before the digital assets were
        damaged, destroyed, altered, misused, or stolen, including expenses for materials and machine time. Digital
        assets loss also includes amounts representing employee work time to replace, recreate or restore digital
        assets, which will be determined on a predefined billable hour or per-hour basis as based upon your schedule of
        employee billable hours. Digital assets loss will be determined in accordance with the provisions of Part IX.
        Loss Determination of this Endorsement.

        Digital assets loss does not include:

        A.       The cost(s) of restoring, updating, or replacing digital assets to a level beyond that which existed prior to
                 a covered cause of loss;
        B.       Physical damage to the computer hardware or data center other than accidental physical damage to, or
                 destruction of, electronic media so that stored digital assets are no longer machine-readable;
        C.       Contractual penalties or consequential damages;
        D.       Any liability to third parties for whatever reason, including, but not limited to, legal costs and expenses of
                 any type;
        E.       Fines or penalties imposed by law;
        F.       The economic or market value of digital assets;
        G.       Costs or expenses incurred to identify, patch, or remediate software program errors or computer system
                 vulnerabilities;
        H.       Costs to upgrade, redesign, reconfigure, or maintain an insured computer system to a level of
                 functionality beyond that which existed prior to the covered cause of loss;
        I.       Any loss paid or payable under Insuring Agreement G.2.;
        J.       The cost(s) of restoring, replacing or repairing electronic media; or
        K.       Any loss arising out of a physical cause or natural peril, including, but not limited to, fire, wind, water,
                 flood, subsidence, or earthquake.

        Electronic media means floppy disks, CD ROMs, hard drives, magnetic tapes, magnetic discs, or any other
        media on which data is recorded or stored.

        Employee means any individual whose labor or service is engaged by and directed by you, including volunteers
        and part-time, seasonal, temporary or leased workers. Employee does not include any executive or independent
        contractor.

        Endorsement period means the period specified as such in Item 3 of the Cyber Liability Declarations.
        Coverage may be canceled or otherwise terminated before the endorsement period expiration date.

        Executive means any of your directors or officers, including your chief executive officer, chief financial officer,
        chief operations officer, chief technology officer, chief information officer, chief privacy officer, general counsel or
        other in-house lawyer, and risk manager.

        Firmware means the fixed programs that internally control basic low-level operations in a device.

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        First party insured event means:

        A.        With respect to Insuring Agreement E, an adverse media report, security breach or privacy breach;
        B.        With respect to Insuring Agreement F, a security breach or privacy breach;
        C.        With respect to Insuring Agreement G, a covered cause of loss; and
        D.        With respect to Insuring Agreement H, a cyber extortion threat.

        First party insured event only pertains to loss sustained by you and does not include any claim made or
        brought against an Insured.

        Income loss means the net profit loss you sustain during the period of restoration as a direct result of a
        covered cause of loss. Income loss will be determined in accordance with the provisions of Part IX. Loss
        Determination of this Endorsement.

        Income loss does not include:

        A.       Any loss arising out of a physical cause or natural peril, including, but not limited to, fire, wind, water,
                 flood, subsidence, or earthquake;
        B.       Any loss or expense arising out of updating or replacing digital assets to a level beyond that which
                 existed prior to the covered cause of loss;
        C.       Contractual penalties or consequential damages;
        D.       Any liability to third parties for whatever reason, including, but not limited to, legal costs and expenses of
                 any type;
        E.       Fines or penalties imposed by law;
        F.       Costs or expenses incurred to identify, patch, or remediate software program errors or computer system
                 vulnerabilities;
        G.       Loss of goodwill or reputational harm;
        H.       Costs to upgrade, redesign, reconfigure, or maintain an insured computer system to a level of
                 functionality beyond that which existed prior to the covered cause of loss; or
        I.       Any losses paid or payable under Insuring Agreement G.1. of this Endorsement.


        Insured means:

        A.       The Named Insured;
        B.       Any Subsidiary of the Named Insured, but only with respect to wrongful acts or first party insured
                 events that occur while a Subsidiary is owned by the Named Insured;
        C.       Any past, present, or future officer, director, trustee, or employee of the Named Insured or Subsidiary,
                 but only while acting solely within the scope of his or her duties as such;
        D.       If the Named Insured or Subsidiary is a partnership, limited liability partnership, or limited liability
                 company, then any general or managing partner, principal, stockholder, or owner thereof, but only while
                 acting solely within the scope of his or her duties as such;
        E.       Any agent or independent contractor of the Named Insured or Subsidiary, but only while acting on
                 behalf of, at the direction of, and under the supervision of the Named Insured or Subsidiary; and
        F.       Any person or legal entity the Named Insured is required by written contract to provide such coverage as
                 is afforded by this Policy, but only for the acts of a party described in paragraph A., B. or C. above, and
                 only if the written contract is executed prior to the date any wrongful act or first party insured event
                 occurs.

        Insured computer system means a computer system operated by, and either owned by or leased to, you. With
        respect to Insuring Agreement B only, insured computer system also includes a computer system operated by
        a BPO service provider or an outsourced IT service provider, which is used to provide hosted computer
        application services to you, or for processing, maintaining, hosting, or storing data for you, pursuant to a written
        contract with you to provide such services. With respect to Insuring Agreement H only, insured computer
        system also includes a system operated by an organization providing computing resources to you that are
        delivered as a service over a network or the Internet (commonly known as "cloud computing"), including Software
        as a Service, Platform as a Service and Infrastructure as a Service.



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        Internet means the worldwide public network of computers which enables the transmission of data between
        different users, including a private communications network existing within a shared or public network platform.

        Interruption expenses means those reasonable and necessary expenses, excluding special expenses,
        incurred by you to avoid or minimize the suspension of your business because of a total or partial interruption,
        degradation in service, or failure of an insured computer system caused by a covered cause of loss, which
        you would not have incurred had no covered cause of loss occurred. Interruption expenses include, but are
        not limited to, the use of rented/leased external equipment, substitution of other work or production procedures,
        use of third party services, or additional staff expenditures or labor costs. The amount of interruption expenses
        recoverable shall not exceed the amount by which the covered income loss is reduced by such incurred
        expenses.

        Interruption expenses does not include:

        A.       Any loss arising out of a physical cause or natural peril, including, but not limited to, fire, wind, water,
                 flood, subsidence, or earthquake;
        B.       Any loss expense arising out of updating or replacing digital assets to a level beyond that which existed
                 prior to the covered cause of loss;
        C.       Contractual penalties or consequential damages;
        D.       Any liability to third parties for whatever reason, including, but not limited to, legal costs and expenses of
                 any type;
        E.       Fines or penalties imposed by law;
        F.       Costs or expenses incurred to identify, patch, or remediate software program errors or computer system
                 vulnerabilities;
        G.       Loss of goodwill or reputational harm;
        H.       Costs to upgrade, redesign, reconfigure, or maintain an insured computer system to a level of
                 functionality beyond that which existed prior to the covered cause of loss; or
        I.       Any losses paid or payable under Insuring Agreement G.1.

        Malicious code means software intentionally designed to insert itself by a variety of forms into a computer
        system, without the owner's informed consent, and cause damage to the computer system. Malicious code
        includes, but is not limited to, computer viruses, worms, Trojan horses, spyware, dishonest adware, and
        crimeware.

        Media material means communicative material of any kind or nature for which you are responsible, including, but
        not limited to, words, pictures, sounds, images, graphics, code and data, regardless of the method or medium of
        communication of such material or the purpose for which the communication is intended. Media material does
        not include any tangible goods or products that are manufactured, produced, processed, prepared, assembled,
        packaged, labeled, sold, handled or distributed by you or others trading under your name.

        Merchant services agreement means an agreement between you and an acquiring bank, card association,
        brand, network, credit or debit card processor, independent sales organization, gateway, or membership service,
        which enables you to accept payment by credit card, debit card or prepaid card.

        Money means a medium of exchange in current use and authorized or adopted by a domestic or foreign
        government, including, but not limited to, currency, coins, bank notes, bullion, travelers' checks, registered checks
        and money orders held for sale to the public.

        Multimedia wrongful act means any of the following, whether actual or alleged, but only if directly resulting from
        the dissemination of media material by an Insured:

        A.       Any form of defamation or other tort related to the disparagement or harm to the reputation or character of
                 any person or organization, including libel, slander, product disparagement or trade libel, and infliction of
                 emotional distress, mental anguish, outrage or outrageous conduct, if directly resulting from any of the
                 foregoing;
        B.       Invasion, infringement or interference with an individual's right of privacy or publicity, including the torts of
                 false light, intrusion upon seclusion, commercial misappropriation of name, person, or likeness, and
                 public disclosure of private facts;
        C.       Plagiarism, piracy or misappropriation of ideas under an implied contract;
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        D.       Infringement of copyright, trademark, trade name, trade dress, title, slogan, service mark or service name;
        E.       Domain name infringement or improper deep-linking or framing;
        F.       Negligence in media material, including a claim alleging harm to any person or entity that acted or failed
                 to act in reliance upon such media material;
        G.       False arrest, detention or imprisonment;
        H.       Trespass, wrongful entry or eviction, eavesdropping, or other invasion of the right of private occupancy; or
        I.       Unfair competition, but only when arising out of a peril described in A. through H. above.

        Named insured means the person or organization listed as such on the Declarations Page of the Policy to which
        this Endorsement attaches.

        Notification means written notice to affected individuals in the event of a security breach or privacy breach.

        Notification expenses means those reasonable and necessary legal expenses, forensic and investigation
        expenses, postage expenses, and related advertising expenses that you incur on your own behalf, or on behalf
        of a party for who you are vicariously liable, to comply with governmental privacy legislation mandating
        notification to affected individuals in the event of a security breach or privacy breach. Notification expenses
        must be incurred with the Company's prior written consent. Notification expenses also includes voluntary
        notification expenses.

        Other property means any tangible property, other than money or securities, which has intrinsic value.

        Outsourced IT service provider means an independent contractor that provides information technology services
        for your benefit, under a written contract with you to provide such services. Outsourced IT service provider
        services include, but are not limited to, hosting, security management, co-location, and data storage.

        PCI Data Security Standard (known as "PCI DSS") means the Payment Card Industry Security Standards
        Council Data Security Standard in effect now, or as hereafter amended, which all merchants and processors must
        follow when storing, processing and transmitting cardholder data.

        PCI DSS demand means a written demand for PCI DSS fines and assessments received by an Insured
        directly or indirectly from or through an acquiring bank, card association, or payment card processor due to the
        Insured's non-compliance with the PCI Data Security Standard.

        PCI DSS fines and assessments means monetary fines, penalties or assessments (including fraud recoveries,
        card reissuance costs, operational expenses, or compliance case costs) owed by an Insured under the terms of a
        merchant services agreement, but only where such monetary fines, penalties or assessments result from a
        security breach or privacy breach.

        Period of indemnity means the period beginning on the earlier of the date of notification or the first adverse
        media report (whichever applies), and ending on the earlier of:

        A.       The date that gross revenues are restored to the level they had been prior to notification or the first
                 adverse media report (whichever applies); or
        B.       One hundred eighty (180) consecutive days after the notice of brand loss is received by the Company.

        Period of restoration means the period beginning on the date when the interruption, degradation in service, or
        failure of an insured computer system began, and ending on the earlier of:

        A.       The date when an insured computer system is restored or could have been repaired or restored with
                 reasonable speed to the same condition, functionality and level of service that existed prior to the
                 covered cause of loss, plus a maximum of thirty (30) additional consecutive days after the restoration of
                 an insured computer system to allow for restoration of your business; or
        B.       One hundred twenty (120) consecutive days after the notice of covered cause of loss is received by the
                 Company.

        Personally identifiable information means information that can be used to determine, distinguish or trace an
        individual's identity, either alone or when combined with other personal or identifying information that is linked or
        linkable to a specific individual.

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        Print media means newspapers, newsletters, magazines, books and literary works in any form, brochures or
        other types of publications, and advertising materials including packaging, photographs, and digital images.

        Privacy breach means any of the following:

        A.       The unauthorized collection, disclosure, use, access, destruction or modification of private information;
        B.       The inability to access, or failure to provide, private information;
        C.       Theft of private information;
        D.       The surrender of private information as a result of false communications or social engineering
                 techniques, including but not limited to phishing, spear-phishing, and pharming;
        E.       Failure to implement, maintain, or comply with privacy policies and procedures stating your obligations
                 regarding private information, including but not limited to your privacy policy;
        F.       Failure to develop or administer an identity theft prevention program;
        G.       Failure to implement specific security practices with respect to private information required by any
                 privacy regulations;
        H.       An infringement or violation of any rights to privacy;
        I.       Breach of a person's right of publicity, false light, intrusion upon a person's seclusion;
        J.       Failure to comply with privacy regulations pertaining to the Insured's responsibilities with respect to
                 private information, but only relating to an act listed in paragraphs A. through H. above; or
        K.       Failure to comply with any federal, state, foreign or other law (including common law), statute or
                 regulation prohibiting unfair or deceptive trade practices or consumer fraud pertaining to the Insured's
                 responsibilities with respect to private information, but only relating to an act listed in paragraphs A.
                 through H. above.

        A series of continuing privacy breaches, related or repeated privacy breaches, or multiple privacy breaches
        resulting from the same event or incident will be considered a single privacy breach and will be deemed to have
        occurred at the time the first of such privacy breaches occurred.

        Privacy breach response costs means:

        A.      Those reasonable and necessary public relations expenses that you incur, with the Company's prior
                written consent, for the employment of a public relations consultant, if such action is reasonably
                necessary to avert or mitigate any material damage to your reputation or brands, which results or
                reasonably could result from an adverse media report; and
        B.      Proactive privacy breach response costs incurred with the Company's prior written consent, subject to
                the proactive privacy breach response costs sub-limit.

        Privacy regulations means federal, state or local statutes, rules, regulations and other laws, as they currently
        exist and as amended, associated with the confidentiality, access, control, and use of private information,
        including, but not limited to:

        A.      Health Insurance Portability and Accountability Act of 1996 (Public Law 104- 191), known as HIPAA, and
                related or similar state medical privacy laws;
        B.      Gramm-Leach-Bliley Act of 1999 (G-L-B), also known as the Financial Services Modernization Act of
                1999, including sections concerning security protection and standards for customer records maintained
                by financial services companies, and the rules and regulations promulgated thereunder;
        C.      State and Federal statutes and regulations regarding the security and privacy of consumer information;
        D.      Governmental privacy protection regulations or laws associated with the control and use of personal
                information, including but not limited to requirements to post or publish your privacy policy, adopt
                specific privacy controls, or inform customers of actual or suspected privacy breaches;
        E.      Privacy provisions of consumer protection laws, including the Federal Fair Credit Reporting Act (FCRA)
                and similar state laws;
        F.      Children's Online Privacy Protection Act or similar laws, as they exist now or in the future;
        G.      The EU Data Protection Act or other similar privacy and security statutes, rules, regulations or other laws
                worldwide, as they exist now or in the future; and
        H.      The Health Information Technology for Economic and Clinical Health Act (HITECH ACT), enacted under
                Title XIII of the American Recovery and Reinvestment Act of 2009 (ARRA) (Pub. L. 111-5), and its
                implementing regulations, including related or similar state medical privacy laws.
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        Privacy regulatory proceeding means a formal civil administrative proceeding or regulatory action instituted
        against an Insured by a federal, state or local governmental body because of a security breach or privacy
        breach.

        Private information means:

        A.      Proprietary or confidential information owned by a third party that is in the care, custody or control of an
                Insured or is used by an Insured with the consent of such third party;
        B.      Personally identifiable information; and
        C.      Any information that is linked or linkable to a specific individual and that is subject to any privacy
                regulations.

        Proactive privacy breach response costs means those reasonable and necessary public relations expenses
        that you incur in response to an actual or potential security breach or privacy breach, but prior to the
        publication of an adverse media report, to avert or mitigate the potential impact of an adverse media report.
        Proactive privacy breach response costs must be incurred with the Company's prior written consent and are
        subject to the proactive privacy breach response costs sublimit.

        Proactive privacy breach response costs sublimit means the maximum amount that the Company will pay for
        proactive privacy breach response costs. The proactive privacy breach response costs sublimit is
        included within, and will erode, the Limits of Liability for Insuring Agreement E.

        Programming error means an error which occurs during the development or encoding of a computer program,
        software or application and which would, when in operation, result in a malfunction or incorrect operation of a
        computer system.

        Property damage means physical injury to, or impairment, destruction or corruption of, any tangible property,
        including the loss of use thereof. Data is not considered tangible property.

        Public relations expenses means expenses that you incur to re-establish your reputation, which was damaged
        as a direct result of an adverse media report.

        Regulatory compensatory award means a sum of money which an Insured is legally obligated to pay as an
        award or fund for affected individuals, including a regulatory agency's monetary award to a third party, due to an
        adverse judgment or settlement arising out of a privacy regulatory proceeding. Regulatory compensatory
        award does not include a criminal penalty or fine issued by a regulatory agency of any kind, including federal,
        state, or local governmental agencies.

        Regulatory fines and penalties means civil fines or penalties imposed by a federal, state, or local governmental
        regulatory body against an insured in a privacy regulatory proceeding. Regulatory fines and penalties does
        not include: 1) any criminal fines or penalties of any nature whatsoever; or 2) PCI DSS fines and assessments.

        Retroactive date means the date specified as such in Item 4. of the Cyber Liability Declarations, on or after
        which wrongful acts or first party insured events must have taken place to be considered for coverage under
        this Endorsement.

        Securities means negotiable or non-negotiable instruments or contracts representing money or other property,
        but does not include money.

        Security and privacy wrongful act means any of the following, whether actual or alleged, but only if committed
        by an Insured:

        A.      The failure to prevent or hinder a security breach, which in turn results in:

                1.        The alteration, copying, corruption, destruction, deletion, or damage to data stored on an insured
                          computer system;
                2.        Theft, loss or unauthorized disclosure of electronic or non-electronic private information that is
                          in your care, custody or control;
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                  3.       Theft, loss or unauthorized disclosure of electronic or non-electronic private information that is
                           in the care, custody or control of a BPO service provider or an outsourced IT service provider
                           that is holding, processing or transferring such private information on your behalf; provided,
                           however, that the theft, loss or unauthorized disclosure occurs while your written contract with
                           such BPO service provider or outsourced IT service provider is still in effect;
                  4.       Unauthorized access to, or unauthorized use of, a computer system other than an insured
                           computer system;
                  5.       The inability of an authorized third party to gain access to your services;
        B.        The failure to timely disclose a security breach affecting private information; or the failure to dispose of
                  private information within the required period, in violation of privacy regulations;
        C.        The failure to prevent the transmission of a malicious code or computer virus from an insured
                  computer system to the computer system of a third party;
        D.        A privacy breach;
        E.        The failure to prevent a privacy breach;
        F.        The failure to prevent or hinder participation by an insured computer system in a denial of service
                  attack directed against Internet sites or the computer system of a third party;
        G.        Loss of personally identifiable information of employees; or
        H.        Infliction of emotional distress or mental anguish, but only if directly resulting from a peril described in A.
                  through G. above.

        Security breach means any of the following, whether a specifically targeted attack or a generally distributed
        attack:

        A.        Unauthorized access to, or unauthorized use of, an insured computer system, including
                  unauthorized access or unauthorized use resulting from the theft of a password from an insured
                  computer system or from an Insured;
        B.        A denial of service attack against an insured computer system;
        C.        Infection of an insured computer system by malicious code or the transmission of malicious code
                  from an insured computer system; or
        D.        An event described in A. through C. above resulting from an act of cyber terrorism.

        A series of continuing security breaches, related or repeated security breaches, or multiple security breaches
        resulting from a continuing failure of computer security will be considered a single security breach and will be
        deemed to have occurred at the time the first of such security breaches occurred.

        Special expenses means reasonable and necessary costs and expenses that you incur to:

        A.        Prevent, preserve, minimize, or mitigate any further damage to digital assets, including the reasonable
                  and necessary fees and expenses of specialists, outside consultants or forensic experts;
        B.        Preserve critical evidence of any criminal or malicious wrongdoing;
        C.        Purchase replacement licenses for computer programs because the copy protection system or access
                  control software was damaged or destroyed by a covered cause of loss; or
        D.        Notify affected individuals of a total or partial interruption, degradation in service, or failure of an insured
                  computer system resulting from a covered cause of loss.

        Special expenses does not include:

       A.         The cost(s) of restoring, updating, or replacing digital assets to a level beyond that which existed prior to
                  the covered cause of loss;
       B.         Physical damage to the computer hardware or data center other than accidental physical damage to, or
                  destruction of, electronic media so that stored digital assets are no longer machine-readable;
       C.         Contractual penalties or consequential damages;
       D.         Any liability to third parties for whatever reason, including, but not limited to, legal costs and expenses of
                  any type;
       E.         Fines or penalties imposed by law;
       F.         The economic or market value of digital assets;
       G.         Costs or expenses incurred to identify, patch, or remediate software program errors or computer system
                  vulnerabilities;

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        H.       Costs to upgrade, redesign, reconfigure, or maintain an insured computer system to a level of
                 functionality beyond that which existed prior to the covered cause of loss;
        I.       Any loss rising out of a physical cause or natural peril, including, but not limited to, fire, wind, water, flood,
                 subsidence, or earthquake; or
        J.       The cost(s) of restoring, replacing or repairing electronic media.

        Subsidiary means a legal entity in which the Named Insured owns, directly or indirectly, more than fifty percent
        (50%) of the issued or outstanding voting securities, provided that such entity also:

        A.       Was so owned on the effective date of this Endorsement; or
        B.       Was created or acquired after the effective date of this Endorsement subject to the limitations of Part
                 Changes in Exposure, paragraphs B. and C.

        Takeover means:

        A.       Any person, entity or affiliated group of persons or entities obtains more than fifty percent (50%) of the
                 Named Insured's equity or assets;
        B.       Any person, entity or affiliated group of persons or entities obtains the right to elect or appoint more than
                 fifty percent (50%) of the Named Insured's directors, officers, trustees or member managers, as
                 applicable;
        C.       The Named Insured is dissolved, sold or acquired by, merged into, or consolidated with, another entity,
                 such that the Named Insured is not the surviving entity; or
        D.       The Named Insured ceases to do business for any reason.

        Third party, whether singular or plural, means any entity, company, organization or person who does not qualify
        as an Insured.

        Unauthorized access means the gaining of access to a computer system by any unauthorized person or
        persons.

        Unauthorized use means the use of a computer system by any unauthorized person or persons or by any
        authorized person or persons in an unauthorized manner.

        Vicariously liable means your legal responsibility for the liability of others, including legal responsibility you
        assume in a contract. The existence of vicarious liability will not create or confer any rights or duties under this
        Endorsement to any third party, other than as provided in this definition.

        Voluntary notification expenses means those reasonable and necessary legal expenses, forensic and
        investigation expenses, postage expenses, and related advertising expenses that you incur to notify individua Is of
        a security breach or privacy breach where there is no specific legal requirement in the applicable jurisdiction
        mandating such notice. Voluntary notification expenses must be incurred with the Company's prior written
        consent and are subject to the voluntary notification expenses sublimit.

        Voluntary notification expenses sublimit means the maximum amount that Company will pay for voluntary
        notification expenses. The voluntary notification expenses sublimit is included within, and will erode, the
        Limits of Liability for Insuring Agreement E.

        Waiting period means:

        A.      With respect to Insuring Agreement F, the two (2) week period which must elapse after notification, or
                in the event of an adverse media report, after publication of the first adverse media report, before
                brand loss may be payable. The waiting period applies to each period of indemnity.
        B.      With respect to Insuring Agreement G.2., the eight (8) hour period which must elapse before income
                loss, interruption expenses and special expenses may be payable. The waiting period applies to
                each period of restoration.




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        Wrongful act means:

        A.        With respect to Insuring Agreement A, a multimedia wrongful act;
        B.        With respect to Insuring Agreement B, a security and privacy wrongful act; and
        C.        With respect to Insuring Agreements C and D, a security breach or privacy breach.

        You and Your means the Named Insured and any Subsidiary.

        Your privacy policy means your published policies provided to employees or third parties in written or
        electronic form that govern the collection, dissemination, confidentiality, integrity, accuracy or availability of
        information relating to private information.

        Your reputation means the estimation of trust that customers or clients have in doing business with you or in
        purchasing your products or services.

        Part V.        Cyber Liability Notice Provisions

        The following Notice Provisions will apply only to the coverage provided under this Endorsement and will
        supersede any other notice provisions contained elsewhere in the Policy.

        A.        As a condition precedent to coverage for any claim, an executive must provide written notice to the
                  Company of such claim as soon as practicable, but no later than sixty (60) days after expiration of the
                  endorsement period (or during the cyber liability extended reporting period, if applicable).

        B.        If, during the endorsement period, an executive becomes aware of any incidents, acts, facts or
                  circumstances that could reasonably be a basis for a claim, the executive must give written notice of the
                  folbwing information to the Company during the endorsement period:

                  1.      Specific details of the incidents, acts, facts or circumstances that could reasonably be the basis
                          for a claim;
                  2.      Possible damages, penalties, or other amounts potentially covered under this Endorsement that
                          may result or has resulted from the facts or circumstances;
                  3.      Details regarding how the executive first became aware of the incidents, acts, facts or
                          circumstances; and
                  4.      The computer system security and event logs, if applicable.

                  Any claim arising out of such reported incidents, acts, facts or circumstances will be deemed to be a
                  claim first made on the date that Company first received written notice complying with the above
                  requirements.

        Part VL        Cyber Liability Extended Reporting Provisions

        A.        In the event of cancellation or non-renewal of the Policy either by the Named Insured or the Company,
                  the Named Insured will have the option to purchase a cyber liability extended reporting period
                  effective from the date of Policy cancellation or non-renewal. The additional premium for the cyber
                  liability extended reporting period will be a percentage of the full Cyber Liability annual premium in
                  effect on the date the Policy was issued or last renewed, as set forth below:


                                         Term                   Percent of Cyber Annual Premium
                                 One year (12 months)                        100%
                                 Two years (24 months)                       150%
                                Three years (36 months)                      200%




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        B.       If purchased by the Named Insured, the cyber liability extended reporting period will apply to any
                 claim first made during the cyber liability extended reporting period, but only if the actual or alleged
                 wrongful acts or first party insured events giving rise to such claim occur on or after the retroactive
                 date and prior to the end of the endorsement period. As a further condition precedent to coverage, the
                 claim must be reported to the Company in accordance with Part V. Cyber Liability Notice Provisions
                 and will be subject to all other Endorsement terms, conditions and exclusions.

        C.       To purchase the cyber liability extended reporting period endorsement, the Named Insured's written
                 request for the cyber liability extended reporting period, together with full payment of the additional
                 premium for the cyber liability extended reporting period, must be received by the Company within
                 thirty (30) days of the effective date of cancellation or non-renewal of the Policy.

        D.       The Limits of Liability for the cyber liability extended reporting period are part of, and not in addition to,
                 the Limits of Liability set forth in Item 1 of the Cyber Liability Declarations.

        E.       The right to purchase a cyber liability extended reporting period will not be available to the Named
                 Insured where cancellation or non-renewal of the Policy by the Company is because of non-payment of
                 premium.

        F.       At the commencement of a cyber liability extended reporting period, the entire premium will be
                 deemed fully earned, and in the event the Named Insured terminates a cyber liability extended
                 reporting period extended for any reason prior to its natural expiration, the Company will not be liable to
                 return any premium paid for the cyber liability extended reporting period.

        Part VII.    Cyber Liability Exclusions

        The following exclusions will apply only to the coverage provided under this Endorsement. The exclusions that
        appear elsewhere in the Policy will not apply to this Endorsement.

        The Company will not be liable for any claim:

        A.      Based upon, arising from, or in any way involving any actual or alleged wrongful act or first party
                insured event which took place, in whole or in part, prior to the retroactive date.

        B.      Based upon, arising from, or in any way involving any actual or alleged wrongful act or first party
                insured event of which any Insured had knowledge prior to the endorsement period or prior to the
                inception date of Cyber Liability insurance issued by the Company of which this Endorsement is a direct
                and continuous renewal.
        C.      Based upon, arising from, or in any way involving any wrongful act or first party insured event which
                was disclosed or reported to a previous insurer prior to the endorsement period.

        D.      Made by or on behalf of an Insured against another Insured. This exclusion does not apply to an
                otherwise covered claim under Insuring Agreement B which is made by any past, present or future
                employee alleging a security and privacy wrongful act.

        E.      Based upon, arising from, or in any way involving any of the following committed by an Insured, whether
                acting alone or in collusion with other persons:

                1.        A willful, intentional, deliberate, malicious, fraudulent, dishonest, or criminal act or omission;
                2.        Any intentional violation of law;
                3.        Any intentional violation of your privacy policy; or
                4.        The gaining of any profit or advantage to which an Insured is not legally entitled.

                This exclusion does not apply to defense costs or the Company's duty to defend any such claim under
                Insuring Agreement A, B, C, or D until the conduct described in this exclusion has been established by a
                final adjudication in a judicial, administrative or alternative dispute proceeding, or by an Insured's own
                admission in a proceeding or otherwise. The Company will have the right to recover defense costs
                incurred in defending any such claim from those parties found to have committed the conduct described
                in this exclusion.
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                  This exclusion does not apply to any Insured that did not commit, participate in, or have knowledge of
                  any conduct described in this exclusion.

        F.       Based upon, arising from, or in any way involving activities of an Insured as a trustee, partner, officer,
                 director, or employee of any trust, organization, corporation, company or business other than your trust,
                 organization, corporation, company or business.

        G.       Based upon, arising from, or in any way involving the insolvency or bankruptcy of any person or entity, or
                 the failure, inability, or unwillingness of any person or entity to make payments, perform obligations or
                 conduct business because of insolvency, liquidation, or bankruptcy.

        H.       Based upon, arising from, or in any way involving bodily injury or property damage.

        I.       Based upon, arising from, or in any way involving:

                 1.        Satellite failures;
                 2.        Electrical or mechanical failures or interruption, including electrical disturbance, spike, brownout,
                           or blackout; or
                 3.        Outages to gas, water, telephone, cable, telecommunication or other infrastructure, unless such
                           infrastructure is under your direct operational control and unless such claim forms a part of an
                           otherwise covered first party insured event under Insuring Agreement G.

        J.       Based upon, arising from, or in any way involving the wear and tear, drop in performance, progressive
                 deterioration, or aging of electronic equipment or computer hardware or tangible property used by you.

        K.       Based upon, arising from, or in any way involving the failure of overhead transmission and distribution
                 lines.

        L.       Based upon, arising from, or in any way involving the gradual deterioration of subterranean insulation.

        M.       Based upon, arising from, or in any way involving fire, smoke, explosion, lightning, wind, water, flood,
                 earthquake, volcanic eruption, tidal wave, landslide, hail, force majeure, or any other physical event,
                 however caused.

        N.       Based upon, arising from, or in any way involving coupons, prize discounts, prizes, awards, or any
                 valuable consideration given that exceeds the total contracted or expected amount.

        O.       Based upon, arising from, or in any way involving the actual or alleged inaccurate, inadequate, or
                 incomplete description of the price of goods, products or services.

        P.       Based upon, arising from, or in any way involving any cost guarantee, cost representation, contract price,
                 or cost estimate being exceeded.

        Q.       Based upon, arising from, or in any way involving the violation of any economic or trade sanctions by the
                 United States government including, but not limited to, sanctions administered and enforced by the United
                 States Treasury Department's Office of Foreign Assets Control (OFAC). This exclusion does not apply to
                 a security breach originating from any country where the United States of America has imposed
                 economic or trade sanctions.

        R.       Based upon, arising from, or in any way involving any breach of any express, implied, actual or
                 constructive contract, warranty, guarantee or promise. This exclusion does not apply to:

                 1.        Any liability or obligation an Insured would have had in the absence of such contract, warranty,
                           guarantee or promise and which would have been insured by this Endorsement; or
                 2.        A breach of your privacy policy.

        S.       Based upon, arising from, or in any way involving any liability assumed by any Insured under a contract
                 or agreement. This exclusion does not apply to:
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                 1.       With respect to Insuring Agreement A and Insuring Agreement B only, liability assumed under
                          contract;
                 2.       Any liability an Insured would have had in the absence of such contract or agreement and which
                          would have been insured by this Endorsement; or
                 3.       With respect to Insuring Agreement D only, liability for PCI DSS fines and assessments
                          assumed under a merchant services agreement.

        T.       Based upon, arising from, or in any way involving:

                 1.       Any actual, alleged or threatened presence of pollutants or contamination of any kind, including,
                          but not limited to, asbestos, smoke, vapor, soot, fumes, acids, alkalis, chemicals, and waste
                          (waste includes materials to be recycled, reconditioned, or reclaimed), whether such presence
                          results from an Insured's activities or the activities of others, or such presence or contamination
                          happened suddenly or gradually, accidentally or intentionally, or expectedly or unexpectedly; or
                 2.       Any directive or request to test for, monitor, clean up, remove, contain, treat, detoxify, or
                          neutralize pollutants, or in any way respond to, or assess the effects of, pollutants or
                          contamination of any kind.

        U.       Based upon, arising from, or in any way involving income loss caused by, or resulting from, unauthorized
                 trading. For purposes of this exclusion, unauthorized trading means trading, which at the time of the trade
                 exceeds permitted financial limits or outside of permitted product lines.

        V.       Based upon, arising from, or in any way involving:

                1.        The actual or alleged loss of value of any securities;
                2.        The actual or alleged purchase or sale of securities;
                3.        The offer of, or solicitation of an offer, to purchase or sell securities; or
                4.        The violation of any securities law including, but not limited to, the provisions of the Securities Act
                          of 1933, the Securities Exchange Act of 1934, or the Sarbanes-Oxley Act of 2002, or any
                          regulation promulgated under the foregoing statutes, or any similar federal, state, local, or foreign
                          law, including "Blue Sky" laws, whether such law is statutory, regulatory, or common law.

        W.      Based upon, arising from, or in any way involving the actual or alleged violation of the Organized Crime
                Control Act of 1970 (commonly known as "Racketeer Influenced and Corrupt Organizations Act" or
                "RICO"), as amended, or any regulation promulgated under the foregoing statute, or any similar federal,
                state, local or foreign law, whether such law is statutory, regulatory or common law.

        X.      Based upon, arising from, or in any way involving the actual or alleged government enforcement of any
                state or federal regulation including, but not limited to, regulations promulgated by the United States
                Federal Trade Commission, Federal Communications Commission, or the Securities and Exchange
                Commission. This exclusion does not apply to an otherwise covered claim under Insuring Agreement C.

        Y       Based upon, arising from, or in any way involving:

                1.        Any employer-employee relations, policies, practices, acts, or omissions;
                2.        Any actual or alleged refusal to employ any person; or
                3.        Any misconduct with respect to employees.

                This exclusion does not apply to a claim resulting from a privacy breach that is otherwise covered under
                Insuring Agreement B, Insuring Agreement C, or Insuring Agreement E.

        Z.      Based upon, arising from, or in any way involving any workers' compensation or similar laws such as the
                Federal Employers Liability Act.

        AA.     Based upon, arising from, or in any way involving any actual or alleged harassment or discrimination of
                any kind including, but not limited to, age, color, race, gender, creed, national origin, marital status, sexual
                preferences, disability, or pregnancy.

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        BB.       Based upon, arising from, or in any way involving:

                  1.       The violation of any pension, healthcare, welfare, profit sharing, mutual, or investment plans,
                           funds, or trusts; or
                  2.       Any violation of any provision of the Employee Retirement Income Security Act of 1974 and its
                           amendments, or the Pension Protection Act of 2006 and its amendments, or any regulation,
                           ruling, or order issued pursuant to the foregoing statutes.

        CC.       Based upon, arising from, or in any way involving labor strikes or similar labor actions.

        DD.      For loss, damage, cost, or expense of whatsoever nature directly or indirectly caused by, resulting from,
                 or in connection with war, invasion, acts of foreign enemies, hostilities or warlike operations (whether
                 declared or not), civil war or mutiny, civil commotion assuming the proportions of, or amounting to, a riot,
                 popular uprising, military uprising, insurrection, rebellion, revolution, or usurped power or act of terrorism,
                 regardless of any other cause or event contributing concurrently or in any other sequence to the loss; or
                 for loss, damage, cost, or expense of whatsoever nature directly or indirectly caused by, resulting from, or
                 in connection with any action taken by a government authority to hinder, control, prevent, suppress, or
                 defend against any of the aforementioned actions; or the confiscation, nationalization, requisition, or
                 destruction of, or damage to, property by, or under the order of, any government authority. This exclusion
                 does not apply to an act of cyber terrorism.

        EE.      Based upon, arising from, or in any way involving any commercial decision by any Insured to cease
                 providing a product or service, but only if the Insured is contractually obligated to continue providing such
                 products or services.

        FF.      1.        Based upon, arising from, or in any way involving gambling or pornography; or
                 2.        For the sale or provision of prohibited, restricted or regulated items, including, but not limited to,
                           alcoholic beverages, tobacco or drugs.

        GG.      Based upon, arising from, or in any way involving:

                 1.        Any Insured's failure to comply with or follow the PCI Data Security Standard or any payment
                           card company rules; or
                 2.        The implementation or maintenance of, or compliance with, any security measures or standards
                           related to any payment card data including, but not limited to, any fine or penalty imposed by a
                           payment card company on a merchant bank or payment processor that an Insured has paid or
                           agreed to reimburse or indemnify.

                 This exclusion does not apply to an otherwise covered PCI DSS demand under Insuring Agreement D.

        HH.      Based upon, arising from, or in any way involving:

                 1.        Any actual or alleged unfair competition, price fixing, deceptive trade practices or restraint of
                           trade; or
                 2.        The violation of any antitrust statute, legislation or regulation.

                 This exclusion does not apply to allegations of unfair competition that form a part of an otherwise covered
                 claim under Insuring Agreement A. This exclusion does not apply to allegations of deceptive trade
                 practices that form a part of an otherwise covered claim under Insuring Agreement B.

        II.      Based upon, arising from, or in any way involving any actual or alleged infringement of any patent.

        JJ.      Based upon, arising from, or in any way involving the misappropriation, theft, copying, display or
                 publication of any trade secret. This exclusion does not apply to an otherwise covered claim under
                 Insuring Agreement B alleging failure to prevent the misappropriation of a trade secret which results from
                 a security and privacy wrongful act.




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        KK.       Based upon, arising from, or in any way involving the manufacturing, mining, use, sale, installation,
                  removal or distribution of, or exposure to, asbestos, materials or products containing asbestos, or
                  asbestos fibers or dust.

        LL.       Based upon, arising from, or in any way involving the confiscation, commandeering, requisition,
                  destruction of, or damage to, computer hardware by order of a government de jure or de facto, or by any
                  public authority for whatever reason.

        MM.       Based upon, arising from, or in any way involving:

                  1.       Any actual, alleged or threatened presence, of mold, mildew, spores, mycotoxins, fungi, organic
                           pathogens, or other micro-organisms of any type, nature or description;
                  2.       Any cost, expense, or charge, fine or penalty incurred or sustained, or imposed by order,
                           direction, request, or agreement of any court, governmental agency, or any civil, public, or military
                           authority, to test for, monitor, clean up, remediate, remove, contain, treat, detoxify, neutralize,
                           rehabilitate, or in any way respond to, or assess, the effects of mold, mildew, spores, mycotoxins,
                           fungi, organic pathogens, or other microorganisms of any type, nature, or description.

                 For purposes of this exclusion, organic pathogens mean any organic irritant or contaminant including, but
                 not limited to, mold, fungus, bacteria, virus, or their byproducts such as mycotoxins, mildew, or biogenic
                 aerosol. Organic pathogens includes, but is not limited to, Aspergillus, Penicillium, Stachybotrys
                 Chartarum, Stachybotrys Atra, Trichoderma, Fusarium, and Memnoniella.

        NN.      Based upon, arising from, or in any way involving the existence, emission, or discharge of any
                 electromagnetic field, electromagnetic radiation, or electromagnetism, which actually or allegedly affects
                 the health, safety, or condition of any person or the environment, or that affects the value, marketability,
                 condition or use of any property.

        OO.      Based upon, arising from, or in any way involving:

                 1.        ionising radiations or contamination by radioactivity from any nuclear fuel or from any nuclear
                           waste from the combustion of nuclear fuel; or
                 2.        the radioactive, toxic, explosive or other hazardous properties of any explosive nuclear assembly
                           or nuclear component thereof.

        pp.      Based upon, arising from, or in any way involving any actual or alleged violation of the Telephone
                 Consumer Protection Act (47 U.S.C.§227), the Telemarketing and Consumer Fraud and Abuse
                 Prevention Act (15 U.S.C. §§ 6101-6108), or the CAN-SPAM Act (15 U.S.C. §§ 7701-7713), each as
                 amended, or any regulations promulgated under the foregoing statutes, or any similar federal, state, local
                 or foreign laws, whether such laws are statutory, regulatory or common law, including any anti-spam law
                 or other law concerning the use of telephonic or electronic communications for solicitation purposes, or
                 any allegations of invasion or violation of any rights to privacy derived therefrom. This exclusion does not
                 apply to an otherwise covered claim under Insuring Agreement B or Insuring Agreement C alleging a
                 violation of the CAN-SPAM Act, as amended, or any regulations promulgated thereunder, or any similar
                 federal, state, local or foreign law, whether such law is statutory, regulatory or common law, but only if
                 such violation arises out of a security breach.


        QQ.      With respect to Insuring Agreement F (BrandGuard®), for

                 1.        Any loss, cost, liability or expense that you incur to re-establish your reputation, including
                           public relations expenses;
                 2.        Any loss, cost, liability or expense incurred in any claim that is insured by any other insurance,
                           except excess insurance;
                 3.        Any loss, cost, liability or expense incurred because of an adverse media report that also affects
                           or refers in similar terms to a general security issue, an industry, or your specific competitors
                           without any specific allegations regarding a security breach or a privacy breach committed by
                           an Insured, or by others acting on your behalf, for whom you are legally responsible, including
                           BPO service providers or outsourced IT service providers;
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                                                                                                             IL UO 41 (12-18)

                   4.      Any liability to third parties for whatever reason, including, but not limited to, legal costs and
                           expenses of any type;
                   5.      Contractual penalties or consequential damages;
                   6.      Notification expenses, breach support and credit monitoring expenses or privacy breach
                           response costs paid or payable under Insuring Agreement E; or
                   7.      Fines or penalties imposed by law or regulation.

        Part VIII.      Changes in Exposure

        A.         In the event of a takeover during the endorsement period, coverage under this Endorsement will
                   continue until its natural expiration date for any claim made during the endorsement period, but only if
                   the actual or alleged wrongful acts or first party insured events giving rise to such claim occur on or
                   after the retroactive date and prior to the effective date of the takeover.

        B.         If, after the inception of the endorsement period, the Named Insured acquires or creates a Subsidiary,
                   and the Company has agreed, by endorsement to the Policy, to provide coverage for such Subsidiary,
                   then such Subsidiary will be included within the definition of Insured, but only with respect to claims for
                   actual or alleged wrongful acts or first party insured events that occur after the effective date of the
                   creation or acquisition of such Subsidiary.

        C.         If, after the inception of the endorsement period, the Named Insured sells a Subsidiary, that
                   Subsidiary will be an Insured, but only with respect to claims for actual or alleged wrongful acts or first
                   party insured events that occur on or after the retroactive date and prior to the effective date of the
                   sale.

        Part IX.        Loss Determination

        A.         Brand Loss. The brand loss payable under Insuring Agreement F will be calculated by considering:

                   1.      The prior experience of your business preceding the date of the adverse media report or
                           notification, whichever applies, and your likely net profit, had no adverse media report been
                           published or notification occurred;
                   2.      Income derived from substitute methods, facilities, or personnel you use to maintain your
                           revenue stream;
                   3.      Your documentation of the trends in your business and variations in, or other circumstances
                           affecting, your business before or after the adverse media report or notification, which would
                           have affected your business had no adverse media report been published or notification
                           occurred; and
                   4.      Your fixed operating expenses (including ordinary payroll), but only to the extent that such fixed
                           operating expenses must continue during the period of indemnity.

                   For purposes of calculating brand loss, "net profit" will include the amount paid or payable to you for
                   goods, products, or services sold, delivered, or rendered in the normal course of your business.

        B.         Digital Assets Loss.      The digital assets loss payable under Insuring Agreement G.1. will be
                   determined as follows:

                   1.      If the impacted digital asset was purchased from a third party, we will pay only the lesser of the
                           original purchase price of the digital asset or the reasonable and necessary digital assets loss.

                   2.      If it is determined that the digital assets cannot be replaced, restored or recreated, we will only
                           reimburse the actual and necessary digital assets loss incurred up to such determination.

        C.      Income Loss. The income loss payable under Insuring Agreement G.2. will be calculated as follows:

                1.         Your net profit, as could have been reasonably projected, but which has been lost as a direct
                           result of a covered cause of loss; plus
                2.         Your fixed operating expenses (including ordinary payroll) incurred, but only to the extent that
                           such operating expenses must continue during the period of restoration.
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                                                                                                            IL UO 41 (12-18)


                  Income loss will be calculated by considering:

                  1.       The prior experience of your business preceding the date of the covered cause of loss, and
                           your likely net profit, had no covered cause of loss occurred;
                  2.       Income derived from substitute methods, facilities, or personnel you use to maintain your
                           revenue stream; and
                  3.       Your documentation of the trends in your business and variations in, or other circumstances
                           affecting, your business before or after the covered cause of loss, which would have affected
                           your business had no covered cause of loss occurred.

                  For purposes of calculating income loss, "net profit" will include the amount paid or payable to you for
                  goods, products, or services sold, delivered, or rendered in the normal course of your business.

        Part X.        Transfer ofDuties when the Limits ofInsurance are Exhausted

        The following Transfer of Duties When the Limits of Insurance Are Exhausted provisions will apply only to the
        coverage provided under this Endorsement and will supersede any similar provisions contained elsewhere in the
        Policy.

        A.        If the Company concludes that, based on claims which have been reported, the Limits of Liability set
                  forth in the Cyber Liability Decla►ations are likely to be used up in payment of covered amounts, the
                  Company will notify the Insured to that effect.

        B.        When the Limits of Liability have been exhausted:

                  1.      The Company will notify the Insured in writing as soon as practicable that: (a) such Limits of
                          Liability have been exhausted; and (b) the Company's obligation to defend any claim or pay any
                          amounts has ended.
                  2.      The Company will initiate and cooperate in the transfer of control to the appropriate Insured all
                          claims which are subject to the Limits of Liability and were reported to the Company before the
                          Limits of Liability were exhausted. You, and any other Insured, must cooperate in the transfer of
                          control of said claims. You, and any other Insured involved in a claim, must arrange for the
                          defense and payment of such claim within the period agreed to by the appropriate Insured and
                          the Company. Absent any such agreement, arrangements for defense and payment of the claim
                          must be made as soon as practicable. The Company will take such steps as deemed appropriate
                          to avoid default in, or continue the defense or handling of, such claim until transfer of control is
                          completed, provided the Insured is cooperating in completing such transfer.
                  3.      The Insured will reimburse the Company for costs it incurs in transferring control of a claim. The
                          Company will take no action whatsoever with respect to any claim that would have been subject to
                          the Limits of Liability had they not been exhausted, if the claim is reported to the Company after
                          the Limits of Liability have been exhausted.
                  4.       The Insured will also be responsible for providing notification and customer support, including
                           credit monitoring services and iden tity theft education or assistance, to affected
                           individuals. The Insured may continue to utilize vendors recommended by the Company to
                           provide such services.
                  5.       The exhaustion of the Limits of Liability and the resulting end of the Company's obligation to
                           defend any claim or pay any amount will not be affected by the Company's failure to comply with
                           any of the provisions of this section.

       Part XL         Other Insurance

       The coverage provided by this Endorsement will be excess insurance over any other valid and collectible
       insurance available, including any self-insured retention or deductible portion thereof, whether such insurance is
       stated to be primary, pro rata, contributory, excess, contingent or otherwise, unless such insurance specifically
       applies as excess insurance over the insurance provided under this Endorsement.




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        Part MI.      Arbitration

        Notwithstanding any other provision of this Endorsement or the Policy, any irreconcilable dispute between the
        Company and an Insured concerning this Endorsement or coverage for any claim is to be resolved by arbitration
        in accordance with the then current rules of the American Arbitration Association, except that the arbitration panel
        shall consist of one arbitrator selected by the Insured, one arbitrator selected by the Company, and a third
        independent arbitrator selected by the first two arbitrators. Judgment upon the award may be entered in any court
        having jurisdiction. The arbitrator has the power to decide any dispute between the Company and the Insured
        concerning the application or interpretation of this Endorsement. However, the arbitrator shall have no power to
        change or add to the provisions of this Endorsement. The Insured and the Company will share equally in the cost
        of arbitration.




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        POLICY NUMBER: CPP 0018978 06                                                                         IL UO 51 (12-18)


                              This endorsement changes the policy. Please read it carefully.

                                                    OHIO CHANGES
        This Endorsement modifies insurance provided under the following:

        CYBER LIABILITY ENDORSEMENT

        1.      Part IV. Cyber Liability Definitions, Act of cyber terrorism, is deleted in its entirety and replaced with
                 the following:

                Act of cyber terrorism means the premeditated use of information technology to organize and execute
                attacks, or the threat thereof, against computers, computer systems, networks or the internet by any
                person or group, whether acting alone or on behalf of, or in connection with, any organization or
                government, which is committed for political, religious, or ideological purposes, with the intention to
                influence any government, put the public in fear, or cause destruction or harm to critical infrastructure or
                data, including any such attack that has been certified by the United States Government as an act of
                terrorism.

        2.      Part IV. Cyber Liability Definitions, Damages, is deleted in its entirety and replaced with the following:

                Damages means a monetary judgment, award, or settlement, including prejudgment and post-judgment
                interest awarded against an Insured on that part of any judgment paid or to be paid by the Company.

                Damages does not include:

                A.        Any Insured's future profits or royalties, restitution, or disgorgement of any Insured's profits;
                B.        Punitive or exemplary damages;
                C.        The costs to comply with orders granting injunctive or non-monetary relief, including specific
                          performance, or any agreement to provide such relief;
                D.        Loss of any Insured's fees or profits, the return or offset of any Insured's fees or charges, or any
                          Insured's commissions or royalties provided or contracted to be provided;
                E.        Taxes, fines or penalties, or sanctions;
                F.        Contractual liquidated damages, to the extent such damages exceed the amount for which the
                          Insured would have been liable in the absence of the liquidated damages agreement;
                G.        Any amount which an Insured is not financially or legally obligated to pay;
                H.        Disgorgement of any remuneration or financial advantage to which an Insured was not legally
                          entitled;
                I.        Settlements negotiated without the Company's consent;
                J.        Monetary judgments, awards, settlements or any other amounts which are uninsurable under the
                          law pursuant to which this Endorsement is construed or any legal fees and costs awarded
                          pursuant to such judgments, awards or settlements; or
                K.        PCI DSS fines and assessments.

        3.      Part VII. Cyber Liability Exclusions, exclusion DD., is deleted in its entirety and replaced with the
                following:

                DD.       For loss, damage, cost, or expense of whatsoever nature directly or indirectly caused by,
                          resulting from, or in connection with war, invasion, acts of foreign enemies, hostilities or warlike
                          operations (whether declared or not), civil war or mutiny, civil commotion assuming the
                          proportions of, or amounting to, a riot, popular uprising, military uprising, insurrection, rebellion,
                          revolution, or usurped power, regardless of any other cause or event contributing concurrently or
                          in any other sequence to the loss; or for loss, damage, cost, or expense of whatsoever nature
                          directly or indirectly caused by, resulting from, or in connection with any action taken by a
                          government authority to hinder, control, prevent, suppress, or defend against any of the
                          aforementioned actions; or the confiscation, nationalization, requisition, or destruction of, or



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                                                                                                        IL UO 51 (12-18)


                          damage to, property by, or under the order of, any government authority. This exclusion does not
                          apply to an act of cyber terrorism.


        ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THE CYBER LIABILITY ENDORSEMENT AND
        YOUR POLICY REMAIN THE SAME




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        CPP 0018978 00                                                                                 IL UO 03 (02-03)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        LEAD LIABILITY EXCLUSION
        The Commercial Liability Coverage is amended as           3. any loss, cost or expense arising out of any
        follows:                                                     request, demand or order that any "insured" or
                                                                     others test for, monitor, clean up, remove, contain,
                                                                     treat, detoxify or neutralize or in any way respond
        EXCLUSIONS THAT APPLY TO ALL COVERAGES                       to or assess the effects of lead; or
        The following are added:                                  4. any loss, cost or expense arising out of any claim
        This policy does not pay for:                                or suit by or on behalf of any governmental
        1. actual or alleged "bodily injury" arising out of the      authority for damages resulting from testing for,
           ingestion, inhalation or absorption of lead in any        monitoring, cleaning up, removing, containing,
           form;                                                     treating, detoxifying or neutralizing or in any
                                                                     responding to or assessing the effects of lead.
        2. actual or alleged "property damage" (or "personal
           injury" or "advertising injury," if provided by the
           Commercial Liability Coverage) arising out of any
           form of lead;




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        POLICY NUMBER: CPP 0018978 00                                                                    IL UO 08 (0405)

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                            ASBESTOS EXCLUSION
        This insurance does not apply to:                             a. assessing the presence, absence or amount
        1. bodily injury including but not limited to                     or effects of asbestos;
            asbestosis,    pleural plaques, mesothelioma,             b. identifying, sampling or testing for, detecting,
            cancer or fear of cancer, wrongful death, and/or             monitoring, cleaning up, removing, contain-
            property damage and/or personal injury and/or                ing, treating, detoxifying, neutralizing, abating,
            advertising injury arising out of, resulting from,           disposing of or mitigating asbestos; or
            caused by, or contributed to by asbestos,                 c. responding to asbestos in any way other than
            exposure to asbestos, the use of asbestos                    as described as in paragraph 2.a. and/or 2.b.
            including but not limited to the process of                  above.
            installation, maintenance, and/or removal thereof;
                                                                   3. any supervision, instructions, recommendations,
        2. any damages for any loss, cost or expense                  warnings or advise given or which should have
            arising out of any (i) claim or suit by or on behalf      been given in connection with any of the
            of any governmental authority or any other                subsections above; or
            alleged responsible party because of, or (ii) a
            request, demand, order or statutory or regulatory      4. any obligation to share damages with or repay
            requirement that any insured or any other person          someone else in connection with any of the
            or entity should be or should be responsible for:         subsections above.




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        IL UO 08 (04-05).DOC
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        CPP 0018978 00                                                                               IL UO 15 (12-10)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           EXCLUSION - PUNITIVE OR EXEMPLARY
                                    DAMAGES - OHIO
        This endorsement modifies the insurance provided by the policy to which it is attached and is indicated on the
        policy's Declarations or Schedule:


        This insurance policy, including any endorsements or
        coverage parts attached hereto, does not apply to:
        1. Any punitive or exemplary damages, fines, costs,
           interests, or penalties; or
        2. Any attorney fees as a result of punitive or
           exemplary damages, fines, costs, interests, or
           penalties.


        No other policy terms are modified by this endorse-
        ment.




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        CPP 0018978 00                                                                                   IL UO 27 (01-12)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    EXOTIC ANIMALS EXCLUSION
        This policy does not cover "bodily injury", "property             f.   Crocodilia (alligators, crocodiles);
        damage", or Medical Payments caused by ownership,
                                                                          g• Proboscidea (elephants);
        maintenance, use, boarding, or control of "exotic
        animal(s)".                                                       h. Hyaenidae (hyenas);
        For the purpose of this endorsement, the following                i.   Artiodactyla (hippopotamuses, giraffes,
        definitions apply:                                                     camels, elk, but not alpacas, llamas,
                                                                               buffalo, cattle,   goats,   sheep,    or
        A. "Exotic animal(s)" means any animal that meets                      domesticated swine, including hybrids of
           one or more of the following criteria, whether or                   these excepted animals);
           not the animal was bred or reared in captivity:
                                                                         j• Procyonidae (raccoons, coatis);
            1. requires a permit from a governmental
               agency to legally possess, except licensing of            k. Marsupialia (kangaroos, opossums)
               domesticated dogs, domesticated house cats,               I.    Perissodactyl a (rhinoceroses, tapirs, but
               and white tail deer;                                            not horses, donkeys, or mules);
            2. is illegal to possess; or                                 m. Edentata (anteaters, sloths, armadillos);
            3. is a member of any of the following orders                n. Viverridae      (mongooses,       civets,   and
               and families, and any of their hybrids with                  genets);
               domestic species.       The animals listed in             o. Mustelidae (mink, ermine, weasels,
               parentheses are merely examples and are                                  stoats,   otters,
                                                                            sables,                           badgers,
               not to be construed as an exhaustive list, or
                                                                            wolverines, skunks, but not ferrets);
               to limit the generality of each group of
               animals, unless otherwise specified:                      ID. Characiformes (piranha);
                a. Primates and prosimians           (monkeys,           q• Cypriniformes (invasive carp species,
                   chimpanzees,       gorillas,       baboons,               sometimes referred to in common
                   mandrills, orangutans);                                   language as bighead carp or Asian carp);
                 b. Felidae (lions, tigers, bobcats, lynx,               r.    Struthionidae (ostriches, emus);
                    cougars, leopards, jaguars, ocelots,                 s. Rheiformes (rhea); or
                    panthers, but not domesticated house
                                                                         t. Amphibians (only those that are toxic to
                    cats);
                                                                            human contact).
                c. Canidae (wolves, coyotes, foxes, jackals,
                                                                 B. The definition of "bodily injury" includes mental
                   but not domesticated dogs);
                                                                     anguish.
                d. Ursidae (all bears);
                                                                 Terms shown in quotation marks may appear in
                e. Reptilia (that are venomous snakes, that      boldface.
                   are constricting       snakes, and all
                   carnivorous reptiles);
                                                                 All other provisions of this policy apply.




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        CPP 0018978 00                                                                                    IL UO 28 (08-12)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         OIL AND GAS EXCLUSION
        This endorsement modifies insurance provided under the following:

                 BUSINESSOWNERS COVERAGE FORM
                 COMMERCIAL GARAGE COVERAGE FORM
                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM


        This policy does not cover in any way "bodily injury";    method, depositing waste materials at a disposal site,
        "property damage"; if applicable, "personal and           depositing at a water treatment facility, depositing at a
        advertising injury"; or medical payments caused by        sewage treatment facility, or injection of waste
        drilling, development, ownership,         leasing of,     materials into a well or otherwise into the earth, or
        maintenance, use, operation, retrofitting, monitoring,    release of waste materials into or upon bodies of
        or the existence of any oil or gas well (and any well's   water, aquifers, or the atmosphere.
        equipment, devices, or pipelines), whether by the         We have no duty to pay expenses, fines, or penalties
        method of hydraulic fracturing or by any other            mandated or assessed by any government agency,
        method.                                                   court, or other legal authority with respect to any
        This policy does not cover in any way "bodily injury";    activities, hazards, injuries, or damages excluded
        "property damage"; if applicable, "personal and           herein.
        advertising injury"; or medical payments caused by        We have no duty to defend any insured against any
        disposal by any means of any oil or gas drilling,         claim or suit for damages subject to this exclusion .
        development, operation, retrofitting, or maintenance
        waste materials. Disposal includes, but is not limited
        to, transporting by vehicle, pipeline, or any other       All other provisions of this policy apply.




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        POLICY NUMBER: CPP 0018978 06                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                     CG UO 30 (06-19)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 DEFINITION OF OCCURRENCE AMENDMENT FOR
                           CONSTRUCTION DEFECTS
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

        Under Section V — DEFINITIONS , definition 13. "Occurrence" is replaced by the following:
          13. "Occurrence" means an accident, including continuous or repeated exposure to substantially the same
             general harmful conditions.
              An accident shall include:
                   a. "Bodily injury"; or
                   b. "Property damage" to:
                       (1) The property of others; or
                       (2) "Your work", if "your work" was:
                            (a) Damaged by the work of a subcontractor who performed work on your behalf in the
                                construction, alteration, renovation, repair or maintenance of a building, structure, highway,
                                road, bridge, water line, sewer line, oil line, gas line, appurtenance or other improvement to
                                real property, including any moving, demolition or excavation; and
                            (b) The resulting "property damage" is included in the "products-completed operations hazard".
                            All terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 00 01 12 07

             COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        Various provisions in this policy restrict coverage.              (2) The "bodily injury" or "property dam-
        Read the entire policy carefully to determine rights,                  age" occurs during the policy period;
        duties and what is and is not covered.                                 and
        Throughout this policy the words "you" and "your"                 (3)  Prior   to the policy period, no insured
        refer to the Named Insured shown in the Declara-                       listed under Paragraph 1. of Section II -
        tions, and any other person or organization qualify-                   Who Is An Insured and no "employee"
        ing as a Named Insured under this policy. The                          authorized by you to give or receive no-
        words "we", "us" and "our" refer to the company                        tice of an "occurrence" or claim, knew
        providing this insurance.                                              that the "bodily injury" or "property
        The word "insured" means any person or organiza-                       damage" had occurred, in whole or in
        tion qualifying as such under Section II - Who Is                      part. If such a listed insured or au-
        An Insured.                                                            thorized "employee" knew, prior to the
                                                                               policy period, that the "bodily injury" or
        Other words and phrases that appear in quotation                       "property damage" occurred, then any
        marks have special meaning. Refer to Section V -                       continuation, change or resumption of
        Definitions.                                                           such "bodily injury" or "property dam-
        SECTION I - COVERAGES                                                  age" during or after the policy period
                                                                               will be deemed to have been known
        COVERAGE A BODILY INJURY AND PROPERTY
                                                                               prior to the policy period.
        DAMAGE LIABILITY
                                                                       c. "Bodily injury" or "property damage" which
        1. Insuring Agreement
                                                                          occurs during the policy period and was
            a. We will pay those sums that the insured                    not, prior to the policy period, known to
                 becomes legally obligated to pay as damag-               have occurred by any insured listed under
                 es because of "bodily injury" or "property               Paragraph 1. of Section II - Who Is An In-
                 damage" to which this insurance applies.                 sured or any "employee" authorized by you
                 We will have the right and duty to defend                to give or receive notice of an "occurrence"
                the insured against any "suit" seeking                    or claim, includes any continuation, change
                those damages. However, we will have no                   or resumption of that "bodily injury" or
                 duty to defend the insured against any                   "property damage" after the end of the pol-
                "suit" seeking damages for "bodily injury"                icy period.
                or "property damage" to which this insur-
                                                                       d. "Bodily injury" or "property damage" will
                ance does not apply. We may, at our dis-
                                                                          be deemed to have been known to have
                cretion, investigate any "occurrence" and
                                                                          occurred at the earliest time when any in-
                settle any claim or "suit" that may result.
                                                                          sured listed under Paragraph 1. of Section
                But:
                                                                          II - Who Is An Insured or any "employee"
                (1) The amount we will pay for damages is                 authorized by you to give or receive notice
                     limited as described in Section III - Lim-           of an "occurrence" or claim:
                     its Of Insurance; and
                                                                          (1) Reports all, or any part, of the "bodily
                (2) Our right and duty to defend ends                          injury" or "property damage" to us or
                     when we have used up the applicable                       any other insurer;
                     limit of insurance in the payment of
                     judgments or settlements under Cover-                (2) Receives a written or verbal demand or
                                                                               claim for damages because of the "bod-
                     ages A or B or medical expenses under
                                                                               ily injury" or "property damage"; or
                     Coverage C.
                                                                          (3) Becomes aware by any other means
                No other obligation or liability to pay sums
                                                                               that "bodily injury" or "property dam-
                or perform acts or services is covered un-
                                                                               age" has occurred or has begun to oc-
                less explicitly provided for under Supple-
                                                                               cur.
                mentary Payments - Coverages A and B.
                                                                       e. Damages because of "bodily injury" include
            b. This insurance applies to "bodily injury"
                                                                          damages claimed by any person or organi-
                and "property damage" only if:
                                                                          zation for care, loss of services or death re-
                (1) The "bodily injury" or "property dam-                 sulting at any time from the "bodily injury".
                     age" is caused by an "occurrence" that
                     takes place in the "coverage territory";



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                                                                            Wolters Kluwer Financial Services I Uniform FormsTM
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        2. Exclusions                                                  d. Workers' Compensation And Similar Laws
           This insurance does not apply to:                              Any obligation of the insured under a work-
           a. Expected Or Intended Injury                                 ers' compensation, disability benefits or un-
                                                                          employment compensation law or any simi-
               "Bodily injury" or "property damage" ex-                   lar law.
               pected or intended from the standpoint of
               the insured. This exclusion does not apply              e. Employer's Liability
               to "bodily injury" resulting from the use of               "Bodily injury" to:
               reasonable force to protect persons or                     (1) An "employee" of the insured arising
               property.                                                       out of and in the course of:
           b. Contractual Liability                                            (a) Employment by the insured; or
               "Bodily injury" or "property damage" for                        (b) Performing duties related to the
               which the insured is obligated to pay dam-                           conduct of the insured's business;
               ages by reason of the assumption of liabil-                          or
              ity in a contract or agreement. This exclu-
              sion does not apply to liability for damages:               (2) The spouse, child, parent, brother or
                                                                               sister of that "employee" as a conse-
              (1) That the insured would have in the ab-                       quence of Paragraph (1) above.
                    sence of the contract or agreement; or
                                                                          This exclusion applies whether the insured
              (2) Assumed in a contract or agreement                      may be liable as an employer or in any oth-
                    that is an "insured contract", provided               er capacity and to any obligation to share
                    the "bodily injury" or "property dam-                 damages with or repay someone else who
                    age" occurs subsequent to the execu-                  must pay damages because of the injury.
                    tion of the contract or agreement. Sole-
                   ly for the purposes of liability assumed               This exclusion does not apply to liability as-
                   in an "insured contract", reasonable at-               sumed by the insured under an "insured
                   torney fees and necessary litigation ex-               contract".
                   penses incurred by or for a party other             f. Pollution
                   than an insured are deemed to be dam-                  (1) "Bodily injury" or "property damage"
                   ages because of "bodily injury" or                          arising out of the actual, alleged or
                   "property damage", provided:                                threatened discharge, dispersal, seep-
                   (a) Liability to such party for, or for the                 age, migration, release or escape of
                        cost of, that party's defense has al-                  "pollutants":
                        so been assumed in the same "in-
                        sured contract"; and                                   (a) At or from any premises, site or lo-
                                                                                    cation which is or was at any time
                   (b) Such attorney fees and litigation                            owned or occupied by, or rented or
                        expenses are for defense of that                            loaned to, any insured. However,
                        party against a civil or alternative                        this subparagraph does not apply
                        dispute resolution proceeding in                            to:
                        which damages to which this insur-
                        ance applies are alleged.                                  (i) "Bodily injury" if sustained
                                                                                        within a building and caused by
           c. Liquor Liability                                                          smoke, fumes, vapor or soot
              "Bodily injury" or "property damage" for                                  produced by or originating from
              which any insured may be held liable by                                   equipment that is used to heat,
              reason of:                                                                cool or dehumidify the building,
                                                                                        or equipment that is used to
              (1) Causing or contributing to the intoxica-                              heat water for personal use, by
                   tion of any person;                                                  the building's occupants or
              (2) The furnishing of alcoholic beverages to                              their guests;
                   a person under the legal drinking age or                        (ii) "Bodily injury" or "property
                   under the influence of alcohol; or                                   damage" for which you may be
              (3) Any statute, ordinance or regulation re-                              held liable, if you are a contrac-
                   lating to the sale, gift, distribution or                            tor and the owner or lessee of
                   use of alcoholic beverages.                                          such premises, site or location
              This exclusion applies only if you are in the                             has been added to your policy
              business of manufacturing, distributing,                                  as an additional insured with re-
              selling, serving or furnishing alcoholic bev-                             spect to your ongoing opera-
              erages.                                                                   tions performed for that addi-
                                                                                        tional insured at that premises,


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                               site or location and such prem-                            charged, dispersed or released
                               ises, site or location is not and                          as part of the operations being
                               never was owned or occupied                                performed by such insured,
                               by, or rented or loaned to, any                            contractor or subcontractor;
                               insured, other than that addi-                       (ii) "Bodily injury" or "property
                               tional insured; or                                         damage" sustained within a
                         (iii) "Bodily injury" or "property                               building and caused by the re-
                               damage" arising out of heat,                               lease of gases, fumes or vapors
                               smoke or fumes from a "hostile                             from materials brought into that
                               fire";                                                     building in connection with op-
                     (b) At or from any premises, site or lo-                             erations being performed by
                          cation which is or was at any time                              you or on your behalf by a con-
                         used by or for any insured or others                             tractor or subcontractor; or
                         for the handling, storage, disposal,                       (iii) "Bodily injury" or "property
                         processing or treatment of waste;                                damage" arising out of heat,
                     (c) Which are or were at any time                                    smoke or fumes from a "hostile
                         transported, handled, stored, treat-                             fire".
                         ed, disposed of, or processed as                      (e) At or from any premises, site or lo-
                         waste by or for:                                           cation on which any insured or any
                         (i) Any insured; or                                        contractors or subcontractors work-
                                                                                   ing directly or indirectly on any in-
                         (ii) Any person or organization for                       sured's behalf are performing oper-
                               whom you may be legally re-                         ations if the operations are to test
                               sponsible; or                                       for, monitor, clean up, remove,
                     (d) At or from any premises, site or lo-                       contain, treat, detoxify or neutral-
                         cation on which any insured or any                        ize, or in any way respond to, or
                         contractors or subcontractors work-                       assess the effects of, "pollutants".
                         ing directly or indirectly on any in-             (2) Any loss, cost or expense arising out of
                         sured's behalf are performing oper-                   any:
                         ations if the "pollutants" are
                         brought on or to the premises, site                   (a) Request, demand, order or statu-
                         or location in connection with such                       tory or regulatory requirement that
                         operations by such insured, con-                          any insured or others test for, mon-
                         tractor or subcontractor. However,                        itor, clean up, remove, contain,
                         this subparagraph does not apply                          treat, detoxify or neutralize, or in
                         to:                                                       any way respond to, or assess the
                                                                                   effects of, "pollutants"; or
                         (i) "Bodily injury" or "property
                               damage" arising out of the es-                  (b) Claim or "suit" by or on behalf of a
                               cape of fuels, lubricants or oth-                   governmental authority for damag-
                              er operating fluids which are                        es because of testing for, monitor-
                              needed to perform the normal                         ing, cleaning up, removing, contain-
                              electrical, hydraulic or mechani-                    ing, treating, detoxifying or neutral-
                              cal functions necessary for the                      izing, or in any way responding to,
                              operation of "mobile equip-                          or assessing the effects of, "pollut-
                              ment" or its parts, if such fuels,                   ants".
                              lubricants or other operating                    However, this paragraph does not ap-
                              fluids escape from a vehicle                     ply to liability for damages because of
                              part designed to hold, store or                  "property damage" that the insured
                              receive them. This exception                     would have in the absence of such re-
                              does not apply if the "bodily                    quest, demand, order or statutory or
                              injury" or "property damage"                     regulatory requirement, or such claim
                              arises out of the intentional dis-               or "suit" by or on behalf of a govern-
                              charge, dispersal or release of                  mental authority.
                              the fuels, lubricants or other
                              operating fluids, or if such            9.   Aircraft, Auto Or Watercraft
                              fuels, lubricants or other operat-           "Bodily injury" or "property damage" aris-
                              ing fluids are brought on or to              ing out of the ownership, maintenance, use
                              the premises, site or location               or entrustment to others of any aircraft,
                              with the intent that they be dis-            "auto" or watercraft owned or operated by



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                or rented or loaned to any insured. Use in-            i.   War
                cludes operation and "loading or unload-                    "Bodily injury" or "property damage", how-
                ing".                                                       ever caused, arising, directly or indirectly,
                This exclusion applies even if the claims                   out of:
                against any insured allege negligence or                    (1) War, including undeclared or civil war;
                other wrongdoing in the supervision, hiring,
                employment, training or monitoring of oth-                  (2) Warlike action by a military force, in-
                ers by that insured, if the "occurrence"                        cluding action in hindering or defending
                which caused the "bodily injury" or "prop-                      against an actual or expected attack,
                erty damage" involved the ownership,                            by any government, sovereign or other
               maintenance, use or entrustment to others                        authority using military personnel or
                of any aircraft, "auto" or watercraft that is                   other agents; or
                owned or operated by or rented or loaned                    (3) Insurrection,     rebellion,   revolution,
                to any insured.                                                 usurped power, or action taken by gov-
                This exclusion does not apply to:                               ernmental authority in hindering or de-
                                                                                fending against any of these.
               (1) A watercraft while ashore on premises
                    you own or rent;                                        Damage To Property
               (2) A watercraft you do not own that is:                     "Property damage" to:
                    (a) Less than 26 feet long; and                         (1) Property you own, rent, or occupy, in-
                                                                                cluding any costs or expenses incurred
                    (b) Not being used to carry persons or                      by you, or any other person, organiza-
                        property for a charge;                                  tion or entity, for repair, replacement,
               (3)  Parking  an "auto" on, or on the ways                       enhancement, restoration or mainte-
                    next to, premises you own or rent,                          nance of such property for any reason,
                    provided the "auto" is not owned by or                      including prevention of injury to a per-
                    rented or loaned to you or the insured;                     son or damage to another's property;
               (4) Liability assumed under any "insured                     (2) Premises you sell, give away or aban-
                    contract" for the ownership, mainte-                        don, if the "property damage" arises
                    nance or use of aircraft or watercraft;                     out of any part of those premises;
                    or
                                                                            (3) Property loaned to you;
               (5) "Bodily injury" or "property damage"                     (4) Personal property in the care, custody
                    arising out of:                                             or control of the insured;
                    (a) The operation of machinery or
                                                                            (5) That particular part of real property on
                        equipment that is attached to, or                       which you or any contractors or sub-
                        part of, a land vehicle that would                      contractors working directly or indirect-
                        qualify under the definition of "mo-                    ly on your behalf are performing opera-
                        bile equipment" if it were not sub-                     tions, if the "property damage" arises
                        ject to a compulsory or financial re-                   out of those operations; or
                        sponsibility law or other motor ve-
                        hicle insurance law in the state                    (6) That particular part of any property that
                        where it is licensed or principally                     must be restored, repaired or replaced
                        garaged; or                                             because "your work" was incorrectly
                                                                                performed on it.
                    (b) the operation of any of the ma-
                        chinery or equipment listed in Para-                Paragraphs (1), (3) and (4) of this exclusion
                        graph f.(2) or f.(3) of the definition              do not apply to "property damage" (other
                        of "mobile equipment".                              than damage by fire) to premises, including
                                                                            the contents of such premises, rented to
            h. Mobile Equipment                                             you for a period of 7 or fewer consecutive
               "Bodily injury" or "property damage" aris-                   days. A separate limit of insurance applies
               ing out of:                                                  to Damage To Premises Rented To You as
               (1) The transportation of "mobile equip-                     described in Section III - Limits Of Insur-
                    ment" by an "auto" owned or operated                    ance.
                    by or rented or loaned to any insured;                  Paragraph (2) of this exclusion does not ap-
                    or                                                      ply if the premises are "your work" and
               (2) The use of "mobile equipment" in, or                     were never occupied, rented or held for
                    while in practice for, or while being pre-              rental by you.
                    pared for, any prearranged racing,
                    speed, demolition, or stunting activity.

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                Paragraphs (3), (4), (5) and (6) of this ex-          p. Electronic Data
                clusion do not apply to liability assumed                  Damages arising out of the loss of, loss of
                under a sidetrack agreement.                               use of, damage to, corruption of, inability
                Paragraph (6) of this exclusion does not                   to access, or inability to manipulate elec-
                apply to "property damage" included in the                 tronic data.
                "products-completed operations hazard".                    As used in this exclusion, electronic data
            k. Damage To Your Product                                      means information, facts or programs
                "Property damage" to "your product" aris-                  stored as or on, created or used on, or
                ing out of it or any part of it.                           transmitted to or from computer software,
                                                                           including systems and applications soft-
            I. Damage To Your Work                                         ware, hard or floppy disks, CD-ROMS,
                "Property damage" to "your work" arising                   tapes, drives, cells, data processing de-
                out of it or any part of it and included in                vices or any other media which are used
                the "products-completed operations haz-                   with electronically controlled equipment.
                ard".                                                 q. Distribution Of Material In Violation Of
                This exclusion does not apply if the dam-                  Statutes
               aged work or the work out of which the                     "Bodily injury" or "property damage" aris-
                damage arises was performed on your be-                    ing directly or indirectly out of any action
               half by a subcontractor.                                    or omission that violates or is alleged to vi-
            m. Damage To Impaired Property Or Property                     olate:
               Not Physically Injured                                     (1) The Telephone Consumer Protection
               "Property damage" to "impaired property"                        Act (TCPA), including any amendment
               or property that has not been physically in-                    of or addition to such law; or
               jured, arising out of:                                     (2) The CAN-SPAM Act of 2003, including
               (1) A defect, deficiency, inadequacy or                         any amendment of or addition to such
                    dangerous condition in "your product"                      law; or
                    or "your work"; or                                    (3) Any statute, ordinance or regulation,
               (2) A delay or failure by you or anyone act-                    other than the TCPA or CAN-SPAM Act
                    ing on your behalf to perform a con-                       of 2003, that prohibits or limits the
                    tract or agreement in accordance with                      sending, transmitting, communicating
                    its terms.                                                 or distribution of material or informa-
                                                                               tion.
               This exclusion does not apply to the loss of
               use of other property arising out of sudden            Exclusions c. through n. do not apply to dam-
               and accidental physical injury to "your                age by fire to premises while rented to you or
               product" or "your work" after it has been              temporarily occupied by you with permission of
               put to its intended use.                               the owner. A separate limit of insurance ap-
            n. Recall Of Products, Work Or Impaired                   plies to this coverage as described in Section III
               Property                                               - Limits Of Insurance.
               Damages claimed for any loss, cost or ex-           COVERAGE B PERSONAL AND ADVERTISING IN-
               pense incurred by you or others for the             JURY LIABILITY
               loss of use, withdrawal, recall, inspection,        1. Insuring Agreement
               repair, replacement, adjustment, removal or            a. We will pay those sums that the insured
               disposal of:                                               becomes legally obligated to pay as damag-
               (1) "Your product";                                        es because of "personal and advertising in-
               (2) "Your work"; or                                        jury" to which this insurance applies. We
                                                                          will have the right and duty to defend the
               (3) "Impaired property";                                   insured against any "suit" seeking those
               if such product, work, or property is                      damages. However, we will have no duty
               withdrawn or recalled from the market or                   to defend the insured against any "suit"
               from use by any person or organization be-                 seeking damages for "personal and adver-
               cause of a known or suspected defect, de-                  tising injury" to which this insurance does
               ficiency, inadequacy or dangerous condi-                   not apply. We may, at our discretion, in-
               tion in it.                                                vestigate any offense and settle any claim
                                                                          or "suit" that may result. But:
            o. Personal And Advertising Injury
                                                                          (1) The amount we will pay for damages is
               "Bodily injury" arising out of "personal and                    limited as described in Section III - Lim-
               advertising injury".
                                                                               its Of Insurance; and

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               (2) Our right and duty to defend end when                  services to conform with any statement of
                    we have used up the applicable limit of               quality or performance made in your "ad-
                    insurance in the payment of judgments                 vertisement".
                    or settlements under Coverages A or B             h. Wrong Description Of Prices
                    or medical expenses under Coverage C.
                                                                          "Personal and advertising injury" arising
               No other obligation or liability to pay sums               out of the wrong description of the price of
               or perform acts or services is covered un-                 goods, products or services stated in your
               less explicitly provided for under Supple-                "advertisement".
               mentary Payments - Coverages A and B.
                                                                      i. Infringement Of Copyright, Patent, Trade-
           b. This insurance applies to "personal and ad-                 mark Or Trade Secret
               vertising injury" caused by an offense aris-
               ing out of your business but only if the of-               "Personal and advertising injury" arising
               fense was committed in the "coverage ter-                 out of the infringement of copyright, pat-
               ritory" during the policy period.                         ent, trademark, trade secret or other in-
                                                                         tellectual property rights. Under this exclu-
        2. Exclusions                                                    sion, such other intellectual property rights
           This insurance does not apply to:                              do not include the use of another's adver-
           a. Knowing Violation Of Rights Of Another                     tising idea in your "advertisement".
               "Personal and advertising injury" caused by               However, this exclusion does not apply to
               or at the direction of the insured with the               infringement, in your "advertisement", of
               knowledge that the act would violate the                  copyright, trade dress or slogan.
               rights of another and would inflict "person-           J. Insureds In Media And Internet Type Busi-
               al and advertising injury".                               nesses
           b. Material Published With Knowledge Of Fal-                  "Personal and advertising injury" committ-
               sity                                                      ed by an insured whose business is:
              "Personal and advertising injury" arising                  (1) Advertising, broadcasting, publishing or
               out of oral or written publication of mate-                    telecasting;
              rial, if done by or at the direction of the in-            (2) Designing or determining content of
              sured with knowledge of its falsity.                            web-sites for others; or
           c. Material Published Prior To Policy Period                  (3) An Internet search, access, content or
              "Personal and advertising injury" arising                       service provider.
              out of oral or written publication of material             However, this exclusion does not apply to
              whose first publication took place before                  Paragraphs 14.a., b. and c. of "personal
              the beginning of the policy period.                        and advertising injury" under the Defini-
           d. Criminal Acts                                              tions Section.
              "Personal and advertising injury" arising                  For the purposes of this exclusion, the
              out of a criminal act committed by or at the               placing of frames, borders or links, or ad-
              direction of the insured.                                  vertising, for you or others anywhere on
           e. Contractual Liability                                      the Internet, is not by itself, considered the
                                                                         business of advertising, broadcasting, pub-
              "Personal and advertising injury" for which                lishing or telecasting.
              the insured has assumed liability in a con-
              tract or agreement. This exclusion does not             k. Electronic Chatrooms Or Bulletin Boards
              apply to liability for damages that the in-                "Personal and advertising injury" arising
              sured would have in the absence of the                     out of an electronic chatroom or bulletin
              contract or agreement.                                     board the insured hosts, owns, or over
           f. Breach Of Contract                                         which the insured exercises control.
              "Personal and advertising injury" arising               I. Unauthorized Use Of Another's Name Or
              out of a breach of contract, except an im-                 Product
              plied contract to use another's advertising                "Personal and advertising injury" arising
              idea in your "advertisement".                              out of the unauthorized use of another's
                                                                         name or product in your e-mail address, do-
           g. Quality Or Performance Of Goods - Failure                  main name or metatag, or any other similar
              To Conform To Statements
                                                                         tactics to mislead another's potential cus-
              "Personal and advertising injury" arising                  tomers.
              out of the failure of goods, products or



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            m. Pollution                                           COVERAGE C MEDICAL PAYMENTS
                "Personal and advertising injury" arising          1. Insuring Agreement
                out of the actual, alleged or threatened dis-         a. We will pay medical expenses as described
                charge, dispersal, seepage, migration, re-                below for "bodily injury" caused by an acci-
                lease or escape of "pollutants" at any time.              dent:
            n. Pollution-Related                                          (1) On premises you own or rent;
                Any loss, cost or expense arising out of                  (2) On ways next to premises you own or
                any:                                                          rent; or
               (1) Request, demand, order or statutory or                 (3) Because of your operations;
                    regulatory requirement that any insured
                    or others test for, monitor, clean up, re-            provided that:
                    move, contain, treat, detoxify or neu-                    (a) The accident takes place in the
                    tralize, or in any way respond to, or as-                     "coverage territory" and during the
                    sess the effects of, "pollutants"; or                         policy period;
               (2) Claim or suit by or on behalf of a gov-                    (b) The expenses are incurred and re-
                    ernmental authority for damages be-                           ported to us within one year of the
                    cause of testing for, monitoring, clean-                      date of the accident; and
                    ing up, removing, containing, treating,                   (c) The injured person submits to ex-
                    detoxifying or neutralizing, or in any                        amination, at our expense, by phys-
                    way responding to, or assessing the ef-                       icians of our choice as often as we
                    fects of, "pollutants".                                       reasonably require.
            o. War                                                    b. We will make these payments regardless of
               "Personal and advertising injury", however                 fault. These payments will not exceed the
               caused, arising, directly or indirectly, out               applicable limit of insurance. We will pay
               of:                                                        reasonable expenses for:
               (1) War, including undeclared or civil war;                (1) First aid administered at the time of an
               (2) Warlike action by a military force, in-                    accident;
                    cluding action in hindering or defending             (2) Necessary medical, surgical, x-ray and
                   against an actual or expected attack,                      dental services, including prosthetic de-
                   by any government, sovereign or other                      vices; and
                   authority using military personnel or                 (3) Necessary ambulance, hospital, profes-
                   other agents; or                                           sional nursing and funeral services.
               (3) Insurrection,      rebellion,   revolution,     2. Exclusions
                   usurped power, or action taken by gov-
                   ernmental authority in hindering or de-            We will not pay expenses for "bodily injury":
                   fending against any of these.                      a. Any Insured
            p. Distribution Of Material In Violation Of                   To any insured, except "volunteer work-
               Statutes                                                  ers".
               "Personal and advertising injury" arising di-          b. Hired Person
               rectly or indirectly out of any action or
                                                                         To a person hired to do work for or on be-
               omission that violates or is alleged to vio-
               late:                                                     half of any insured or a tenant of any in-
                                                                         sured.
               (1) The Telephone Consumer Protection
                   Act (TCPA), including any amendment                c. Injury On Normally Occupied Premises
                   of or addition to such law; or                        To a person injured on that part of prem-
                                                                         ises you own or rent that the person nor-
               (2) The CAN-SPAM Act of 2003, including
                                                                         mally occupies.
                   any amendment of or addition to such
                   law; or                                            d. Workers Compensation And Similar Laws
               (3) Any statute, ordinance or regulation,                 To a person, whether or not an "employee"
                   other than the TCPA or CAN-SPAM Act                   of any insured, if benefits for the "bodily
                   of 2003, that prohibits or limits the                 injury" are payable or must be provided un-
                   sending, transmitting, communicating                  der a workers' compensation or disability
                   or distribution of material or informa-               benefits law or a similar law.
                   tion.




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           e. Athletics Activities                                     a. The "suit" against the indemnitee seeks
               To a person injured while practicing, in-                   damages for which the insured has as-
               structing or participating in any physical ex-              sumed the liability of the indemnitee in a
               ercises or games, sports, or athletic con-                  contract or agreement that is an "insured
               tests.                                                      contract";
           f. Products-Completed Operations Hazard                     b. This insurance applies to such liability as-
                                                                           sumed by the insured;
               Included within the "products-completed
               operations hazard".                                     c. The obligation to defend, or the cost of the
                                                                           defense of, that indemnitee, has also been
           g. Coverage A Exclusions                                        assumed by the insured in the same "in-
               Excluded under Coverage A.                                  sured contract";
        SUPPLEMENTARY PAYMENTS - COVERAGES A                           d. The allegations in the "suit" and the infor-
        AND B                                                              mation we know about the "occurrence"
                                                                           are such that no conflict appears to exist
        1. We will pay, with respect to any claim we in-
                                                                           between the interests of the insured and
           vestigate or settle, or any "suit" against an in-
                                                                           the interests of the indemnitee;
           sured we defend:
                                                                       e. The indemnitee and the insured ask us to
           a. All expenses we incur.
                                                                           conduct and control the defense of that in-
           b. Up to $250 for cost of bail bonds required                   demnitee against such "suit" and agree
               because of accidents or traffic law viola-                  that we can assign the same counsel to de-
               tions arising out of the use of any vehicle                 fend the insured and the indemnitee; and
               to which the Bodily Injury Liability Cover-
                                                                       f. The indemnitee:
               age applies. We do not have to furnish
               these bonds.                                                (1) Agrees in writing to:
           c. The cost of bonds to release attachments,                        (a) Cooperate with us in the investiga-
               but only for bond amounts within the appli-                         tion, settlement or defense of the
               cable limit of insurance. We do not have to                         "suit";
               furnish these bonds.                                            (b) Immediately send us copies of any
           d. All reasonable expenses incurred by the in-                          demands, notices, summonses or
               sured at our request to assist us in the in-                        legal papers received in connection
               vestigation or defense of the claim or                              with the "suit";
               "suit", including actual loss of earnings up                    (c) Notify any other insurer whose cov-
               to $250 a day because of time off from                              erage is available to the indemnitee;
               work.                                                               and
           e. All court costs taxed against the insured in                     (d) Cooperate with us with respect to
               the "suit". However, these payments do                              coordinating other applicable insur-
               not include attorneys' fees or attorneys'                           ance available to the indemnitee;
               expenses taxed against the insured.                                 and
           f. Prejudgment interest awarded against the                     (2) Provides us with written authorization
               insured on that part of the judgment we                         to:
               pay. If we make an offer to pay the appli-
               cable limit of insurance, we will not pay                       (a) Obtain records and other informa-
               any prejudgment interest based on that pe-                          tion related to the "suit"; and
               riod of time after the offer.                                   (b) Conduct and control the defense of
                                                                                   the indemnitee in such "suit".
           g. All interest on the full amount of any judg-
               ment that accrues after entry of the judg-              So long as the above conditions are met, at-
               ment and before we have paid, offered to                torneys' fees incurred by us in the defense of
               pay, or deposited in court the part of the              that indemnitee, necessary litigation expenses
               judgment that is within the applicable limit            incurred by us and necessary litigation expens-
               of insurance.                                           es incurred by the indemnitee at our request
           These payments will not reduce the limits of in-            will be paid as Supplementary Payments. Not-
           surance.                                                    withstanding the provisions of Paragraph
                                                                       2.b.(2) of Section I - Coverage A - Bodily Injury
        2. If we defend an insured against a "suit" and an             And Property Damage Liability, such payments
           indemnitee of the insured is also named as a                will not be deemed to be damages for "bodily
           party to the "suit", we will defend that indem-             injury" and "property damage" and will not re-
           nitee if all of the following conditions are met:           duce the limits of insurance.



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           Our obligation to defend an insured's indem-                              to a co-"employee" while in the
           nitee and to pay for attorneys' fees and neces-                           course of his or her employment or
           sary litigation expenses as Supplementary Pay-                            performing duties related to the
           ments ends when we have used up the appli-                                conduct of your business, or to
           cable limit of insurance in the payment of judg-                          your other "volunteer workers"
           ments or settlements or the conditions set                                while performing duties related to
           forth above, or the terms of the agreement de-                            the conduct of your business;
           scribed in Paragraph f. above, are no longer                         (b) To the spouse, child, parent, broth-
           met.                                                                      er or sister of that co-"employee"
        SECTION II - WHO IS AN INSURED                                               or "volunteer worker" as a conse-
        1. If you are designated in the Declarations as:                             quence of Paragraph (1)(a) above;
           a. An individual, you and your spouse are                            (c) For which there is any obligation to
                insureds, but only with respect to the con-                          share damages with or repay some-
                duct of a business of which you are the                              one else who must pay damages
                sole owner.                                                          because of the injury described in
                                                                                     Paragraphs (1)(a) or (b) above; or
           b. A partnership or joint venture, you are an
                insured. Your members, your partners, and                       (d) Arising out of his or her providing
                their spouses are also insureds, but only                            or failing to provide professional
                with respect to the conduct of your busi-                            health care services.
                ness.                                                      (2) "Property damage" to property:
           c. A limited liability company, you are an in-                       (a) Owned, occupied or used by,
                sured. Your members are also insureds, but                      (b) Rented to, in the care, custody or
                only with respect to the conduct of your                             control of, or over which physical
                business. Your managers are insureds, but                            control is being exercised for any
                only with respect to their duties as your                            purpose by
                managers.
                                                                                you, any of your "employees", "volun-
           d. An organization other than a partnership,                         teer workers", any partner or member
                joint venture or limited liability company,                     (if you are a partnership or joint ven-
                you are an insured. Your "executive offic-                      ture), or any member (if you are a limit-
                ers" and directors are insureds, but only                       ed liability company).
                with respect to their duties as your officers
                or directors. Your stockholders are also in-           b. Any person (other than your "employee" or
                sureds, but only with respect to their lia-                "volunteer worker"), or any organization
                bility as stockholders.                                    while acting as your real estate manager.
           e. A trust, you are an insured. Your trustees               c. Any person or organization having proper
                are also insureds, but only with respect to                temporary custody of your property if you
                their duties as trustees.                                   die, but only:
        2. Each of the following is also an insured:                       (1) With respect to liability arising out of
                                                                                the maintenance or use of that prop-
           a. Your "volunteer workers" only while per-                          erty; and
                forming duties related to the conduct of
                your business, or your "employees", other                  (2) Until your legal representative has been
                than either your "executive officers" (if you                   appointed.
                are an organization other than a partner-              d. Your legal representative if you die, but on-
                ship, joint venture or limited liability com-              ly with respect to duties as such. That rep-
                pany) or your managers (if you are a limited               resentative will have all your rights and du-
                liability company), but only for acts within               ties under this Coverage Part.
                the scope of their employment by you or             3. Any organization you newly acquire or form,
                while performing duties related to the con-            other than a partnership, joint venture or limit-
                duct of your business. However, none of                ed liability company, and over which you main-
                these "employees" or "volunteer workers"               tain ownership or majority interest, will qualify
                are insureds for:                                      as a Named Insured if there is no other similar
               (1) "Bodily injury" or "personal and adver-             insurance available to that organization. How-
                     tising injury":                                   ever:
                     (a) To you, to your partners or mem-              a. Coverage under this provision is afforded
                          bers (if you are a partnership or                only until the 90th day after you acquire or
                          joint venture), to your members (if              form the organization or the end of the pol-
                          you are a limited liability company),            icy period, whichever is earlier;


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             b. Coverage A does not apply to "bodily in-           7. Subject to Paragraph 5. above, the Medical Ex-
                 jury" or "property damage" that occurred               pense Limit is the most we will pay under Cov-
                 before you acquired or formed the organi-             erage C for all medical expenses because of
                 zation; and                                            "bodily injury" sustained by any one person.
             c. Coverage B does not apply to "personal             The Limits of Insurance of this Coverage Part apply
                 and advertising injury" arising out of an of-     separately to each consecutive annual period and
                 fense committed before you acquired or            to any remaining period of less than 12 months,
                 formed the organization.                          starting with the beginning of the policy period
        No person or organization is an insured with re-           shown in the Declarations, unless the policy period
        spect to the conduct of any current or past part-          is extended after issuance for an additional period
        nership, joint venture or limited liability company        of less than 12 months. In that case, the additional
        that is not shown as a Named Insured in the Decla-         period will be deemed part of the last preceding pe-
        rations.                                                   riod for purposes of determining the Limits of In-
                                                                   surance.
        SECTION III - LIMITS OF INSURANCE
                                                                   SECTION IV - COMMERCIAL GENERAL LIABILITY
        1. The Limits of Insurance shown in the Declara-           CONDITIONS
             tions and the rules below fix the most we will
             pay regardless of the number of:                      1. Bankruptcy
             a. Insureds;                                              Bankruptcy or insolvency of the insured or of
                                                                       the insured's estate will not relieve us of our
             b. Claims made or "suits" brought; or                     obligations under this Coverage Part.
             c. Persons or organizations making claims or          2. Duties In The Event Of Occurrence, Offense,
                 bringing "suits".                                     Claim Or Suit
        2. The General Aggregate Limit is the most we                  a. You must see to it that we are notified as
            will pay for the sum of:                                        soon as practicable of an "occurrence" or
            a. Medical expenses under Coverage C;                          an offense which may result in a claim. To
            b. Damages under Coverage A, except dam-                       the extent possible, notice should include:
                 ages because of "bodily injury" or "proper-               (1) How, when and where the "occur-
                 ty damage" included in the "products-                          rence" or offense took place;
                 completed operations hazard"; and                         (2) The names and addresses of any in-
            c. Damages under Coverage B.                                        jured persons and witnesses; and
        3. The Products-Completed Operations Aggregate                     (3) The nature and location of any injury or
            Limit is the most we will pay under Coverage A                      damage arising out of the "occurrence"
            for damages because of "bodily injury" and                          or offense.
            "property damage" included in the "products-               b. If a claim is made or "suit" is brought
            completed operations hazard".                                  against any insured, you must:
        4. Subject to Paragraph 2. above, the Personal                     (1) Immediately record the specifics of the
            and Advertising Injury Limit is the most we will                    claim or "suit" and the date received;
            pay under Coverage B for the sum of all dam-                        and
            ages because of all "personal and advertising
            injury" sustained by any one person or organi-                 (2) Notify us as soon as practicable.
            zation.                                                        You must see to it that we receive written
        5. Subject to Paragraph 2. or 3. above, whichever                  notice of the claim or "suit" as soon as
            applies, the Each Occurrence Limit is the most                 practicable.
            we will pay for the sum of:                                c. You and any other involved insured must:
            a. Damages under Coverage A; and                               (1) Immediately send us copies of any de-
            b. Medical expenses under Coverage C                                mands, notices, summonses or legal
                                                                                papers received in connection with the
            because of all "bodily injury" and "property                        claim or "suit";
            damage" arising out of any one "occurrence".
                                                                           (2) Authorize us to obtain records and oth-
        6. Subject to Paragraph 5. above, the Damage To                         er information;
            Premises Rented To You Limit is the most we
            will pay under Coverage A for damages be-                      (3) Cooperate with us in the investigation
            cause of "property damage" to any one prem-                         or settlement of the claim or defense
            ises, while rented to you, or in the case of                        against the "suit"; and
            damage by fire, while rented to you or tem-                    (4) Assist us, upon our request, in the en-
            porarily occupied by you with permission of the                     forcement of any right against any per-
            owner.

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                     son or organization which may be liable                             to premises rented to you or
                     to the insured because of injury or                                 temporarily occupied by you
                     damage to which this insurance may al-                              with permission of the owner;
                     so apply.                                                           or
           d. No insured will, except at that insured's                             (iv) If the loss arises out of the
                own cost, voluntarily make a payment, as-                                maintenance or use of aircraft,
                sume any obligation, or incur any expense,                               "autos" or watercraft to the ex-
                other than for first aid, without our con-                               tent not subject to Exclusion g.
                sent.                                                                    of Section I - Coverage A - Bod-
        3. Legal Action Against Us                                                       ily Injury And Property Damage
                                                                                         Liability.
           No person or organization has a right under
           this Coverage Part:                                                 (b) Any other primary insurance availa-
                                                                                    ble to you covering liability for dam-
           a. To join us as a party or otherwise bring us                           ages arising out of the premises or
                into a "suit" asking for damages from an                            operations, or the products and
                insured; or                                                         completed operations, for which
           b. To sue us on this Coverage Part unless all                            you have been added as an addi-
                of its terms have been fully complied with.                         tional insured by attachment of an
                                                                                    endorsement.
           A person or organization may sue us to recover
           on an agreed settlement or on a final judgment                 (2) When this insurance is excess, we will
           against an insured; but we will not be liable for                   have no duty under Coverages A or B
           damages that are not payable under the terms                        to defend the insured against any "suit"
           of this Coverage Part or that are in excess of                      if any other insurer has a duty to de-
           the applicable limit of insurance. An agreed set-                   fend the insured against that "suit". If
           tlement means a settlement and release of lia-                      no other insurer defends, we will un-
           bility signed by us, the insured and the claim-                     dertake to do so, but we will be enti-
           ant or the claimant's legal representative.                         tled to the insured's rights against all
        4. Other Insurance                                                     those other insurers.
           If other valid and collectible insurance is availa-            (3) When this insurance is excess over oth-
                                                                               er insurance, we will pay only our share
           ble to the insured for a loss we cover under
           Coverages A or B of this Coverage Part, our                         of the amount of the loss, if any, that
           obligations are limited as follows:                                 exceeds the sum of:
                                                                               (a) The total amount that all such other
           a. Primary Insurance
                                                                                    insurance would pay for the loss in
                This insurance is primary except when Par-                          the absence of this insurance; and
                agraph b. below applies. If this insurance is
                primary, our obligations are not affected                      (b) The total of all deductible and self-
                unless any of the other insurance is also                           insured amounts under all that oth-
                                                                                    er insurance.
                primary. Then, we will share with all that
                other insurance by the method described in                (4) We will share the remaining loss, if
                Paragraph c. below.                                            any, with any other insurance that is
                                                                               not described in this Excess Insurance
           b. Excess Insurance
                                                                               provision and was not bought specif-
                (1) This insurance is excess over:                             ically to apply in excess of the Limits of
                     (a) Any of the other insurance, wheth-                    Insurance shown in the Declarations of
                         er primary, excess, contingent or                     this Coverage Part.
                         on any other basis:                           c. Method Of Sharing
                         (i) That is Fire, Extended Cover-                If all of the other insurance permits con-
                               age, Builder's Risk, Installation          tribution by equal shares, we will follow
                               Risk or similar coverage for               this method also. Under this approach each
                               "your work";                               insurer contributes equal amounts until it
                         (ii) That is Fire insurance for prem-            has paid its applicable limit of insurance or
                               ises rented to you or temporari-           none of the loss remains, whichever comes
                               ly occupied by you with permis-            first.
                               sion of the owner;                         If any of the other insurance does not per-
                         (iii) That is insurance purchased by             mit contribution by equal shares, we will
                               you to cover your liability as a           contribute by limits. Under this method,
                               tenant for "property damage"               each insurer's share is based on the ratio


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                of its applicable limit of insurance to the to-        If notice is mailed, proof of mailing will be suf-
                tal applicable limits of insurance of all insur-       ficient proof of notice.
                ers.                                                SECTION V - DEFINITIONS
        5. Premium Audit                                            1. "Advertisement" means a notice that is broad-
           a. We will compute all premiums for this Cov-               cast or published to the general public or spec-
                erage Part in accordance with our rules and            ific market segments about your goods, prod-
                rates.                                                 ucts or services for the purpose of attracting
            b. Premium shown in this Coverage Part as                  customers or supporters. For the purposes of
                advance premium is a deposit premium on-               this definition:
                ly. At the close of each audit period we will          a. Notices that are published include material
                compute the earned premium for that peri-                   placed on the Internet or on similar elec-
                od and send notice to the first Named In-                   tronic means of communication; and
                sured. The due date for audit and retro-               b. Regarding web-sites, only that part of a
                spective premiums is the date shown as                      web-site that is about your goods, prod-
                the due date on the bill. If the sum of the                 ucts or services for the purposes of attract-
                advance and audit premiums paid for the                     ing customers or supporters is considered
                policy period is greater than the earned pre-               an advertisement.
                mium, we will return the excess to the first
                Named Insured.                                      2. "Auto" means:
           c. The first Named Insured must keep records                a. A land motor vehicle, trailer or semitrailer
                of the information we need for premium                      designed for travel on public roads, includ-
                computation, and send us copies at such                     ing any attached machinery or equipment;
                times as we may request.                                    or
        6. Representations                                             b. Any other land vehicle that is subject to a
                                                                            compulsory or financial responsibility law
           By accepting this policy, you agree:                             or other motor vehicle insurance law in the
           a. The statements in the Declarations are ac-                    state where it is licensed or principally ga-
                curate and complete;                                        raged.
           b. Those statements are based upon represen-                However, "auto" does not include "mobile
                tations you made to us; and                            equipment".
           c. We have issued this policy in reliance upon           3. "Bodily injury" means bodily injury, sickness or
                your representations.                                  disease sustained by a person, including death
        7. Separation Of Insureds                                      resulting from any of these at any time.
           Except with respect to the Limits of Insurance,          4. "Coverage territory" means:
           and any rights or duties specifically assigned in           a. The United States of America (including its
           this Coverage Part to the first Named Insured,                   territories and possessions), Puerto Rico
           this insurance applies:                                          and Canada;
           a. As if each Named Insured were the only                   b. International waters or airspace, but only if
                Named Insured; and                                          the injury or damage occurs in the course
           b. Separately to each insured against whom                       of travel or transportation between any
                claim is made or "suit" is brought.                         places included in Paragraph a. above; or
        8. Transfer Of Rights Of Recovery Against Others               c. All other parts of the world if the injury or
           To Us                                                            damage arises out of:
           If the insured has rights to recover all or part of              (1) Goods or products made or sold by you
           any payment we have made under this Cover-                            in the territory described in Paragraph
           age Part, those rights are transferred to us.                         a. above;
           The insured must do nothing after loss to im-                    (2) The activities of a person whose home
           pair them. At our request, the insured will bring                    is in the territory described in Para-
           "suit" or transfer those rights to us and help us                     graph a. above, but is away for a short
           enforce them.                                                         time on your business; or
        9. When We Do Not Renew                                             (3) "Personal and advertising injury" of-
           If we decide not to renew this Coverage Part,                         fenses that take place through the In-
           we will mail or deliver to the first Named In-                        ternet or similar electronic means of
           sured shown in the Declarations written notice                        communication
           of the nonrenewal not less than 30 days before
           the expiration date.


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           provided the insured's responsibility to pay                    Paragraph f. does not include that part of
           damages is determined in a "suit" on the mer-                   any contract or agreement:
           its, in the territory described in Paragraph a.                 (1) That indemnifies a railroad for "bodily
           above or in a settlement we agree to.                                 injury" or "property damage" arising
        5. "Employee" includes a "leased worker". "Em-                           out of construction or demolition opera-
           ployee" does not include a "temporary work-                           tions, within 50 feet of any railroad
           er"                                                                   property and affecting any railroad
                                                                                 bridge or trestle, tracks, road-beds, tun-
        6. "Executive officer" means a person holding any
                                                                                 nel, underpass or crossing;
           of the officer positions created by your charter,
           constitution, by-laws or any other similar gov-                 (2) That indemnifies an architect, engineer
           erning document.                                                      or surveyor for injury or damage arising
        7. "Hostile fire" means one which becomes un-                            out of:
           controllable or breaks out from where it was in-                      (a) Preparing, approving, or failing to
           tended to be.                                                              prepare or approve, maps, shop
                                                                                      drawings, opinions, reports, sur-
        8. "Impaired property" means tangible property,
           other than "your product" or "your work", that                             veys, field orders, change orders or
           cannot be used or is less useful because:                                  drawings and specifications; or
           a. It incorporates "your product" or "your                            (b) Giving directions or instructions, or
                work" that is known or thought to be de-                              failing to give them, if that is the
                fective, deficient, inadequate or dangerous;                          primary cause of the injury or dam-
                                                                                      age; or
                or
           b. You have failed to fulfill the terms of a con-               (3) Under which the insured, if an archi-
                tract or agreement;                                              tect, engineer or surveyor, assumes lia-
                                                                                 bility for an injury or damage arising out
           if such property can be restored to use by the                        of the insured's rendering or failure to
           repair, replacement, adjustment or removal of                         render professional services, including
           "your product" or "your work" or your fulfilling                      those listed in (2) above and superviso-
           the terms of the contract or agreement.                               ry, inspection, architectural or engineer-
        9. "Insured contract" means:                                             ing activities.
           a. A contract for a lease of premises. How-             10. "Leased worker" means a person leased to you
                ever, that portion of the contract for a               by a labor leasing firm under an agreement be-
                lease of premises that indemnifies any per-            tween you and the labor leasing firm, to per-
                son or organization for damage by fire to              form duties related to the conduct of your busi-
                premises while rented to you or temporarily            ness. "Leased worker" does not include a
                occupied by you with permission of the                 "temporary worker".
                owner is not an "insured contract";                11."Loading or unloading" means the handling of
           b. A sidetrack agreement;                                   property:
           c. Any easement or license agreement, except                a. After it is moved from the place where it is
                in connection with construction or demoli-                 accepted for movement into or onto an air-
                tion operations on or within 50 feet of a                   craft, watercraft or "auto";
                railroad;                                              b. While it is in or on an aircraft, watercraft or
           d. An obligation, as required by ordinance, to                  "auto"; or
                indemnify a municipality, except in connec-            c. While it is being moved from an aircraft,
                tion with work for a municipality;                          watercraft or "auto" to the place where it
           e. An elevator maintenance agreement;                            is finally delivered;
           f. That part of any other contract or agree-                but "loading or unloading" does not include the
                ment pertaining to your business (including            movement of property by means of a mechan-
                an indemnification of a municipality in con-           ical device, other than a hand truck, that is not
                nection with work performed for a munici-              attached to the aircraft, watercraft or "auto".
                pality) under which you assume the tort lia-       12."Mobile equipment" means any of the follow-
                bility of another party to pay for "bodily in-         ing types of land vehicles, including any at-
                jury" or "property damage" to a third per-             tached machinery or equipment:
                son or organization. Tort liability means a li-
                ability that would be imposed by law in the            a. Bulldozers, farm machinery, forklifts and
                absence of any contract or agreement.                       other vehicles designed for use principally
                                                                            off public roads;



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            b. Vehicles maintained for use solely on or            14."Personal and advertising injury" means injury,
                 next to premises you own or rent;                     including consequential "bodily injury", arising
            c. Vehicles that travel on crawler treads;                 out of one or more of the following offenses:
            d. Vehicles, whether self-propelled or not,                a. False arrest, detention or imprisonment;
                 maintained primarily to provide mobility to           b. Malicious prosecution;
                 permanently mounted:                                  c. The wrongful eviction from, wrongful entry
                 (1) Power cranes, shovels, loaders, diggers               into, or invasion of the right of private oc-
                      or drills; or                                        cupancy of a room, dwelling or premises
                 (2) Road construction or resurfacing equip-               that a person occupies, committed by or on
                      ment such as graders, scrapers or roll-              behalf of its owner, landlord or lessor;
                      ers;                                             d. Oral or written publication, in any manner,
            e. Vehicles not described in Paragraph a., b.,                 of material that slanders or libels a person
                 c. or d. above that are not self-propelled                or organization or disparages a person's or
                 and are maintained primarily to provide                   organization's goods, products or services;
                 mobility to permanently attached equip-               e. Oral or written publication, in any manner,
                 ment of the following types:                              of material that violates a person's right of
                 (1) Air compressors, pumps and genera-                    privacy;
                      tors, including spraying, welding, build-        f. The use of another's advertising idea in
                      ing cleaning, geophysical exploration,               your "advertisement"; or
                      lighting and well servicing equipment;
                      or
                                                                       g.  Infringing   upon another's copyright, trade
                                                                           dress or slogan in your "advertisement".
                 (2) Cherry pickers and similar devices used       15. "Pollutants" mean any solid, liquid, gaseous or
                      to raise or lower workers;                       thermal irritant or contaminant, including
            f. Vehicles not described in Paragraph a., b.,             smoke, vapor, soot, fumes, acids, alkalis,
                 c. or d. above maintained primarily for pur-          chemicals and waste. Waste includes materials
                 poses other than the transportation of per-           to be recycled, reconditioned or reclaimed.
                 sons or cargo.                                    16. "Products-completed operations hazard":
                 However, self-propelled vehicles with the             a. Includes all "bodily injury" and "property
                 following types of permanently attached                   damage" occurring away from premises
                 equipment are not "mobile equipment" but                  you own or rent and arising out of "your
                 will be considered "autos":                               product" or "your work" except:
                 (1) Equipment designed primarily for:                     (1) Products that are still in your physical
                      (a) Snow removal;                                         possession; or
                      (b) Road maintenance, but not con-                   (2) Work that has not yet been completed
                           struction or resurfacing; or                         or abandoned. However, "your work"
                      (c) Street cleaning;                                      will be deemed completed at the earli-
                                                                                est of the following times:
                 (2) Cherry pickers and similar devices
                      mounted on automobile or truck chass-                     (a) When all of the work called for in
                      is and used to raise or lower workers;                         your contract has been completed.
                      and                                                       (b) When all of the work to be done at
                                                                                     the job site has been completed if
                 (3) Air compressors, pumps and genera-                              your contract calls for work at more
                      tors, including spraying, welding, build-
                      ing cleaning, geophysical exploration,                         than one job site.
                      lighting and well servicing equipment.                    (c) When that part of the work done at
            However, "mobile equipment" does not include                             a job site has been put to its in-
            any land vehicles that are subject to a compul-                          tended use by any person or or-
            sory or financial responsibility law or other mo-                        ganization other than another con-
            tor vehicle insurance law in the state where it                          tractor or subcontractor working on
                                                                                     the same project.
            is licensed or principally garaged. Land vehicles
            subject to a compulsory or financial respon-                        Work that may need service, mainte-
            sibility law or other motor vehicle insurance                       nance, correction, repair or replace-
            law are considered "autos".                                         ment, but which is otherwise complete,
        13. "Occurrence" means an accident, including                           will be treated as completed.
            continuous or repeated exposure to substan-                b. Does not include "bodily injury" or "proper-
            tially the same general harmful conditions.                    ty damage" arising out of:


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                 (1) The transportation of property, unless        20."Volunteer worker" means a person who is not
                     the injury or damage arises out of a              your "employee", and who donates his or her
                     condition in or on a vehicle not owned            work and acts at the direction of and within
                     or operated by you, and that condition            the scope of duties determined by you, and is
                     was created by the "loading or unload-            not paid a fee, salary or other compensation by
                     ing" of that vehicle by any insured;              you or anyone else for their work performed for
                 (2) The existence of tools, uninstalled               you.
                     equipment or abandoned or unused ma-          21. "Your product":
                     terials; or                                       a. Means:
                 (3) Products or operations for which the                  (1) Any goods or products, other than real
                     classification, listed in the Declarations                property, manufactured, sold, handled,
                     or in a policy schedule, states that                      distributed or disposed of by:
                     products-completed operations are sub-
                     ject to the General Aggregate Limit.                      (a) You;
        17. "Property damage" means:                                           (b) Others trading under your name; or
             a. Physical injury to tangible property, includ-                  (c) A person or organization whose
                 ing all resulting loss of use of that prop-                        business or assets you have ac-
                 erty. All such loss of use shall be deemed                         quired; and
                 to occur at the time of the physical injury              (2) Containers (other than vehicles), mate-
                 that caused it; or                                            rials, parts or equipment furnished in
            b. Loss of use of tangible property that is not                    connection with such goods or prod-
                 physically injured. All such loss of use shall                ucts.
                 be deemed to occur at the time of the "oc-            b. Includes:
                 currence" that caused it.
                                                                          (1) Warranties or representations made at
            For the purposes of this insurance, electronic                     any time with respect to the fitness,
            data is not tangible property.                                     quality, durability, performance or use
            As used in this definition, electronic data                        of "your product"; and
            means information, facts or programs stored as                (2) The providing of or failure to provide
            or on, created or used on, or transmitted to or                    warnings or instructions.
            from computer software, including systems                  c. Does not include vending machines or oth-
            and applications software, hard or floppy disks,
                                                                          er property rented to or located for the use
            CD-ROMS, tapes, drives, cells, data processing
                                                                          of others but not sold.
            devices or any other media which are used
            with electronically controlled equipment.              22. "Your work":
        18. "Suit" means a civil proceeding in which dam-              a. Means:
            ages because of "bodily injury", "property                    (1) Work or operations performed by you
            damage" or "personal and advertising injury" to                    or on your behalf; and
            which this insurance applies are alleged. "Suit"
            includes:                                                     (2) Materials, parts or equipment furnished
                                                                               in connection with such work or opera-
            a. An arbitration proceeding in which such                         tions.
                damages are claimed and to which the in-
                sured must submit or does submit with our              b. Includes:
                consent; or                                               (1) Warranties or representations made at
            b. Any other alternative dispute resolution                        any time with respect to the fitness,
                proceeding in which such damages are                           quality, durability, performance or use
                claimed and to which the insured submits                       of "your work", and
                with our consent.                                         (2) The providing of or failure to provide
        19."Temporary worker" means a person who is                            warnings or instructions.
            furnished to you to substitute for a permanent
            "employee" on leave or to meet seasonal or
            short-term workload conditions.




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                                                                                     COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 00 68 05 09

                RECORDING AND DISTRIBUTION OF MATERIAL OR
                INFORMATION IN VIOLATION OF LAW EXCLUSION
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART


        A. Exclusion q. of Paragraph 2. Exclusions of Sec-          B. Exclusion p. of Paragraph 2. Exclusions of Sec-
           tion I — Coverage A — Bodily Injury And Prop-               tion I — Coverage B — Personal And Advertising
           erty Damage Liability is replaced by the follow-            Injury Liability is replaced by the following:
           ing:                                                        2. Exclusions
           2. Exclusions                                                   This insurance does not apply to:
                This insurance does not apply to:                          p. Recording And Distribution Of Material
                    Recording And Distribution Of Material                      Or Information In Violation Of Law
                    Or Information In Violation Of Law                          "Personal and advertising injury" arising
                    "Bodily injury" or "property damage"                        directly or indirectly out of any action
                    arising directly or indirectly out of any                   or omission that violates or is alleged to
                    action or omission that violates or is al-                  violate:
                    leged to violate:                                          (1) The Telephone Consumer Protec-
                   (1) The Telephone Consumer Protec-                               tion Act (TCPA), including any
                         tion Act (TCPA), including any                             amendment of or addition to such
                        amendment of or addition to such                            law;
                        law;                                                   (2) The CAN-SPAM Act of 2003, in-
                   (2) The CAN-SPAM Act of 2003, in-                                cluding any amendment of or addi-
                        cluding any amendment of or addi-                           tion to such law;
                        tion to such law;                                      (3) The Fair Credit Reporting Act
                   (3) The Fair Credit Reporting Act                                (FCRA), and any amendment of or
                        (FCRA), and any amendment of or                             addition to such law, including the
                        addition to such law, including the                         Fair and Accurate Credit Transac-
                        Fair and Accurate Credit Trans-                             tion Act (FACTA); or
                        action Act (FACTA); or                                 (4) Any federal, state or local statute,
                   (4) Any federal, state or local statute,                         ordinance or regulation, other than
                        ordinance or regulation, other than                         the TCPA, CAN-SPAM Act of 2003
                        the TCPA, CAN-SPAM Act of 2003                              or FCRA and their amendments and
                        or FCRA and their amendments and                            additions, that addresses, prohibits,
                        additions, that addresses, prohibits,                       or limits the printing, dissemination,
                        or limits the printing, dissemination,                      disposal,     collecting,   recording,
                        disposal,     collecting,   recording,                      sending, transmitting, communicat-
                        sending, transmitting, communi-                             ing or distribution of material or
                        cating or distribution of material or                       information.
                        information.




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                                                                                               CG 20 26 07 04

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         17651 S CANAAN ROAD
         ATHENS OH 45701




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        ATHENS OH 45701




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        Section II - Who Is An Insured is amended to in-           sions or the acts or omissions of those acting on
        clude as an additional insured the person(s) or or-        your behalf:
        ganization(s) shown in the Schedule, but only with         A. In the performance of your ongoing operations;
        respect to liability for "bodily injury", "property            or
        damage" or "personal and advertising injury"
        caused, in whole or in part, by your acts or omis-         B. In connection with your premises owned by or
                                                                       rented to you.




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        POLICY NUMBER: CPP 0018978 06                                             COMMERCIAL GENERAL LIABILITY
                                                                                               CG 20 26 07 04

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                            ADDITIONAL INSURED - DESIGNATED
                                PERSON OR ORGANIZATION
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                             SCHEDULE
        Name Of Additional Insured Person(s) Or Organization(s)
        JEREMY & JOIE CARR
        17651 S CANAAN ROAD
        ATHENS OH 45701




        Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

        Section II - Who Is An Insured is amended to in-           sions or the acts or omissions of those acting on
        clude as an additional insured the person(s) or or-        your behalf:
        ganization(s) shown in the Schedule, but only with         A. In the performance of your ongoing operations;
        respect to liability for "bodily injury", "property            or
        damage" or "personal and advertising injury"
        caused, in whole or in part, by your acts or omis-         B. In connection with your premises owned by or
                                                                       rented to you.




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 70 01 15

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
        This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART
           LIQUOR LIABILITY COVERAGE PART
           OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
           POLLUTION LIABILITY COVERAGE PART
           PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
           RAILROAD PROTECTIVE LIABILITY COVERAGE PART
           UNDERGROUND STORAGE TANK POLICY


        A. If aggregate insured losses attributable to terrorist       2. The act is a violent act or an act that is
           acts certified under the federal Terrorism Risk                dangerous to human life, property or
           Insurance Act exceed $100 billion in a calendar                infrastructure and is committed by an individual
           year and we have met our insurer deductible                    or individuals as part of an effort to coerce the
           under the Terrorism Risk Insurance Act, we shall               civilian population of the United States or to
           not be liable for the payment of any portion of the            influence the policy or affect the conduct of the
           amount of such losses that exceeds $100 billion,               United States Government by coercion.
           and in such case insured losses up to that amount
                                                                    B. The terms and limitations of any terrorism
           are subject to pro rata allocation in accordance            exclusion, or the inapplicability or omission of a
           with procedures established by the Secretary of             terrorism exclusion, do not serve to create
           the Treasury.                                               coverage for injury or damage that is otherwise
           "Certified act of terrorism" means an act that is           excluded under this Coverage Part.
           certified by the Secretary of the Treasury, in
           accordance with the provisions of the federal
           Terrorism Risk Insurance Act, to be an act of
           terrorism pursuant to such Act. The criteria
           contained in the Terrorism Risk Insurance Act for
           a "certified act of terrorism" include the following:
           1. The act resulted in insured losses in excess of
              $5 million in the aggregate, attributable to all
              types of insurance subject to the Terrorism
              Risk Insurance Act; and




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 87 01 15

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                CONDITIONAL EXCLUSION OF TERRORISM
           (RELATING TO DISPOSITION OF FEDERAL TERRORISM
                        RISK INSURANCE ACT)
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART
            LIQUOR LIABILITY COVERAGE PART
            OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
            POLLUTION LIABILITY COVERAGE PART
            PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
            RAILROAD PROTECTIVE LIABILITY COVERAGE PART
            UNDERGROUND STORAGE TANK POLICY

        A. Applicability Of The Provisions Of This                            (3) Redefine       terrorism    or    make
           Endorsement                                                             insurance coverage for terrorism
           1. The provisions of this endorsement                                   subject to provisions or requirements
              become applicable commencing on the                                  that differ from those that apply to
              date when any one or more of the following                           other types of events or occurrences
              first occurs. But if your policy (meaning the                        under this policy.
              policy period in which this endorsement                   2. If the provisions of this endorsement
              applies) begins after such date, then the                    become applicable, such provisions:
              provisions of this endorsement become                        a. Supersede any terrorism endorsement
              applicable on the date your policy begins.                       already endorsed to this policy that
              a. The federal Terrorism Risk Insurance                          addresses "certified acts of terrorism"
                  Program ("Program"), established by the                      and/or "other acts of terrorism", but only
                  Terrorism Risk Insurance Act, has                            with respect to an incident(s) of
                  terminated with respect to the type of                       terrorism (however defined) which
                  insurance provided under this Coverage                       results in injury or damage that occurs
                  Part or Policy; or                                           on or after the date when the provisions
              b. A renewal, extension or replacement of                        of this endorsement become applicable
                  the Program has become effective                             (for claims made policies, such an
                  without a requirement to make terrorism                      endorsement is superseded only with
                  coverage available to you and with                           respect to an incident of terrorism
                  revisions that:                                              (however defined) that results in a claim
                                                                               for injury or damage first being made on
                 (1) Increase our statutory percentage                         or after the date when the provisions of
                     deductible under the Program for                          this endorsement become applicable);
                     terrorism losses. (That deductible                        and
                     determines the amount of all certified
                     terrorism losses we must pay in a                     b. Remain applicable unless we notify you
                     calendar year, before the federal                         of changes in these provisions, in
                     government shares in subsequent                           response to federal law.
                     payment of certified         terrorism             3. If the provisions of this endorsement do
                     losses.); or                                          NOT become applicable, any terrorism
                 (2) Decrease the federal government's                     endorsement already endorsed to this
                     statutory percentage share           in               policy, that addresses "certified acts of
                     potential terrorism losses above                      terrorism" and/or "other acts of terrorism",
                     such deductible; or                                   will continue in effect unless we notify you
                                                                           of changes to that endorsement in
                                                                           response to federal law.



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        B. The following definitions are added and apply                 2. Radioactive material is released, and it
           under this endorsement wherever the term                         appears that one purpose of the "terrorism"
           terrorism, or the phrase any injury or damage, are               was to release such material; or
           enclosed in quotation marks:                                  3. The "terrorism" is carried out by means of the
           1. "Terrorism" means activities against persons,                 dispersal or application of pathogenic or
               organizations or property of any nature:                     poisonous biological or chemical materials; or
               a. That involve the following or preparation for          4. Pathogenic or poisonous biological or chemical
                   the following:                                           materials are released, and it appears that one
                  (1) Use or threat of force or violence; or                purpose of the "terrorism" was to release such
                                                                            materials; or
                 (2) Commission or threat of a dangerous
                      act; or                                            5. The total of insured damage to all types of
                                                                            property exceeds $25,000,000. In determining
                 (3) Commission or threat of an act that                    whether the $25,000,000 threshold is
                      interferes with or disrupts an electronic,            exceeded, we will include all insured damage
                      communication,          information,      or          sustained by property of all persons and
                      mechanical system; and                                entities affected by the "terrorism" and
              b. When one or both of the following applies:                 business interruption losses sustained by
                      The effect is to intimidate or coerce a               owners or occupants of the damaged property.
                      government or the civilian population or              For the purpose of this provision, insured
                      any segment thereof, or to disrupt any                damage means damage that is covered by any
                      segment of the economy; or                            insurance plus damage that would be covered
                                                                            by any insurance but for the application of any
                 (2) It appears that the intent is to intimidate            terrorism exclusions; or
                      or coerce a government, or to further
                      political, ideological, religious, social or       6. Fifty or more persons sustain death or serious
                                                                            physical injury. For the purposes of this
                      economic objectives or to express (or
                                                                            provision, serious physical injury means:
                      express opposition to) a philosophy or
                      ideology.                                             a. Physical injury that involves a substantial
                                                                                risk of death; or
           2. "Any injury or damage" means any injury or
              damage covered under any Coverage Part or                     b. Protracted       and     obvious     physical
              Policy to which this endorsement is applicable,                   disfigurement; or
              and includes but is not limited to "bodily injury",           c. Protracted loss of or impairment of the
              "property damage", "personal and advertising                      function of a bodily member or organ.
              injury", "injury" or "environmental damage" as
              may be defined in any applicable Coverage                 Multiple incidents of "terrorism" which occur within
              Part or Policy.                                           a 72-hour period and appear to be carried out in
                                                                        concert or to have a related purpose or common
        C. The following exclusion is added:                            leadership will be deemed to be one incident, for
           EXCLUSION OF TERRORISM                                       the purpose of determining whether the thresholds
                                                                        in Paragraphs C.5. or C.6. are exceeded.
           We will not pay for "any injury or damage" caused
           directly or indirectly by "terrorism", including action      With respect to this Exclusion, Paragraphs C.5.
           in hindering or defending against an actual or               and C.6. describe the threshold used to measure
           expected incident of "terrorism". "Any injury or             the magnitude of an incident of "terrorism" and the
           damage" is excluded regardless of any other                  circumstances in which the threshold will apply, for
           cause or event that contributes concurrently or in           the purpose of determining whether this Exclusion
           any sequence to such injury or damage. But this              will apply to that incident. When the Exclusion
           exclusion applies only when one or more of                   applies to an incident of "terrorism", there is no
           the following are attributed to an incident of               coverage under this Coverage Part or Policy.
           "terrorism":                                                 The terms and limitations of any terrorism
           1. The "terrorism" is carried out by means of the            exclusion, or the inapplicability or omission of a
               dispersal or application of radioactive material,        terrorism exclusion, do not serve to create
               or through the use of a nuclear weapon or                coverage for injury or damage that is otherwise
               device that involves or produces a nuclear               excluded under this Coverage Part.
               reaction, nuclear radiation or radioactive
               contamination; or




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                                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 47 12 07

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                  EMPLOYMENT-RELATED PRACTICES EXCLUSION
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A. The following exclusion is added to Paragraph           B. The following exclusion is added to Paragraph
           2., Exclusions of Section I - Coverage A - Bod-            2., Exclusions of Section I - Coverage B - Per-
           ily Injury And Property Damage Liability:                  sonal And Advertising Injury Liability:
           This insurance does not apply to:                          This insurance does not apply to:
           "Bodily injury" to:                                        "Personal and advertising injury" to:
           (1) A person arising out of any:                           (1) A person arising out of any:
                (a) Refusal to employ that person;                        (a) Refusal to employ that person;
                (b) Termination of that person's employ-                  (b) Termination of that person's employ-
                    ment; or                                                  ment; or
                (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
                    acts or omissions, such as coercion,                      acts or omissions, such as coercion,
                    demotion, evaluation, reassignment,                       demotion, evaluation, reassignment,
                    discipline, defamation, harassment, hu-                   discipline, defamation, harassment, hu-
                    miliation, discrimination or malicious                    miliation, discrimination or malicious
                    prosecution directed at that person; or                   prosecution directed at that person; or
           (2) The spouse, child, parent, brother or sister           (2) The spouse, child, parent, brother or sister
                of that person as a consequence of "bodily                of that person as a consequence of "per-
                injury" to that person at whom any of the                 sonal and advertising injury" to that person
                employment-related practices described in                 at whom any of the employment-related
                Paragraphs (a), (b), or (c) above is directed.            practices described in Paragraphs (a), (b),
           This exclusion applies:                                        or (c) above is directed.
           (1) Whether the injury-causing event described             This exclusion applies:
                in Paragraphs (a), (b) or (c) above occurs            (1) Whether the injury-causing event described
                before employment, during employment or                   in Paragraphs (a), (b) or (c) above occurs
                after employment of that person;                          before employment, during employment or
           (2) Whether the insured may be liable as an                    after employment of that person;
                employer or in any other capacity; and                (2) Whether the insured may be liable as an
           (3) To any obligation to share damages with or                 employer or in any other capacity; and
                repay someone else who must pay dam-                  (3) To any obligation to share damages with or
                ages because of the injury.                               repay someone else who must pay dam-
                                                                          ages because of the injury.




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 21 60 09 98
                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
             EXCLUSION - YEAR 2000 COMPUTER-RELATED AND
                     OTHER ELECTRONIC PROBLEMS
       This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART

       The following exclusion is added to Paragraph 2., Ex-                 (d) Computer networks;
       clusions of Section I — Coverage A — Bodily Injury
                                                                            (e) Microprocessors (computer chips) not
       And Property Damage Liability and Paragraph 2.,
                                                                                part of any computer system; or
       Exclusions of Section I — Coverage B — Personal And
       Advertising Injury Liability:                                         (f) Any other computerized or electronic
                                                                                 equipment or components; or
       2. Exclusions
                                                                         (2) Any other products, and any services,
           This insurance does not apply to "bodily injury",
           "property damage", "personal injury" or "adver-                   data or functions that directly or indirectly
                                                                             use or rely upon, in any manner, any of
           tising injury" (or "personal and advertising injury"
                                                                             the items listed in Paragraph 2.a.(1) of
           if defined as such in your policy) arising directly
                                                                             this endorsement
           or indirectly out of:
                                                                         due to the inability to correctly recognize,
           a. Any actual or alleged failure, malfunction or
                                                                         process, distinguish, interpret or accept the
              inadequacy of:
                                                                         year 2000 and beyond.
               (1) Any of the following, whether belonging
                                                                     b. Any advice, consultation, design, evaluation,
                   to any insured or to others:
                                                                        inspection, installation, maintenance, repair,
                   (a) Computer hardware, including micro-              replacement or supervision provided or done
                       processors;                                      by you or for you to determine, rectify or test
                                                                        for, any potential or actual problems de-
                   (b) Computer application software;                   scribed in Paragraph 2.a. of this endorsement.
                   (c) Computer operating systems and re-
                       lated software;




                                                                                                           Hart Forms & Services
                                                                                                           Reorder No. 14-R211

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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                CG 21 67 12 04

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                 FUNGI OR BACTERIA EXCLUSION
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A. The following exclusion is added to Paragraph           B. The following exclusion is added to Paragraph
           2. Exclusions of Section I - Coverage A - Bodily           2. Exclusions of Section I - Coverage B - Per-
           Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
           2. Exclusions                                              2. Exclusions
               This insurance does not apply to:                          This insurance does not apply to:
               Fungi Or Bacteria                                          Fungi Or Bacteria
               a. "Bodily injury" or "property damage"                    a. "Personal and advertising injury" which
                   which would not have occurred, in                          would not have taken place, in whole
                   whole or in part, but for the actual, al-                  or in part, but for the actual, alleged or
                   leged or threatened inhalation of, inges-                  threatened inhalation of, ingestion of,
                   tion of, contact with, exposure to, exis-                  contact with, exposure to, existence of,
                   tence of, or presence of, any "fungi" or                   or presence of any "fungi" or bacteria
                   bacteria on or within a building or                        on or within a building or structure, in-
                   structure, including its contents, re-                     cluding its contents, regardless of
                   gardless of whether any other cause,                       whether any other cause, event, mate-
                   event, material or product contributed                     rial or product contributed concurrently
                   concurrently or in any sequence to                         or in any sequence to such injury.
                   such injury or damage.                                 b. Any loss, cost or expense arising out of
               b. Any loss, cost or expenses arising out                      the abating, testing for, monitoring,
                   of the abating, testing for, monitoring,                   cleaning up, removing, containing,
                   cleaning up, removing, containing,                         treating, detoxifying, neutralizing, reme-
                   treating, detoxifying, neutralizing, reme-                 diating or disposing of, or in any way
                   diating or disposing of, or in any way                     responding to, or assessing the effects
                   responding to, or assessing the effects                    of, "fungi" or bacteria, by any insured
                   of, "fungi" or bacteria, by any insured                    or by any other person or entity.
                   or by any other person or entity.               C. The following definition is added to the Defini-
               This exclusion does not apply to any "fun-             tions Section:
               gi" or bacteria that are, are on, or are con-          "Fungi" means any type or form of fungus, in-
               tained in, a good or product intended for              cluding mold or mildew and any mycotoxins,
               bodily consumption.                                    spores, scents or byproducts produced or re-
                                                                      leased by fungi.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                               CG 21 86 12 04

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                             EXCLUSION - EXTERIOR INSULATION
                                  AND FINISH SYSTEMS
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A. This insurance does not apply to "bodily inju-                 part of that structure containing that com-
           ry", "property damage" or "personal and adver-                 ponent, fixture or feature.
           tising injury" arising out of, caused by, or at-        B. The following definition is added to the Defini-
           tributable to, whether in whole or in part, the            tions Section:
           following:
                                                                      "Exterior insulation and finish system" means a
           1. The design, manufacture, construction,                  non-load bearing exterior cladding or finish sys-
                fabrication, preparation, distribution and            tem, and all component parts therein, used on
                sale, installation, application, maintenance          any part of any structure, and consisting of:
                or repair, including remodeling, service,
                correction or replacement, of any "exterior           1. A rigid or semi-rigid insulation board made
                insulation and finish system" or any part                 of expanded polystyrene and other materi-
                thereof, or any substantially similar system              als;
                or any part thereof, including the applica-           2. The adhesive and/or mechanical fasteners
                tion or use of conditioners, primers, acces-              used to attach the insulation board to the
                sories, flashings, coatings, caulking or seal-            substrate;
                ants in connection with such a system; or             3. A reinforced or unreinforced base coat;
           2. "Your product" or "your work" with re-                  4. A finish coat providing surface texture to
                spect to any exterior component, fixture or               which color may be added; and
                feature of any structure if an "exterior in-
                sulation and finish system", or any sub-              5. Any flashing, caulking or sealant used with
                stantially similar system, is used on the                 the system for any purpose.




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                                                                                      COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 96 03 05
                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                    SILICA OR SILICA-RELATED DUST EXCLUSION
        This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART

        A. The following exclusion is added to Paragraph              2. Exclusions
           2., Exclusions of Section I - Coverage A - Bod-                  This insurance does not apply to:
           ily Injury And Property Damage Liability:
                                                                            Silica Or Silica-Related Dust
           2. Exclusions
                                                                            a. "Personal and advertising injury" aris-
                This insurance does not apply to:                                ing, in whole or in part, out of the ac-
                Silica Or Silica-Related Dust                                    tual, alleged, threatened or suspected
                a. "Bodily injury" arising, in whole or in                       inhalation of, ingestion of, contact
                     part, out of the actual, alleged, threat-                   with, exposure to, existence of, or
                     ened or suspected inhalation of, or in-                     presence of, "silica" or "silica-related
                     gestion of, "silica" or "silica-related                     dust".
                     dust".                                                b. Any loss, cost or expense arising, in
                b. "Property damage" arising, in whole or                        whole or in part, out of the abating,
                     in part, out of the actual, alleged,                        testing for, monitoring, cleaning up, re-
                     threatened or suspected contact with,                       moving, containing, treating, detoxify-
                     exposure to, existence of, or presence                      ing, neutralizing, remediating or dis-
                     of, "silica" or "silica-related dust".                      posing of, or in any way responding to
                                                                                 or assessing the effects of, "silica" or
                c. Any loss, cost or expense arising, in                         "silica-related dust", by any insured or
                     whole or in part, out of the abating,                       by any other person or entity.
                     testing for, monitoring, cleaning up, re-
                     moving, containing, treating, detoxify-       C. The following definitions are added to the Defi-
                     ing, neutralizing, remediating or dispos-        nitions Section:
                     ing of, or in any way responding to or           1. "Silica" means silicon dioxide (occurring in
                    assessing the effects of, "silica" or                  crystalline, amorphous and impure forms),
                    "silica-related dust", by any insured or               silica particles, silica dust or silica com-
                     by any other person or entity.                        pounds.
        B. The following exclusion is added to Paragraph              2. "Silica-related dust" means a mixture or
           2., Exclusions of Section I - Coverage B - Per-                 combination of silica and other dust or par-
           sonal And Advertising Injury Liability:                         ticles.




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                                                                                               COMMERCIAL PROPERTY
                                                                                                     CP UO 03 (01-12)

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           EQUIPMENT BREAKDOWN COVERAGE
        This endorsement modifies insurance provided under the following:

                 COMMERCIAL PROPERTY COVERAGE PART

        A. The following is added as an Additional Coverage                     (1) make temporary repairs; and
           to the Causes of Loss - Basic Form, Broad Form,                      (2) expedite permanent repairs or
           or Special Form.                                                          permanent replacement.
           Additional Coverage - Equipment Breakdown                             The most we will pay for loss or expense
           The term Covered Cause of Loss includes the                          under this coverage is $25,000 unless
           Additional Coverage Equipment Breakdown as                           otherwise shown in an Equipment
           described and limited below.                                         Breakdown Coverage Schedule.
           1. We will pay for direct physical damage to                      b. Hazardous Substances
                Covered Property that is the direct result of                   We will pay for the additional cost to
                an "accident". As used in this Additional                       repair or replace Covered Property
                Coverage, "accident" means a fortuitous                         because of contamination              by   a
                event that causes direct physical damage to                     "hazardous substance". This includes the
                "covered equipment". The event must be one                      additional expenses to clean up or
                of the following:                                               dispose of such property.
               a. mechanical breakdown, including rupture                       This does not include contamination of
                     or bursting caused by centrifugal force;                   "perishable     goods"     by    refrigerant,
               b. artificially generated electrical, magnetic                   including but not limited to ammonia,
                     or electromagnetic energy, including                       which is addressed in 2.c.(1)(b) below.
                     electric arcing, that damages, disturbs,                   As used in this coverage, additional costs
                     disrupts, or otherwise interferes with any                 mean those beyond what would have
                     electrical or electronic wire, device,                     been payable under this Equipment
                     appliance, system, or network;                             Breakdown Coverage had no "hazardous
               c. explosion of steam boilers, steam pipes,                      substance" been involved.
                     steam engines, or steam turbines owned                     The most we will pay for loss, damage, or
                     or leased by you, or operated under your                   expense under this coverage, including
                     control;                                                   actual loss of Business Income you sus-
               d. loss or damage to steam boilers, steam                        tain and necessary Extra Expense you
                   pipes, steam engines, or steam turbines                      incur, if shown as covered, is $25,000
                   caused by or resulting from any condition                    unless otherwise shown in an Equipment
                   or event inside such equipment; or                           Breakdown Coverage Schedule.
               e. loss or damage to hot water boilers or                     c. Spoilage
                   other water heating equipment caused by                      (1) We will pay:
                   or resulting from any condition or event                          (a) for     physical     damage      to
                   inside such boilers or equipment.                                      "perishable goods" due to
            2. Unless otherwise shown in an Equipment                                     spoilage;
               Breakdown Coverage Schedule, the following                            (b) for     physical     damage      to
               coverages also apply to the direct result of an                            "perishable goods" due to
               "accident". These coverages do not provide                                 contamination from the release
               additional amounts of insurance.                                           of refrigerant including, but not
               a. Expediting Expenses                                                     limited, to ammonia;
                   With respect to your damaged Covered                              (c) any necessary expenses you
                   Property, we will pay the reasonable extra                             incur to reduce the amount of
                   cost to:                                                               loss under this coverage to the
                                                                                          extent that they do not exceed

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                              the amount of loss that                           (2) Unless otherwise shown in an
                              otherwise would have been                               Equipment Breakdown Coverage
                              payable under this coverage.                            Schedule,      Service     Interruption
                   (2) If you are unable to replace the                               coverage will not apply unless the
                         "perishable     goods" before its                            failure or disruption of service
                         anticipated sale, the amount of our                          exceeds      24 hours     immediately
                         payment will be determined on the                            following the "accident".
                         basis of the sales price of the                        (3) The most we will pay in any "one
                         "perishable goods" at the time of the                        accident" for loss, damage, or
                         "accident", less discounts and                               expense under this coverage is the
                         expenses you otherwise would have                            applicable limit for Business Income,
                         had. Otherwise our payment will be                           Extra Expense, or Spoilage, except
                         determined in accordance with the                            that if a limit is shown in an
                         Valuation condition.                                         Equipment Breakdown Coverage
                   The most we will pay for loss, damage, or                          Schedule for Service Interruption,
                   expense under this coverage is $25,000                             that limit will apply to Business
                   unless otherwise shown in an Equipment                             Income and Extra Expense loss
                   Breakdown Coverage Schedule.                                       under this coverage.
                d. Data Restoration                                         f. Business Income and Extra Expense
                   We will pay for your reasonable and                          Any insurance provided under this cover-
                   necessary cost to research, replace, and                     age part for Business Income or Extra
                   restore lost "data".                                         Expense is extended to the coverage
                   The most we will pay for loss or expense                     provided by this endorsement. However,
                   under this coverage, including actual loss                   if a deductible is shown in an Equipment
                   of Business Income you sustain and                           Breakdown Coverage Schedule, then as
                   necessary Extra Expense you incur, if                        respects Equipment Breakdown cover-
                   shown as covered, is $40,000 unless                          age, the "period of restoration" will begin
                   otherwise shown in an Equipment                              immediately after the "accident", and the
                   Breakdown Coverage Schedule.                                 deductible shown in the Equipment
                                                                                Breakdown Coverage Schedule will
                e. Service Interruption                                         apply. The most we will pay for loss or
                   (1) Any insurance provided for Business                      expense under this coverage is the
                        Income, Extra Expense, or Spoilage                      applicable limit for Business Income and
                        is extended to apply to your loss,                      Extra Expense, unless otherwise shown
                        damage, or expense caused by the                        in an Equipment Breakdown Coverage
                        interruption of utility services. The                   Schedule.
                        interruption must result from an                 3. EXCLUSIONS
                        "accident" to equipment, including
                        overhead transmission lines, that is                All exclusions in the Causes of Loss form
                        owned by a utility, landlord, a                     apply except as modified below and to the
                        landlord's utility, or other supplier               extent that coverage is specifically provided
                        who provides you with any of the                    by this Additional Coverage Equipment
                        following services: electrical power,               Breakdown.
                        waste disposal, air conditioning,                   a. The exclusions are modified as follows:
                        refrigeration, heating, natural gas,
                        compressed air, water, steam,                           (1) If the Causes of Loss - Basic Form
                                                                                     or Causes of Loss - Broad Form
                        internet access, telecommunications
                                                                                     applies, the following is added to
                        services, wide area networks, or
                                                                                     Exclusion B.2.:
                        data transmission. The equipment
                        must meet the definition of "covered                         Depletion, deterioration, corrosion,
                        equipment" except that it is not                             erosion, wear and tear, or other
                        Covered Property.                                            gradually developing conditions.
                                                                                     However, if an "accident" results, we
                                                                                     will pay for the resulting loss,
                                                                                     damage, or expense caused by that
                                                                                     "accident".



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                   (2) The following is added to Exclusion                                 However, if an "accident"
                        B.1.g.:                                                            results, we will pay for the
                        However, if electrical "covered                                    resulting loss, damage, or
                        equipment" requires drying out                                     expense caused by that
                        because of Water as described in                                   "accident".
                        g.(1) through g.(3) above, we will                      (2) With respect to Service Interruption
                        pay for the direct expenses of such                           coverage, we will also not pay for an
                        drying out subject to the applicable                          "accident" caused by or resulting
                        Limit of Insurance and deductible for                        from: fire; lightning; windstorm or
                        Building or Business Personal                                hail; explosion (except as specifically
                        Property, whichever applies.                                 provided in A.1.c. above); smoke;
                                                                                     aircraft or vehicles; riot or civil
                   (3) If the Causes of Loss - Special Form
                        applies as respects this endorse-                            commotion; vandalism; sprinkler
                        ment only, the last paragraph of                             leakage; falling objects; weight of
                        Exclusion B.2.d. is deleted and                              snow, ice, or sleet; freezing;
                        replaced with the following:                                 collapse; flood; or earth movement.
                        But if an excluded cause of loss that                   (3) With respect to Business Income,
                        is listed in 2.d.(1) through (7) results                     Extra     Expense,      and    Service
                        in an "accident", we will pay for the                        Interruption coverages, we will also
                        loss, damage, or expense caused by                           not pay for any increase in loss
                        that "accident".                                             resulting     from an       agreement
                                                                                     between you and your customer or
                b. The following exclusions are added:                               supplier.
                   (1) We will not pay for loss, damage, or                    (4) We will not pay for loss, damage, or
                        expense caused by or resulting from:                         expense caused directly or indirectly
                        (a) your failure to use all reason-                          by the following, whether or not
                              able means to protect Covered                          caused by or resulting from an "acci-
                              Property from damage following                         dent": Any mold, fungus, mildew, or
                              an "accident";                                         yeast, including any spores or toxins
                       (b) a hydrostatic, pneumatic, or gas                          produced by or emanating from such
                              pressure test of any boiler or                         mold, fungus, mildew, or yeast. This
                              pressure vessel, or an electrical                      includes, but is not limited to, costs
                              insulation breakdown test of                           arising from clean up, removal, or
                              any type of electrical equip-                          abatement of such mold, fungus,
                              ment; or                                               mildew, or yeast, spores, or toxins.
                                                                                     However, this exclusion does not
                       (c) any of the following:                                     apply to spoilage of personal pro-
                              (I) defect, programming error,                         perty that is "perishable goods", to
                                   programming        limitation,                    the extent that spoilage is covered
                                   computer virus, malicious                         under Spoilage coverage.
                                   code, loss of "data", loss of               (5) We will not pay for any loss or
                                   access, loss of use, loss of                      damage to animals.
                                   functionality, or other con-
                                   dition within or involving            4. DEFINITIONS
                                   "data" or "media" of any                 The following definitions are added:
                                   kind; or                                 a. "Boilers and vessels" means:
                              (ii) misalignment,
                                                                               (1) Any boiler, including attached steam,
                                   miscalibration, tripping off-                     condensate, and feedwater piping;
                                   line, or any condition which                      and
                                   can be corrected by
                                   resetting, tightening, ad-                  (2) Any fired or unfired pressure vessel
                                   justing, or cleaning, or by                       subject to vacuum or internal
                                   the performance of main-                          pressure other than the static
                                   tenance.                                          pressure of its contents.




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                    This term does not appear elsewhere in                   f. "One accident" means: If an initial
                    this endorsement, but may appear in                         "accident" causes other "accidents", all
                    an Equipment Breakdown Coverage                             will be considered "one accident". All
                    Schedule.                                                   "accidents" that are the result of the same
                 b. "Covered equipment"                                         event will be considered "one accident".
                    (1) "Covered equipment" means, unless                   g. "Perishable goods" means personal
                         otherwise specified in an Equipment                    property maintained under controlled
                         Breakdown Coverage Schedule,                           conditions for its preservation, and
                         Covered Property:                                      susceptible to loss or damage if the
                                                                                controlled conditions change.
                         (a) that generates, transmits, or
                             utilizes energy, including elec-               h. "Production machinery" means any
                             tronic communications and data                     machine or apparatus that processes or
                              processing equipment; or                          produces a product intended for eventual
                                                                                sale. However, "production machinery"
                         (b) which, during normal usage,                        does not mean any fired or unfired
                             operates under vacuum or                           pressure vessel other than a cylinder
                             pressure, other than the weight                    containing a movable plunger or piston.
                             of its contents.
                                                                                This term does not appear elsewhere in
                    (2) None of the following is "covered                       this endorsement, but may appear in an
                         equipment":                                            Equipment         Breakdown          Coverage
                        (a) structure, foundation, cabinet,                     Schedule.
                             compartment, or air supported                  i. "Vehicle" means, as respects this
                             structure or building;                             endorsement only, any machine or
                        (b) insulating or refractory material;                  apparatus that is used for transportation
                        (c) sewer piping, buried vessels or                     or moves under its own power. "Vehicle"
                             piping, or piping forming a part                   includes, but is not limited to, car, truck,
                             of a sprinkler system or fire                      bus, trailer, train, aircraft, watercraft,
                             suppression system;                                forklift, bulldozer, tractor, or harvester.
                        (d) water piping other than boiler                      However, any property that is stationary,
                             feedwater       piping,     boiler                 permanently installed at a covered
                             condensate return piping, or                       location and that receives electrical power
                             water piping forming a part of a                   from an external power source will not be
                             refrigerating or air conditioning                  considered a "vehicle".
                             system;                                 B. The Building and Personal Property Coverage
                        (e) "vehicle" or any equipment                  Form is modified as follows.
                             mounted on a "vehicle";                    The definitions stated above also apply to
                                                                        section B. of this endorsement.
                        (f) satellite, spacecraft, or any
                             equipment mounted on a                     1. Deductible
                             satellite or spacecraft;                       The deductible in the Declarations applies
                        (g) dragline, excavation, or con-                   unless a separate Equipment Breakdown
                             struction equipment; or                        deductible is shown in an Equipment
                             equipment      manufactured by                 Breakdown Coverage Schedule. If a separ-
                        (h)                                                 ate Equipment Breakdown deductible is
                             you for sale.
                                                                            shown, the following applies.
                c. "Data" means information or instructions
                   stored in digital code capable of being                  Only as regards Equipment Breakdown
                   processed by machinery.                                  Coverage, provision D. Deductible is deleted
                                                                            and replaced with the following:
                d. "Hazardous substance" means any
                   substance that is hazardous to health or                 a. Deductibles for Each Coverage
                   has been declared to be hazardous to                         (1) Unless the Equipment Breakdown
                   health by a governmental agency.                                   Coverage Schedule indicates that
                e. "Media" means material on which "data"                             your deductible is combined for all
                   is recorded, such as magnetic tapes, hard                          coverages, multiple deductibles may
                   disks, optical disks, or floppy disks.                             apply to any "one accident".


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                     (2) We will not pay for loss, damage, or                         immediately following the "accident".
                         expense under any coverage until                             If a time deductible is expressed in
                         the amount of the covered loss,                              days, each day shall mean twenty-
                         damage, or expense exceeds the                               four consecutive hours.
                         deductible amount indicated for that
                         coverage in the Equipment Break-                        (3) Multiple of Average Daily Value
                                                                                     (ADV)
                         down Coverage Schedule. We will
                         then pay the amount of loss,                                If a deductible is expressed as a
                         damage, or expense in excess of the                         number times ADV, that amount will
                         applicable     deductible      amount,                       be calculated as follows:
                         subject to the applicable limit.                             The ADV (Average Daily Value) will
                                                                                      be the Business Income (as defined
                     (3) If deductibles vary by type of
                         "covered equipment" and more than                           in any Business Income coverage
                         one type of "covered equipment" is                          that is part of this policy) that would
                         involved in any "one accident", only                        have been earned during the period
                         the highest deductible for each                             of interruption of business had no
                         coverage will apply.                                        "accident" occurred, divided by the
                                                                                     number of working days in that
                b. Direct and Indirect Coverages                                     period. No reduction shall be made
                   (1) Direct Coverages Deductibles and                              for the Business Income not being
                       Indirect Coverages Deductibles may                            earned, or in the number of working
                       be indicated in the Equipment                                 days, because of the "accident" or
                       Breakdown Coverage Schedule.                                  any other scheduled or unscheduled
                   (2) Unless more specifically indicated in                         shutdowns during the period of
                       the Equipment Breakdown Coverage                              interruption. The ADV applies to the
                       Schedule:                                                     Business Income value of the entire
                                                                                     location, whether or not the loss
                       (a) Indirect Coverages Deductibles                            affects the entire location. If more
                             apply to Business Income and                            than one location is included in the
                             Extra Expense loss; and                                 valuation of the loss, the ADV will be
                       (b) Direct Coverages Deductibles                              the combined value of all affected
                             apply to all remaining loss,                            locations.     For purposes of this
                             damage, or expense covered                              calculation, the period of interruption
                             by this endorsement.                                    may not extend beyond the "period
                c. Application of Deductibles                                        of restoration".
                                                                                     The number indicated in the
                   (1) Dollar Deductibles                                            Equipment Breakdown Coverage
                       We will not pay for loss, damage, or                          Schedule will be multiplied by the
                       expense resulting from any "one                               ADV as determined above. The
                       accident" until the amount of loss,                           result shall be used as the applicable
                       damage, or expense exceeds the                                deductible.
                       applicable Deductible shown in the
                                                                                 (4) Percentage of Loss Deductibles
                       Equipment Breakdown Coverage
                       Schedule. We will then pay the                                If a deductible is expressed as a
                       amount of loss, damage, or expense                            percentage of loss, we will not be
                       in excess of the applicable                                   liable for the indicated percentage of
                       Deductible or Deductibles, up to the                          the gross amount of loss, damage,
                       applicable Limit of Insurance.                                or expense (prior to any applicable
                   (2) Time Deductible                                               deductible or coinsurance) insured
                                                                                     under the applicable coverage. If
                       If a time deductible is shown in the                          the     dollar    amount     of such
                       Equipment Breakdown Coverage                                  percentage is less than the indicated
                       Schedule, we will not be liable for                           minimum deductible, the minimum
                       any loss occurring during the                                 deductible will be the applicable
                       specified number of hours or days                             deductible.




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            2. Conditions                                                       However, we will not pay more than
               The following conditions are in addition to the                  125% of what the cost would have been
               Conditions in the Building and Personal                          to repair or replace with like kind and
               Property Coverage Form, the Commercial                           quality. This condition does not increase
               Property Conditions, and the Common Policy                       any of the applicable limits.            This
               Conditions.                                                      condition does not apply to any property
                                                                                to which Actual Cash Value applies.
               a. Suspension
                                                                            d. Coinsurance
                   Whenever "covered equipment" is found
                   to be in, or exposed to, a dangerous                         If a coinsurance percentage is shown in
                   condition, any of our representatives may                    an Equipment Breakdown Coverage
                   immediately suspend the insurance                            Schedule for specified coverages, the
                  against loss from an "accident" to that                       following condition applies:
                   "covered equipment". This can be done                        We will not pay for the full amount of your
                   by mailing or delivering a written notice of                 loss if the applicable limit is less than the
                  suspension to:                                                product of the specified coinsurance
                  (1) your last known address; or                               percentage times the value of the
                                                                                property subject to the coverage at the
                  (2) the address where the "covered                            time of the loss. Instead, we will deter-
                        equipment" is located.                                  mine what percentage this calculated
                  Once suspended in this way, your                              product is compared to the applicable
                  insurance can be reinstated only by an                        limit and apply that percentage to the
                  endorsement for that "covered equip-                          gross amount of loss. We will then
                  ment". If we suspend your insurance,                          subtract the applicable deductible. The
                  you will get a pro rata refund of premium                     resulting amount, or the applicable limit,
                  for that "covered equipment" for the                          is the most we will pay. We will not pay
                  period of suspension. But the suspension                      for the remainder of the loss.
                  will be effective even if we have not yet                     Coinsurance applies separately to each
                  made or offered a refund.                                     insured location.
               b. Jurisdictional Inspections                        The most we will pay for loss, damage, or expense
                  If any property that is "covered                  under this endorsement arising from any "one
                  equipment" under this endorsement                 accident" is the applicable Limit of Insurance in the
                  requires inspection to comply with state          Declarations unless otherwise shown in an Equipment
                  or municipal boiler and pressure vessel           Breakdown Coverage Schedule. Coverage provided
                  regulations, we agree to perform such             under this endorsement does not provide an
                  inspection on your behalf. We do not              additional amount of insurance.
                  warrant that conditions are safe or
                  healthful.
               c. Environmental, Safety, and Efficiency
                  Improvements
                  If    "covered      equipment"      requires
                  replacement due to an "accident", we will
                  pay your additional cost to replace with
                  equipment that is better for the
                  environment, safer or more efficient than
                  the equipment being replaced.




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                             BUILDING AND PERSONAL PROPERTY
                                     COVERAGE FORM
        Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
        and what is and is not covered.
        Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations.
        The words "we", "us" and "our" refer to the Company providing this insurance.
        Other words and phrases that appear in quotation marks have special meaning. Refer to Section H.,
        Definitions.

        A. Coverage                                                                 (b) Materials, equipment, supplies
           We will pay for direct physical loss of or                                    and temporary structures, on or
           damage to Covered Property at the premises                                    within 100 feet of the describ-
           described in the Declarations caused by or                                    ed premises, used for making
           resulting from any Covered Cause of Loss.                                     additions, alterations or repairs
                                                                                         to the building or structure.
           1. Covered Property
                                                                            b. Your Business Personal Property
               Covered Property, as used in this Coverage                      located in or on the building described
              Part, means the type of property described                       in the Declarations or in the open (or in
               in this section, A.1., and limited in A.2.,                     a vehicle) within 100 feet of the de-
               Property Not Covered, if a Limit of                             scribed premises, consisting of the
               Insurance is shown in the Declarations for                      following unless otherwise specified in
               that type of property.                                          the Declarations or on the Your Busi-
               a. Building, meaning the building or                            ness Personal Property — Separation Of
                   structure described in the Declarations,                    Coverage form:
                   including:                                                  (1) Furniture and fixtures;
                   (1) Completed additions;                                    (2) Machinery and equipment;
                   (2) Fixtures, including outdoor fixtures;                   (3) "Stock";
                   (3) Permanently installed:                                  (4) All other personal property owned
                        (a) Machinery and                                           by you and used in your business;
                        (b) Equipment;                                         (5) Labor, materials or services furnish-
                                                                                    ed or arranged by you on personal
                   (4) Personal property owned by you
                                                                                    property of others;
                        that is used to maintain or service
                        the building or structure or its                       (6) Your use interest as tenant in
                        premises, including:                                        improvements and betterments. Im-
                        (a) Fire-extinguishing equipment;                           provements and betterments are
                                                                                    fixtures, alterations, installations or
                        (b) Outdoor furniture;                                      additions:
                        (c) Floor coverings; and                                    (a) Made a part of the building or
                        (d) Appliances used for refrigerat-                              structure you occupy but do
                            ing, ventilating, cooking, dish-                             not own; and
                            washing or laundering;                                  (b) You acquired or made at your
                   (5) If not covered by other insurance:                                expense but cannot legally
                                                                                         remove;
                        (a) Additions under construction,
                            alterations and repairs to the                     (7) Leased personal property for which
                            building or structure;                                  you have a contractual responsi-
                                                                                    bility to insure, unless otherwise
                                                                                    provided for under Personal Prop-
                                                                                    erty Of Others.




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                c. Personal Property Of Others that is:                    m. Underground pipes, flues or drains;
                   (1) In your care, custody or control;                   n. Electronic data, except as provided
                          and                                                 under the Additional Coverage, Elec-
                   (2) Located in or on the building                          tronic Data. Electronic data means
                          described in the Declarations or in                 information, facts or computer pro-
                          the open (or in a vehicle) within                   grams stored as or on, created or used
                          100 feet of the described premises.                 on, or transmitted to or from computer
                                                                              software (including systems and appli-
                   However, our payment for loss of or                        cations software), on hard or floppy
                   damage to personal property of others                      disks, CD-ROMs, tapes, drives, cells,
                   will only be for the account of the                        data processing devices or any other
                   owner of the property.                                     repositories of computer software
            2. Property Not Covered                                           which are used with electronically
                Covered Property does not include:                            controlled equipment. The term com-
                                                                              puter programs, referred to in the
                a. Accounts, bills, currency, food stamps                     foregoing description of electronic data,
                   or other evidences of debt, money,                         means a set of related electronic
                   notes or securities. Lottery tickets held                  instructions which direct the operations
                   for sale are not securities;                               and functions of a computer or device
               b. Animals, unless owned by others and                         connected to it, which enable the
                   boarded by you, or if owned by you,                        computer or device to receive, process,
                   only as "stock" while inside of                            store, retrieve or send data. This
                   buildings;                                                 paragraph, n., does not apply to your
                                                                              "stock" of prepackaged software;
               c. Automobiles held for sale;
                                                                           o. The cost to replace or restore the
               d. Bridges, roadways, walks, patios or
                                                                              information on valuable papers and
                   other paved surfaces;
                                                                              records, including those which exist as
               e. Contraband, or property in the course                       electronic data. Valuable papers and
                   of illegal transportation or trade;                        records include but are not limited to
               f. The cost of excavations, grading, back-                     proprietary information, books of
                   filling or filling;                                        account, deeds, manuscripts, ab-
                                                                              stracts, drawings and card index
               g. Foundations of buildings, structures,                       systems. Refer to the Coverage
                   machinery or boilers if their foundations                  Extension for Valuable Papers And
                   are below:                                                 Records (Other Than Electronic Data)
                   (1) The lowest basement floor; or                          for limited coverage for valuable papers
                   (2) The surface of the ground, if there                    and records other than those which
                         is no basement;                                      exist as electronic data;
               h. Land (including land on which the                        p. Vehicles or self-propelled machines
                   property is located), water, growing                       (including aircraft or watercraft) that:
                   crops or lawns;                                            (1) Are licensed for use on public
               i. Personal property while airborne or                             roads; or
                   waterborne;                                                (2) Are operated principally away from
                   Bulkheads, pilings, piers, wharves or                          the described premises.
                   docks;                                                     This paragraph does not apply to:
               k. Property that is covered under another                          (a) Vehicles or self-propelled ma-
                   coverage form of this or any other                                  chines or autos you manufac-
                   policy in which it is more specifically                             ture, process or warehouse;
                   described, except for the excess of the                        (b) Vehicles or self-propelled ma-
                   amount due (whether you can collect                                 chines, other than autos, you
                   on it or not) from that other insurance;                            hold for sale;
               I. Retaining walls that are not part of a                          (c) Rowboats or canoes out of
                   building;                                                           water at the described prem-
                                                                                       ises; or




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                        (d) Trailers, but only to the extent                      (4) We will pay up to an additional
                             provided for in the Coverage                              $10,000     for    debris removal
                             Extension for Non-owned De-                               expense, for each location, in any
                             tached Trailers;                                         one occurrence of physical loss or
               q. The following property while outside of                              damage to Covered Property, if one
                   buildings:                                                         or both of the following circum-
                                                                                      stances apply:
                   (1) Grain, hay, straw or other crops;
                                                                                      (a) The total of the actual debris
                  (2) Fences, radio or television antennas                                removal expense plus the
                        (including satellite dishes) and their                            amount we pay for direct
                        lead-in wiring, masts or towers,                                  physical loss or damage
                        trees, shrubs or plants (other than                               exceeds the Limit of Insurance
                        "stock" of trees, shrubs or plants),                              on the Covered Property that
                        all except as provided in the                                     has sustained loss or damage.
                        Coverage Extensions.
                                                                                      (b) The actual debris removal
            3. Covered Causes Of Loss                                                     expense exceeds 25% of the
               See applicable Causes Of Loss Form as                                      sum of the deductible plus the
               shown in the Declarations.                                                 amount that we pay for direct
            4. Additional Coverages                                                       physical loss or damage to the
                                                                                          Covered Property that has sus-
               a. Debris Removal                                                          tained loss or damage.
                  (1) Subject to Paragraphs (3) and (4),                              Therefore, if (4)(a) and/or (4)(b)
                       we will pay your expense to                                    apply, our total payment for direct
                       remove debris of Covered Property                              physical loss or damage and debris
                       caused by or resulting from a                                  removal expense may reach but will
                       Covered Cause of Loss that occurs                              never exceed the Limit of Insurance
                       during the policy period. The                                  on the Covered Property that has
                       expenses will be paid only if they                             sustained loss or damage, plus
                       are reported to us in writing within                           $10,000.
                       180 days of the date of direct
                       physical loss or damage.                                   (5) Examples
                  (2) Debris Removal does not apply to                                The following examples assume
                       costs to:                                                      that there is no Coinsurance
                                                                                      penalty.
                       (a) Extract "pollutants" from land
                            or water; or                           EXAMPLE #1
                       (b) Remove, restore or replace              Limit of Insurance:                  $ 90,000
                            polluted land or water.                Amount of Deductible:                      500
                                                                                                        $
                  (3) Subject to the exceptions in Para-           Amount of Loss:                      $ 50,000
                       graph (4), the following provisions
                                                                   Amount of Loss Payable:              $ 49,500
                       apply:
                                                                                                 ($50,000 — $500)
                       (a) The most we will pay for the
                            total of direct physical loss or       Debris Removal Expense:             $ 10,000
                            damage plus debris removal             Debris Removal Expense Payable:     $ 10,000
                            expense is the Limit of Insur-         ($10,000 is 20% of $50,000.)
                            ance applicable to the Covered
                            Property that has sustained loss       The debris removal expense is less than 25% of
                            or damage.                             the sum of the loss payable plus the deductible.
                                                                   The sum of the loss payable and the debris
                       (b) Subject to (a) above, the               removal expense ($49,500 ÷           $10,000    =
                            amount we will pay for debris          $59,500) is less than the Limit of Insurance.
                            removal expense is limited to          Therefore the full amount of debris removal
                            25% of the sum of the deduct-          expense is payable in accordance with the terms of
                            ible plus the amount that we           Paragraph (3).
                            pay for direct physical loss or
                            damage to the Covered Prop-
                            erty that has sustained loss or
                            damage.




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        EXAMPLE #2                                                             (1) Assumed by contract or agreement
                                                                                    prior to loss; or
        Limit of Insurance:                       $ 90,000
                                                                               (2) Required by local ordinance.
        Amount of Deductible:                     $      500
                                                                               No Deductible applies to this Additional
        Amount of Loss:                           $ 80,000                     Coverage.
        Amount of Loss Payable:                   $ 79,500                 d. Pollutant Clean-up And Removal
                                            ($80,000 - $500)
                                                                               We will pay your expense to extract
        Debris Removal Expense:                   $ 30,000                     "pollutants" from land or water at the
        Debris Removal Expense Payable                                         described premises if the discharge,
                        Basic Amount:          $ 10,500                        dispersal, seepage, migration, release
                                                                               or escape of the "pollutants" is caused
                        Additional Amount:     $ 10,000
                                                                               by or results from a Covered Cause of
        The basic amount payable for debris removal                           Loss that occurs during the policy
        expense under the terms of Paragraph (3) is                            period. The expenses will be paid only
        calculated as follows: $80,000 ($79,500    $500)                      if they are reported to us in writing
        x .25 = $20,000; capped at $10,500. The cap                           within 180 days of the date on which
        applies because the sum of the loss payable                           the Covered Cause of Loss occurs.
        ($79,500) and the basic amount payable for debris
                                                                              This Additional Coverage does not
        removal expense ($10,500) cannot exceed the
                                                                              apply to costs to test for, monitor or
        Limit of Insurance ($90,000).
                                                                              assess the existence, concentration or
        The additional amount payable for debris removal                      effects of "pollutants". But we will pay
        expense is provided in accordance with the terms                      for testing which is performed in the
        of Paragraph (4), because the debris removal                          course of extracting the "pollutants"
        expense ($30,000) exceeds 25% of the loss                             from the land or water.
        payable plus the deductible ($30,000 is 37.5% of
                                                                              The most we will pay under this
        $80,000), and because the sum of the loss
                                                                              Additional Coverage for each described
        payable and debris removal expense ($79,500
                                                                              premises is $10,000 for the sum of all
        $30,000 = $109,500) would exceed the Limit of
                                                                              covered expenses arising out of
        Insurance ($90,000). The additional amount of
                                                                              Covered Causes of Loss occurring
        covered debris removal expense is $10,000, the
                                                                              during each separate 12-month period
        maximum payable under Paragraph (4). Thus the
                                                                              of this policy.
        total payable for debris removal expense in this
        example is $20,500; $9,500 of the debris removal                   e. Increased Cost Of Construction
        expense is not covered.                                               (1) This Additional Coverage applies
                b. Preservation Of Property                                        only to buildings to which the Re-
                                                                                   placement Cost Optional Coverage
                   If it is necessary to move Covered                              applies.
                   Property from the described premises
                   to preserve it from loss or damage by a                    (2) In the event of damage by a
                   Covered Cause of Loss, we will pay for                          Covered Cause of Loss to a building
                   any direct physical loss or damage to                           that is Covered Property, we will
                   that property:                                                  pay the increased costs incurred to
                                                                                   comply with enforcement of an
                   (1) While it is being moved or while                            ordinance or law in the course of
                        temporarily stored at another loca-                        repair, rebuilding or replacement of
                        tion; and                                                  damaged parts of that property,
                   (2) Only if the loss or damage occurs                           subject to the limitations stated in
                        within 30 days after the property is                       e.(3) through e.(9) of this Addi-
                       first moved.                                                tional Coverage.
                c. Fire Department Service Charge                             (3) The ordinance or law referred to in
                   When the fire department is called to                           e.(2) of this Additional Coverage is
                   save or protect Covered Property from                           an ordinance or law that regulates
                   a Covered Cause of Loss, we will pay                            the construction or repair of
                   up to $1,000, unless a higher limit is                          buildings or establishes zoning or
                   shown in the Declarations, for your                             land use requirements at the
                   liability for fire department service                           described premises, and is in force
                   charges:                                                        at the time of loss.




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                      (4) Under this Additional Coverage, we                           (i) Until the property is actually
                          will not pay any costs due to an                                  repaired or replaced, at the
                          ordinance or law that:                                            same or another premises;
                          (a) You were required to comply                                   and
                               with before the loss, even                              (ii) Unless the       repairs or
                               when the building was undam-                                 replacement are made as
                               aged; and                                                    soon as reasonably possible
                          (b) You failed to comply with.                                    after the loss or damage,
                                                                                            not to exceed two years.
                     (5) Under this Additional Coverage, we                                 We may extend this period
                          will not pay for:                                                 in writing during the two
                          (a) The enforcement of any ordi-                                  years.
                               nance or law which requires                        (b) If the building is repaired or
                               demolition, repair, replacement,                        replaced at the same premises,
                               reconstruction, remodeling or                           or if you elect to rebuild at
                               remediation of property due to                          another premises, the most we
                               contamination by "pollutants"                           will pay for the Increased Cost
                               or due to the presence, growth,                         of Construction, subject to the
                               proliferation, spread or any acti-                      provisions of e.(6) of this Addi-
                               vity of "fungus", wet or dry rot                        tional Coverage, is the increas-
                               or bacteria; or                                         ed cost of construction at the
                         (b) Any costs associated with the                             same premises.
                               enforcement of an ordinance or                     (c) If the ordinance or law requires
                               law which requires any insured                          relocation to another premises,
                               or others to test for, monitor,                         the most we will pay for the
                               clean up, remove, contain,                              Increased Cost of Construction,
                               treat, detoxify or neutralize, or                       subject to the provisions of
                               in any way respond to, or                               e.(6) of this Additional Cov-
                              assess the effects of "pollu-                            erage, is the increased cost of
                              tants", "fungus", wet or dry rot                         construction at        the new
                              or bacteria.                                             premises.
                    (6) The most we will pay under this                       (8) This Additional Coverage is not
                         Additional Coverage, for each                            subject to the terms of the
                         described building insured under                         Ordinance Or Law Exclusion, to the
                         this Coverage Form, is $10,000 or                        extent that such Exclusion would
                         5% of the Limit of Insurance                             conflict with the provisions of this
                         applicable to that building, which-                      Additional Coverage.
                         ever is less. If a damaged building
                         is covered under a blanket Limit of                  (9) The costs addressed in the Loss
                         Insurance which applies to more                          Payment and Valuation Conditions,
                         than one building or item of prop-                       and the Replacement Cost Optional
                         erty, then the most we will pay                          Coverage, in this Coverage Form,
                         under this Additional Coverage, for                      do not include the increased cost
                         that damaged building, is the lesser                     attributable to enforcement of an
                         of: $10,000 or 5% times the value                        ordinance or law. The amount
                         of the damaged building as of the                        payable under this Additional Cov-
                         time of loss times the applicable                        erage, as stated in e.(6) of this
                         Coinsurance percentage.                                  Additional Coverage, is not subject
                                                                                  to such limitation.
                        The amount payable under this
                        Additional Coverage is additional                  f. Electronic Data
                        insurance.                                            (1) Under this Additional Coverage,
                                                                                  electronic data has the meaning
                    (7) With respect to this Additional
                        Coverage:                                                 described under Property Not
                                                                                  Covered, Electronic Data.
                        (a) We will not pay for the
                              Increased Cost of Construction:




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                     (2) Subject to the provisions of this                    (4) The most we will pay under this
                         Additional Coverage, we will pay                         Additional Coverage, Electronic
                         for the cost to replace or restore                       Data, is $2,500 for all loss or
                         electronic data which has been                           damage sustained in any one policy
                         destroyed or corrupted by a                              year, regardless of the number of
                         Covered Cause of Loss. To the                            occurrences of loss or damage or
                         extent that electronic data is not                       the number of premises, locations
                         replaced or restored, the loss will                      or computer systems involved. If
                         be valued at the cost of replace-                        loss payment on the first occur-
                         ment of the media on which the                           rence does not exhaust this
                         electronic data was stored, with                         amount, then the balance is avail-
                         blank media of substantially identi-                     able for subsequent loss or damage
                         cal type.                                                sustained in but not after that
                                                                                  policy year. With respect to an
                     (3) The Covered Causes of Loss                               occurrence which begins in one
                         applicable    to     Your    Business
                         Personal Property apply to this                          policy year and continues or results
                         Additional Coverage, Electronic                          in additional loss or damage in a
                         Data, subject to the following:                          subsequent policy year(s), all loss
                                                                                  or damage is deemed to be sus-
                         (a) If the Causes Of Loss - Special                      tained in the policy year in which
                             Form applies, coverage under                         the occurrence began.
                             this Additional Coverage, Elec-
                              tronic Data, is limited to the           5. Coverage Extensions
                             "specified causes of loss" as                Except as otherwise provided, the follow-
                             defined in that form, and                    ing Extensions apply to property located in
                             Collapse as set forth in that                or on the building described in the
                             form.                                        Declarations or in the open (or in a vehicle)
                         (b) If the Causes Of Loss — Broad                within 100 feet of the described premises.
                             Form applies, coverage under                 If a Coinsurance percentage of 80% or
                             this Additional Coverage, Elec-              more, or a Value Reporting period symbol,
                             tronic Data, includes Collapse               is shown in the Declarations, you may
                             as set forth in that form.                   extend the insurance provided by this
                         (c) If the Causes Of Loss Form is                Coverage Part as follows:
                             endorsed to add a Covered                    a. Newly Acquired Or Constructed
                             Cause of Loss, the additional                    Property
                             Covered Cause of Loss does                       (1) Buildings
                             not apply to the coverage
                             provided under this Additional                       If this policy covers Building, you
                             Coverage, Electronic Data.                           may extend that insurance to apply
                                                                                  to:
                         (d) The Covered Causes of Loss
                             include a virus, harmful code or                     (a) Your new buildings while being
                             similar instruction introduced                           built on the described premises;
                             into or enacted on a computer                            and
                             system (including electronic                         (b) Buildings you acquire at loca-
                             data) or a network to which it                           tions, other than the described
                             is connected, designed to dam-                           premises, intended for:
                             age or destroy any part of the                           (i) Similar use as the building
                             system or disrupt its normal                                  described in the Declara-
                             operation. But there is no                                    tions; or
                             coverage for loss or damage
                             caused by or resulting from                              (ii) Use as a warehouse.
                             manipulation of a computer                           The most we will pay for loss or
                             system (including electronic                         damage under this Extension is
                             data) by any employee, includ-                       $250,000 at each building.
                             ing a temporary or leased
                                                                              (2) Your Business Personal Property
                             employee, or by an entity
                             retained by you or for you to                        (a) If this policy covers Your
                             inspect, design, install, modify,                        Business Personal Property, you
                             maintain, repair or replace that                         may extend that insurance to
                             system.                                                  apply to:


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                             (i) Business personal property,                  (1) Personal effects owned by you,
                                  including such property that                     your officers, your partners or
                                  you newly acquire, at any                        members, your managers or your
                                  location you acquire other                       employees. This Extension does not
                                  than at fairs, trade shows                       apply to loss or damage by theft.
                                  or exhibitions;                             (2) Personal property of others in your
                            (ii) Business personal property,                       care, custody or control.
                                  including such property that                The most we will pay for loss or
                                  you newly acquire, located                  damage under this Extension is $2,500
                                  at your newly constructed                   at each described premises. Our pay-
                                  or acquired buildings at the                ment for loss of or damage to personal
                                  location described in the                   property of others will only be for the
                                  Declarations; or                            account of the owner of the property.
                            (iii) Business personal property               c. Valuable Papers And Records (Other
                                  that you newly acquire,                     Than Electronic Data)
                                  located at the described
                                  premises.                                   (1) You may extend the insurance that
                                                                                   applies to Your Business Personal
                            The most we will pay for loss                          Property to apply to the cost to
                            or damage under this Extension                         replace or restore the lost infor-
                            is $100,000 at each building.                          mation on valuable papers and
                       (b) This Extension does not apply                           records for which duplicates do not
                            to:                                                    exist. But this Extension does not
                           (i) Personal property of others                         apply to valuable papers and
                                that is temporarily in your                        records which exist as electronic
                                possession in the course of                        data. Electronic data has the
                                installing or performing work                      meaning described under Property
                                on such property; or                              Not Covered, Electronic Data.
                           (ii) Personal property of others                   (2) If the Causes Of Loss - Special
                                that is temporarily in your                       Form applies, coverage under this
                                possession in the course of                       Extension is limited to the "speci-
                                your manufacturing or whole-                      fied causes of loss" as defined in
                                saling activities.                                that form, and Collapse as set forth
                                                                                  in that form.
                   (3) Period    Of Coverage
                                                                              (3) If the Causes Of Loss — Broad Form
                       With respect to insurance on or at                         applies, coverage under this Exten-
                       each newly acquired or constructed                         sion includes Collapse as set forth
                       property, coverage will end when                           in that form.
                       any of the following first occurs:
                                                                              (4) Under this Extension, the most we
                       (a) This policy expires;                                   will pay to replace or restore the
                       (b) 30 days expire after you ac-                           lost information is $2,500 at each
                            quire the property or begin con-                      described premises, unless a higher
                            struction of that part of the                         limit is shown in the Declarations.
                            building that would qualify as                        Such amount is additional insur-
                            covered property; or                                  ance. We will also pay for the cost
                       (c) You report values to us.                               of blank material for reproducing
                                                                                  the records (whether or not
                       We will charge you additional                              duplicates exist), and (when there
                       premium for values reported from                           is a duplicate) for the cost of labor
                       the date you acquire the property                          to transcribe or copy the records.
                       or begin construction of that part of                      The costs of blank material and
                       the building that would qualify as                         labor are subject to the applicable
                       covered property.                                          Limit of Insurance on Your Business
                b. Personal Effects And Property Of                               Personal Property and therefore
                   Others                                                         coverage of such costs is not
                                                                                  additional insurance.
                   You may extend the insurance that
                   applies to Your Business Personal Prop-
                   erty to apply to:



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                 d. Property Off-premises                                          (a) The trailer is used in your
                      (1) You may extend the insurance                                 business;
                          provided by this Coverage Form to                        (b) The trailer is in your care, cust-
                          apply to your Covered Property                               ody or control at the premises
                          while it is away from the described                          described in the Declarations;
                          premises, if it is:                                          and
                          (a) Temporarily at a location you                       (c) You have a contractual respon-
                              do not own, lease or operate;                            sibility to pay for loss or dam-
                          (b) In storage at a location you                             age to the trailer.
                              lease, provided the lease was                   (2) We will not pay for any loss or
                              executed after the beginning of                      damage that occurs:
                              the current policy term; or                         (a) While the trailer is attached to
                          (c) At any fair, trade show or exhi-                         any motor vehicle or motorized
                              bition.                                                  conveyance, whether or not the
                     (2) This Extension does not apply to                              motor vehicle or motorized
                          property:                                                    conveyance is in motion;
                          (a) In or on a vehicle; or                              (b) During hitching or unhitching
                                                                                       operations, or when a trailer
                          (b) In the care, custody or control                          becomes accidentally unhitched
                              of your salespersons, unless                             from a motor vehicle or motor-
                              the property is in such care,                            ized conveyance.
                              custody or control at a fair,
                              trade show or exhibition.                       (3) The   most we will pay for loss or
                                                                                  damage under this Extension is
                     (3) The most we will pay for loss or                         $5,000, unless a higher limit is
                          damage under this Extension is                          shown in the Declarations.
                          $10,000.
                                                                              (4) This insurance is excess over the
                e. Outdoor Property                                               amount due (whether you can
                     You may extend the insurance provided                        collect on it or not) from any other
                     by this Coverage Form to apply to your                       insurance covering such property.
                     outdoor fences, radio and television             Each of these Extensions is additional insur-
                    antennas (including satellite dishes),            ance unless otherwise indicated. The Additional
                     trees, shrubs and plants (other than             Condition, Coinsurance, does not apply to
                    "stock" of trees, shrubs or plants),              these Extensions.
                    including debris removal expense,
                    caused by or resulting from any of the         B. Exclusions And Limitations
                    following causes of loss if they are              See applicable Causes Of Loss Form as shown
                    Covered Causes of Loss:                           in the Declarations.
                    (1) Fire;                                      C. Limits Of Insurance
                    (2) Lightning;                                    The most we will pay for loss or damage in any
                    (3) Explosion;                                    one occurrence is the applicable Limit of
                                                                      Insurance shown in the Declarations.
                    (4) Riot or Civil Commotion; or
                                                                      The most we will pay for loss or damage to
                    (5) Aircraft.                                     outdoor signs, whether or not the sign is
                    The most we will pay for loss or                  attached to a building, is $2,500 per sign in
                    damage under this Extension is                    any one occurrence.
                    $1,000, but not more than $250 for                The amounts of insurance stated in the fol-
                    any one tree, shrub or plant. These               lowing Additional Coverages apply in accord-
                    limits apply to any one occurrence,               ance with the terms of such coverages and are
                    regardless of the types or number of              separate from the Limit(s) of Insurance shown
                    items lost or damaged in that                     in the Declarations for any other coverage:
                    occurrence.
                                                                      1. Fire Department Service Charge;
                f. Non-owned Detached Trailers
                                                                      2. Pollutant Clean-up And Removal;
                    (1) You may extend the insurance that
                         applies to Your Business Personal            3. Increased Cost Of Construction; and
                         Property to apply to loss or damage          4. Electronic Data.
                         to trailers that you do not own,
                         provided that:

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           Payments under the Preservation Of Property              EXAMPLE #2
           Additional Coverage will not increase the appli-         (This example, too, assumes there is no Coinsur-
           cable Limit of Insurance.                                ance penalty.)
        D. Deductible                                               The Deductible and Limits of Insurance are the
           In any one occurrence of loss or damage                  same as those in Example #1.
           (hereinafter referred to as loss), we will first
           reduce the amount of loss if required by the             Loss to Building #1:                        $ 70,000
           Coinsurance Condition or the Agreed Value                  (Exceeds Limit of Insurance plus Deductible)
           Optional Coverage. If the adjusted amount of             Loss to Building #2:                        $ 90,000
           loss is less than or equal to the Deductible, we
           will not pay for that loss. If the adjusted                (Exceeds Limit of Insurance plus Deductible)
           amount of loss exceeds the Deductible, we will           Loss Payable — Building #1:                $ 60,000
           then subtract the Deductible from the adjusted             (Limit of Insurance)
           amount of loss, and will pay the resulting
                                                                    Loss Payable — Building #2:                $ 80,000
           amount or the Limit of Insurance, whichever is
           less.                                                      (Limit of Insurance)
           When the occurrence involves loss to more                Total amount of loss payable:              $ 140,000
           than one item of Covered Property and                    E. Loss Conditions
           separate Limits of Insurance apply, the losses
           will not be combined in determining application              The following conditions apply in addition to
           of the Deductible. But the Deductible will be                the Common Policy Conditions and the Com-
           applied only once per occurrence.                            mercial Property Conditions.
                                                                        1. Abandonment
        EXAMPLE #1
                                                                            There can be no abandonment of any prop-
        (This example assumes there is no Coinsurance
                                                                            erty to us.
        penalty.)
                                                                        2. Appraisal
        Deductible:                                 $      250              If we and you disagree on the value of the
        Limit of Insurance — Building #1:           $   60,000              property or the amount of loss, either may
        Limit of Insurance — Building #2:           $   80,000              make written demand for an appraisal of
                                                                            the loss. In this event, each party will
        Loss to Building #1:                        $   60,100
                                                                            select a competent and impartial appraiser.
        Loss to Building #2:                        $   90,000              The two appraisers will select an umpire. If
        The amount of loss to Building #1 ($60,100) is                      they cannot agree, either may request that
        less than the sum ($60,250) of the Limit of                         selection be made by a judge of a court
        Insurance applicable to Building #1 plus the                        having jurisdiction. The appraisers will state
        Deductible.                                                         separately the value of the property and
                                                                            amount of loss. If they fail to agree, they
        The Deductible will be subtracted from the amount                   will submit their differences to the umpire.
        of loss in calculating the loss payable for Building                A decision agreed to by any two will be
        #1:                                                                 binding. Each party will:
           $ 60,100                                                         a. Pay its chosen appraiser; and
             - 250                                                          b. Bear the other expenses of the apprais-
          $ 59,850 Loss Payable — Building #1                                    al and umpire equally.
                                                                            If there is an appraisal, we will still retain
       The Deductible applies once per occurrence and
                                                                            our right to deny the claim.
       therefore is not subtracted in determining the
       amount of loss payable for Building #2. Loss                     3. Duties In The Event Of Loss Or Damage
       payable for Building #2 is the Limit of Insurance of                 a. You must see that the following are
       $80,000.                                                                  done in the event of loss or damage to
       Total amount of loss payable:                                             Covered Property:
       $59,850 + $80,000 = $139,850                                              (1) Notify the police if a law may have
                                                                                     been broken.




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                  (2) Give us prompt notice of the loss or                    (2) Pay the cost of repairing or replac-
                       damage. Include a description of                            ing the lost or damaged property,
                       the property involved.                                      subject to b. below;
                  (3) As soon as possible, give us a                          (3) Take all or any part of the property
                       description of how, when and                                at an agreed or appraised value; or
                       where the loss or damage occurred.                     (4) Repair, rebuild or replace the prop-
                  (4) Take all reasonable steps to protect                         erty with other property of like kind
                       the Covered Property from further                           and quality, subject to b. below.
                       damage, and keep a record of your                      We will determine the value of lost or
                       expenses necessary to protect the                       damaged property, or the cost of its
                       Covered Property, for consideration                    repair or replacement, in accordance
                       in the settlement of the claim. This                   with the applicable terms of the
                       will not increase the Limit of                         Valuation Condition in this Coverage
                       Insurance. However, we will not                        Form or any applicable provision which
                       pay for any subsequent loss or                         amends or supersedes the Valuation
                       damage resulting from a cause of                        Condition.
                       loss that is not a Covered Cause of
                       Loss. Also, if feasible, set the                    b. The cost to repair, rebuild or replace
                       damaged property aside and in the                      does not include the increased cost
                       best possible order for examination.                   attributable to enforcement of any
                                                                              ordinance or law regulating the
                  (5) At our request, give us complete                        construction, use or repair of any
                       inventories of the damaged and                         property.
                       undamaged property. Include quan-
                       tities, costs, values and amount of                 c. We will give notice of our intentions
                       loss claimed.                                          within 30 days after we receive the
                                                                              sworn proof of loss.
                  (6) As often as may be reasonably
                       required, permit us to inspect the                  d. We will not pay you more than your
                       property proving the loss or dam-                      financial interest in the Covered
                       age and examine your books and                         Property.
                       records.                                            e. We may adjust losses with the owners
                      Also permit us to take samples of                       of lost or damaged property if other
                      damaged and undamaged property                          than you. If we pay the owners, such
                      for inspection, testing and analysis,                   payments will satisfy your claims
                      and permit us to make copies from                       against us for the owners' property.
                      your books and records.                                 We will not pay the owners more than
                                                                              their financial interest in the Covered
                  (7) Send us a signed, sworn proof of                        Property.
                      loss containing the information we
                      request to investigate the claim.                    f. We may elect to defend you against
                      You must do this within 60 days                         suits arising from claims of owners of
                      after our request. We will supply                       property. We will do this at our
                      you with the necessary forms.                           expense.
                  (8) Cooperate with us in the investi-                    g. We   will pay for covered loss or damage
                      gation or settlement of the claim.                      within 30 days after we receive the
                                                                              sworn proof of loss, if you have
               b. We may examine any insured under                            complied with all of the terms of this
                  oath, while not in the presence of any                      Coverage Part and:
                  other insured and at such times as may
                  be reasonably required, about any                           (1) We have reached agreement with
                  matter relating to this insurance or the                         you on the amount of loss; or
                  claim, including an insured's books and                     (2) An appraisal award has been made.
                  records. In the event of an exami-                       h. A party wall is a wall that separates
                  nation, an insured's answers must be                        and is common to adjoining buildings
                  signed.                                                     that are owned by different parties. In
            4. Loss Payment                                                   settling covered losses involving a
               a. In the event of loss or damage covered                      party wall, we will pay a proportion of
                  by this Coverage Form, at our option,                       the loss to the party wall based on your
                  we will either:                                             interest in the wall in proportion to the
                                                                              interest of the owner of the adjoining
                  (1) Pay the value of lost or damaged                        building. However, if you elect to repair
                      property;

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                   or replace your building and the owner                       (2) Buildings under construction or
                   of the adjoining building elects not to                          renovation are not considered
                   repair or replace that building, we will                         vacant.
                   pay you the full value of the loss to the               b. Vacancy Provisions
                   party wall, subject to all applicable
                   policy provisions including Limits of                        If the building where loss or damage
                   Insurance, the Valuation and Coinsur-                        occurs has been vacant for more than
                   ance Conditions and all other provisions                     60 consecutive days before that loss or
                   of this Loss Payment Condition. Our                          damage occurs:
                   payment under the provisions of this                         (1) We will not pay for any loss or
                   paragraph does not alter any right of                            damage caused by any of the
                   subrogation we may have against any                              following even if they are Covered
                   entity, including the owner or insurer of                        Causes of Loss:
                   the adjoining building, and does not                             (a) Vandalism;
                   alter the terms of the Transfer Of
                   Rights Of Recovery Against Others To                             (b) Sprinkler leakage, unless you
                   Us Condition in this policy.                                          have protected the system
                                                                                         against freezing;
            5. Recovered Property
                                                                                    (c) Building glass breakage;
               If either you or we recover any property
               after loss settlement, that party must give                          (d) Water damage;
               the other prompt notice. At your option,                             (e) Theft; or
               the property will be returned to you. You                            (f) Attempted theft.
               must then return to us the amount we paid
               to you for the property. We will pay                             (2) With respect to Covered Causes of
               recovery expenses and the expenses to                                Loss other than those listed in
               repair the recovered property, subject to                            b.(1)(a) through b.(1)(f) above, we
               the Limit of Insurance.                                              will reduce the amount we would
                                                                                    otherwise pay for the loss or
            6. Vacancy
                                                                                    damage by 15%.
               a. Description Of Terms                                  7. Valuation
                   (1) As used in this Vacancy Condition,                  We will determine the value of Covered
                       the term building and the term
                                                                           Property in the event of loss or damage as
                       vacant have the meanings set forth
                                                                           follows:
                       in (1)(a) and (1)(b) below:
                                                                           a. At actual cash value as of the time of
                       (a) When this policy is issued to a                      loss or damage, except as provided in
                            tenant, and with respect to that
                                                                                b., c., d. and e. below.
                            tenant's interest in Covered
                            Property, building means the                   b. If the Limit of Insurance for Building
                            unit or suite rented or leased to                   satisfies the Additional Condition,
                            the tenant. Such building is                        Coinsurance, and the cost to repair or
                            vacant when it does not contain                     replace the damaged building property
                            enough business personal prop-                      is $2,500 or less, we will pay the cost
                            erty to conduct customary                           of building repairs or replacement.
                            operations.                                         The cost of building repairs or
                       (b) When this policy is issued to                        replacement does not include the
                            the owner or general lessee of a                    increased cost attributable to enforce-
                            building, building means the                        ment of any ordinance or law regulating
                            entire building. Such building is                   the construction, use or repair of any
                            vacant unless at least 31% of                       property.
                            its total square footage is:                        However, the following property will be
                            (i) Rented to a lessee or sub-                      valued at the actual cash value even
                                 lessee and used by the                         when attached to the building:
                                 lessee or sub-lessee to con-                   (1) Awnings or floor coverings;
                                 duct its customary opera-
                                 tions; and/or                                  (2) Appliances for refrigerating, ventila-
                                                                                    ting, cooking, dishwashing or laun-
                            (ii) Used by the building owner                         dering; or
                                 to conduct customary oper-
                                 ations.                                        (3) Outdoor equipment or furniture.



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               c. "Stock" you have sold but not deliv-                            (2) Divide the Limit of Insurance of the
                    ered at the selling price less discounts                          property by the figure determined in
                    and expenses you otherwise would                                  Step (1);
                    have had.                                                     (3) Multiply the total amount of loss,
               d. Glass at the cost of replacement with                               before the application of any de-
                    safety-glazing material if required by                            ductible, by the figure determined
                    law.                                                              in Step (2); and
               e. Tenants' Improvements and Better-                               (4) Subtract the deductible from the
                    ments at:                                                         figure determined in Step (3).
                    (1) Actual cash value of the lost or                          We will pay the amount determined in
                        damaged property if you make                              Step (4) or the limit of insurance,
                        repairs promptly.                                         whichever is less. For the remainder,
                    (2) A proportion of your original cost if                     you will either have to rely on other
                        you do not make repairs promptly.                         insurance or absorb the loss yourself.
                        We will determine the proportionate        EXAMPLE #1 (UNDERINSURANCE)
                        value as follows:
                                                                    When:     The value of the property is: $ 250,000
                        (a) Multiply the original cost by the
                            number of days from the loss or                   The Coinsurance percentage
                            damage to the expiration of the                   for it is:                            80%
                            lease; and                                        The Limit of Insurance for it is:$ 100,000
                        (b) Divide the amount determined                      The Deductible is:               $     250
                            in (a) above by the number of                     The amount of loss is:           $ 40,000
                            days from the installation of
                            improvements to the expiration         Step (1): $250,000 x 80% = $200,0O0
                            of the lease.                                    (the minimum amount of insurance to
                        If your lease contains a renewal                     meet your Coinsurance requirements)
                        option, the expiration of the renew-       Step (2): $100,000 ÷ $200,000 = .50
                        al option period will replace the          Step (3): $40,000 x .50 = $20,000
                        expiration of the lease in this
                                                                   Step (4): $20,000 - $250 = $19,750
                        procedure.
                   (3) Nothing if others pay for repairs or        We will pay no more than $19,750. The remaining
                        replacement.                               $20,250 is not covered.
        F. Additional Conditions                                   EXAMPLE #2 (ADEQUATE INSURANCE)
           The following conditions apply in addition to           When: The value of the property is:        $ 250,000
           the Common Policy Conditions and the Com-                        The Coinsurance percentage
           mercial Property Conditions.                                     for it is:                             80%
           1. Coinsurance                                                   The Limit of Insurance for it is: $ 200,000
              If a Coinsurance percentage is shown in                       The Deductible is:                $     250
              the Declarations, the following condition                     The amount of loss is:            $ 40,000
              applies.
                                                                   The minimum amount of insurance to meet your
              a. We will not pay the full amount of any
                   loss if the value of Covered Property at        Coinsurance requirement is $200,000 ($250,000 x
                                                                   80%). Therefore, the Limit of Insurance in this
                   the time of loss times the Coinsurance
                   percentage shown for it in the Decla-           example is adequate and no penalty applies. We
                                                                   will pay no more than $39,750 ($40,000 amount
                  rations is greater than the Limit of
                                                                   of loss minus the deductible of $250).
                  Insurance for the property.
                  Instead, we will determine the most we                    b. If one Limit of Insurance applies to two
                  will pay using the following steps:                          or more separate items, this condition
                                                                               will apply to the total of all property to
                  (1) Multiply the value of Covered                            which the limit applies.
                       Property at the time of loss by the
                       Coinsurance percentage;




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        EXAMPLE #3                                                            (2) Submits a signed, sworn proof of
                                                                                  loss within 60 days after receiving
        When:     The value of the property is:                                   notice from us of your failure to do
                  Building at Location #1:          $ 75,000                      so; and
                  Building at Location #2:          $ 100,000                 (3) Has notified us of any change in
                  Personal Property                                               ownership, occupancy or substan-
                  at Location #2:                   $ 75,000                      tial change in risk known to the
                                                                                  mortgageholder.
                                                 $ 250,000
                                                                              All of the terms of this Coverage Part
                  The Coinsurance percentage                                  will then apply directly to the mort-
                  for it is:                          90%                     gageholder.
                  The Limit of Insurance for                               e. If we pay the mortgageholder for any
                  Buildings and Personal Property                             loss or damage and deny payment to
                  at Locations #1 and #2 is:     $ 180,000                    you because of your acts or because
                  The Deductible is:             $ 1,000                      you have failed to comply with the
                  The amount of loss is:                                      terms of this Coverage Part:
                  Building at Location #2:       $ 30,000                     (1) The mortgageholder's rights under
                  Personal Property                                               the mortgage will be transferred to
                  at Location #2:                $ 20,000                         us to the extent of the amount we
                                                                                  pay; and
                                                $ 50,000                      (2) The mortgageholder's right to re-
        Step (1): $250,000 x 90% = $225,000                                       cover the full amount of the
                  (the minimum amount of insurance to                             mortgageholder's claim will not be
                  meet your Coinsurance requirements                              impaired.
                  and to avoid the penalty shown below)                       At our option, we may pay to the
        Step (2): $180,000 4- $225,000 = .80                                  mortgageholder the whole principal on
        Step (3): $50,000 x .80 = $40,000                                     the mortgage plus any accrued interest.
                                                                              In this event, your mortgage and note
        Step (4): $40,000 - $1,000 = $39,000                                  will be transferred to us and you will
        We will pay no more than $39,000. The remaining                       pay your remaining mortgage debt to
        $11,000 is not covered.                                               us.
           2. Mortgageholders                                              f. If we cancel this policy, we will give
                                                                              written notice to the mortgageholder at
               a. The term mortgageholder includes                            least:
                   trustee.
                                                                              (1) 10 days before the effective date of
               b. We will pay for covered loss of or                              cancellation if we cancel for your
                   damage to buildings or structures to                           nonpayment of premium; or
                   each mortgageholder shown in the
                   Declarations in their order of prece-                      (2) 30 days before the effective date of
                   dence, as interests may appear.                                cancellation if we cancel for any
                                                                                  other reason.
               c. The mortgageholder has the right to
                   receive loss payment even if the                        g. If we elect not to renew this policy, we
                   mortgageholder has started foreclosure                     will give written notice to the mort-
                   or similar action on the building or                       gageholder at least 10 days before the
                   structure.                                                 expiration date of this policy.
               d. If we deny your claim because of your            G. Optional Coverages
                   acts or because you have failed to                 If shown as applicable in the Declarations, the
                   comply with the terms of this Coverage             following Optional Coverages apply separately
                   Part, the mortgageholder will still have           to each item.
                   the right to receive loss payment if the           1. Agreed Value
                   mortgageholder:
                                                                           a. The Additional Condition, Coinsurance,
                   (1) Pays any premium due under this
                                                                              does not apply to Covered Property to
                       Coverage Part at our request if you
                                                                              which this Optional Coverage applies.
                       have failed to do so;                                  We will pay no more for loss of or
                                                                              damage to that property than the




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                   proportion that the Limit of Insurance              3. Replacement Cost
                   under this Coverage Part for the
                                                                          a. Replacement Cost (without deduction
                   property bears to the Agreed Value
                   shown for it in the Declarations.                         for depreciation) replaces Actual Cash
                                                                             Value in the Valuation Loss Condition
              b. If the expiration date for this Optional                    of this Coverage Form.
                   Coverage shown in the Declarations is
                   not extended, the Additional Condition,                b. This Optional Coverage does not apply
                   Coinsurance, is reinstated and this                       to:
                   Optional Coverage expires.                                (1) Personal property of others;
              c. The terms of this Optional Coverage                         (2) Contents of a residence;
                   apply only to loss or damage that                         (3) Works of art, antiques or rare art-
                   occurs:                                                        icles, including etchings, pictures,
                   (1) On or after the effective date of                          statuary, marbles, bronzes, porce-
                        this Optional Coverage; and                               lains and bric-a-brac; or
                   (2) Before the Agreed Value expiration                    (4) "Stock", unless the Including
                        date shown in the Declarations or                         "Stock" option is shown in the
                        the policy expiration date, which-                        Declarations.
                        ever occurs first.                                   Under the terms of this Replacement
           2. Inflation Guard                                                Cost Optional Coverage, tenants'
              a. The Limit of Insurance for property to                      improvements and betterments are not
                   which this Optional Coverage applied                      considered to be the personal property
                   will automatically increase by the                        of others.
                   annual percentage shown in the Decla-                  c. You may make a claim for loss or
                   rations.                                                  damage covered by this insurance on
              b. The amount of increase will be:                             an actual cash value basis instead of on
                                                                             a replacement cost basis. In the event
                   (1) The Limit of Insurance that applied                   you elect to have loss or damage
                       on the most recent of the policy                      settled on an actual cash value basis,
                       inception date, the policy anniver-                   you may still make a claim for the
                       sary date, or any other policy                        additional coverage this Optional
                        change amending the Limit of                         Coverage provides if you notify us of
                       Insurance, times                                      your intent to do so within 180 days
                  (2) The percentage of annual increase                      after the loss or damage.
                       shown       in   the    Declarations,              d. We will not pay on a replacement cost
                       expressed as a decimal (example:                      basis for any loss or damage:
                       8% is .08), times
                                                                             (1) Until the lost or damaged property
                  (3) The number of days since the                               is actually repaired or replaced; and
                       beginning of the current policy year
                       or the effective date of the most                     (2) Unless the repairs or replacement
                       recent policy change amending the                         are made as soon as reasonably
                       Limit of Insurance, divided by 365.                       possible after the loss or damage.
        EXAMPLE                                                              With respect to tenants' improvements
                                                                             and betterments, the following also
        If: The applicable Limit of Insurance is: $ 100,000                  apply:
            The annual percentage increase is:          8%                   (3) If the conditions in d.(1) and d.(2)
            The number of days since the                                         above are not met, the value of
            beginning of the policy year                                         tenants' improvements and better-
            (or last policy change) is:                 146                      ments will be determined as a
                                                                                 proportion of your original cost, as
            The amount of increase is:                                           set forth in the Valuation Loss
            $100,000 x .08 x 146 ÷ 365 =          $   3,200                      Condition of this Coverage Form;
                                                                                 and




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                   (4) We will not pay for loss or damage                      also be shown as applicable. If the
                        to tenants' improvements and bet-                      Declarations show this Extension as
                        terments if others pay for repairs or                  applicable, then Paragraph 3.b.(1) of
                        replacement.                                           the Replacement Cost Optional Cover-
               e. We will not pay more for loss or                             age is deleted and all other provisions
                   damage on a replacement cost basis                          of the Replacement Cost Optional Cov-
                   than the least of (1), (2) or (3), subject                  erage apply to replacement cost on
                   to f. below:                                                personal property of others.
                   (1) The Limit of Insurance applicable to               b. With respect to replacement cost on
                        the lost or damaged property;                          the personal property of others, the
                                                                               following limitation applies:
                   (2) The cost to replace the lost or
                        damaged property with other                            If an item(s) of personal property of
                       property:                                               others is subject to a written contract
                                                                               which governs your liability for loss or
                       (a) Of comparable material and                          damage to that item(s), then valuation
                            quality; and                                       of that item(s) will be based on the
                       (b) Used for the same purpose; or                       amount for which you are liable under
                   (3) The amount actually spent that is                       such contract, but not to exceed the
                       necessary to repair or replace the                      lesser of the replacement cost of the
                       lost or damaged property.                               property or the applicable Limit of
                                                                               Insurance.
                   If a building is rebuilt at a new
                   premises, the cost described in e.(2)           H. Definitions
                   above is limited to the cost which                 1. "Fungus" means any type or form of
                   would have been incurred if the                        fungus, including mold or mildew, and any
                   building had been rebuilt at the original              mycotoxins, spores, scents or by-products
                   premises.                                              produced or released by fungi.
               f. The cost of repair or replacement does              2. "Pollutants" means any solid, liquid,
                   not include the increased cost attribu-                gaseous or thermal irritant or contaminant,
                   table to enforcement of any ordinance                  including smoke, vapor, soot, fumes, acids,
                   or law regulating the construction, use                alkalis, chemicals and waste. Waste in-
                   or repair of any property.                             cludes materials to be recycled, recondi-
            4. Extension Of Replacement Cost To                           tioned or reclaimed.
               Personal Property Of Others                            3. "Stock" means merchandise held in storage
                                                                          or for sale, raw materials and in-process or
               a. If the Replacement Cost Optional
                   Coverage is shown as applicable in the                 finished goods, including supplies used in
                   Declarations, then this Extension may                  their packing or shipping.




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                                                                                               COMMERCIAL PROPERTY
                                                                                                     CP 00 30 06 07

                        BUSINESS INCOME (AND EXTRA EXPENSE)
                                   COVERAGE FORM
        Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
        and what is and is not covered.
        Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations.
        The words "we", "us" and "our" refer to the Company providing this insurance.
        Other words and phrases that appear in quotation marks have special meaning. Refer to Section F.,
        Definitions.
        A. Coverage                                                       property in the open or personal property in
           1. Business Income                                             a vehicle, the described premises include
                                                                          the area within 100 feet of the site at
               Business Income means the:                                 which the described premises are located.
               a. Net Income (Net Profit or Loss before                   With respect to the requirements set forth
                   income taxes) that would have been                     in the preceding paragraph, if you occupy
                   earned or incurred; and                                only part of the site at which the described
               b. Continuing normal operating expenses                    premises are located, your premises means:
                   incurred, including payroll.                                    (a) The portion of the building
               For manufacturing risks, Net Income in-                                 which you rent, lease or
               cludes the net sales value of production.                               occupy; and
               Coverage is provided as described and lim-                          (b) Any area within the building or
               ited below for one or more of the following                             on the site at which the
               options for which a Limit of Insurance is                               described premises are located,
              shown in the Declarations:                                               if that area services, or is used
                   (1) Business Income Including "Rental                               to gain access to, the described
                       Value".                                                         premises.
                   (2) Business Income Other Than                      2. Extra Expense
                       "Rental Value".                                    a. Extra Expense Coverage is provided at
                   (3) "Rental Value".                                        the premises described in the Decla-
                                                                              rations only if the Declarations show
              If option (1) above is selected, the term                       that Business Income Coverage applies
              Business Income will include "Rental                            at that premises.
              Value". If option (3) above is selected, the
              term Business Income will mean "Rental                      b. Extra Expense means necessary ex-
              Value" only.                                                    penses you incur during the "period of
                                                                              restoration" that you would not have
              If Limits of Insurance are shown under                          incurred if there had been no direct
              more than one of the above options, the                         physical loss or damage to property
              provisions of this Coverage Part apply sep-                     caused by or resulting from a Covered
              arately to each.                                                Cause of Loss.
              We will pay for the actual loss of Business                     We will pay Extra Expense (other than
              Income you sustain due to the necessary                         the expense to repair or replace prop-
              "suspension" of your "operations" during                        erty) to:
              the "period of restoration". The "suspen-
              sion" must be caused by direct physical                         (1) Avoid or minimize the "suspension"
              loss of or damage to property at premises                           of business and to continue opera-
              which are described in the Declarations and                         tions at the described premises or
              for which a Business Income Limit of Insur-                         at replacement premises or tempo-
              ance is shown in the Declarations. The loss                         rary locations, including relocation
              or damage must be caused by or result                               expenses and costs to equip and
              from a Covered Cause of Loss. With re-                              operate the replacement location or
              spect to loss of or damage to personal                              temporary location.




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                                                                           Wolters Kluwer Financial Services I Uniform FormslM
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                   (2) Minimize the "suspension" of                           When a Covered Cause of Loss causes
                       business if you cannot continue                         damage to property other than property
                       "operations".                                           at the described premises, we will pay
                   We will also pay Extra Expense to                          for the actual loss of Business Income
                   repair or replace property, but only to                     you sustain and necessary Extra Ex-
                   the extent it reduces the amount of                         pense caused by action of civil author-
                   loss that otherwise would have been                         ity that prohibits access to the de-
                   payable under this Coverage Form.                           scribed premises, provided that both of
                                                                               the following apply:
            3. Covered Causes Of Loss, Exclusions And
               Limitations                                                    (1) Access to the area immediately
                                                                                   surrounding the damaged property
               See applicable Causes Of Loss Form as                               is prohibited by civil authority as a
               shown in the Declarations.                                          result of the damage, and the de-
            4. Additional Limitation — Interruption Of                             scribed premises are within that
               Computer Operations                                                 area but are not more than one mile
               a. Coverage for Business Income does not                            from the damaged property; and
                   apply when a "suspension" of "opera-                       (2) The action of civil authority is taken
                   tions" is caused by destruction or cor-                         in response to dangerous physical
                   ruption of electronic data, or any loss                         conditions resulting from the dam-
                  or damage to electronic data, except as                          age or continuation of the Covered
                  provided under the Additional Coverage                           Cause of Loss that caused the dam-
                  — Interruption Of Computer Operations.                           age, or the action is taken to enable
               b. Coverage for Extra Expense does not                              a civil authority to have unimpeded
                  apply when action is taken to avoid or                           access to the damaged property.
                  minimize a "suspension" of "opera-                          Civil Authority Coverage for Business
                  tions" caused by destruction or corrup-                     Income will begin 72 hours after the
                  tion of electronic data, or any loss or                     time of the first action of civil authority
                  damage to electronic data, except as                        that prohibits access to the described
                  provided under the Additional Coverage                      premises and will apply for a period of
                  — Interruption Of Computer Operations.                      up to four consecutive weeks from the
               c. Electronic data means information,                          date on which such coverage began.
                  facts or computer programs stored as                        Civil Authority Coverage for Extra
                  or on, created or used on, or trans-                        Expense will begin immediately after
                  mitted to or from computer software                         the time of the first action of civil au-
                  (including systems and applications                         thority that prohibits access to the de-
                  software), on hard or floppy disks, CD-                     scribed premises and will end:
                  ROMs, tapes, drives, cells, data pro-                       (1) Four consecutive weeks after the
                  cessing devices or any other repos-                              date of that action; or
                  itories of computer software which are
                  used with electronically controlled                         (2) When your Civil Authority Coverage
                  equipment. The term computer pro-                                for Business Income ends;
                  grams, referred to in the foregoing                         whichever is later.
                  description of electronic data, means a                  b. Alterations And New Buildings
                  set of related electronic instructions
                  which direct the operations and func-                       We will pay for the actual loss of
                  tions of a computer or device con-                          Business Income you sustain and nec-
                  nected to it, which enable the computer                     essary Extra Expense you incur due to
                  or device to receive, process, store,                       direct physical loss or damage at the
                  retrieve or send data.                                      described premises caused by or resul-
                                                                              ting from any Covered Cause of Loss
            5. Additional Coverages                                           to:
               a. Civil Authority                                             (1) New buildings or structures, wheth-
                  In this Additional Coverage — Civil                              er complete or under construction;
                  Authority, the described premises are                       (2) Alterations or additions to existing
                  premises to which this Coverage Form                             buildings or structures; and
                  applies, as shown in the Declarations.




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                   (3) Machinery, equipment, supplies or                       (2)"Rental Value"
                         building materials located on or                          If the necessary "suspension" of
                         within 100 feet of the described                          your "operations" produces a
                         premises and:                                             "Rental Value" loss payable under
                        (a) Used in the construction, altera-                      this policy, we will pay for the
                             tions or additions; or                                actual loss of "Rental Value" you
                        (b) Incidental to the occupancy of                         incur during the period that:
                             new buildings.                                        (a) Begins on the date property is
                   If such direct physical loss or damage                              actually repaired, rebuilt or re-
                   delays the start of "operations", the                               placed and tenantability is
                   "period of restoration" for Business In-                            restored; and
                   come Coverage will begin on the date                            (b) Ends on the earlier of:
                   "operations" would have begun if the
                   direct physical loss or damage had not                              (i) The date you could restore
                                                                                            tenant occupancy, with
                   occurred.                                                                reasonable speed, to the
                c. Extended Business Income                                                 level which would generate
                                                                                            the "Rental Value" that
                   (1) Business Income Other Than                                           would have existed if no
                        "Rental Value"
                                                                                            direct physical loss or dam-
                        If the necessary "suspension" of                                    age had occurred; or
                        your "operations" produces a Busi-
                        ness Income loss payable under this                            (ii) 30 consecutive days after
                        policy, we will pay for the actual                                  the date determined in
                        loss of Business Income you incur                                   (2)(a) above.
                        during the period that:                                   However, Extended Business In-
                       (a) Begins on the date property                            come does not apply to loss of
                             (except "finished stock") is                         "Rental Value" incurred as a result
                             actually repaired, rebuilt or                        of unfavorable business conditions
                             replaced and "operations" are                        caused by the impact of the Cover-
                             resumed; and                                         ed Cause of Loss in the area where
                                                                                  the described premises are located.
                       (b) Ends on the earlier of:
                                                                                  Loss of "Rental Value" must be
                             (i) The date you could restore                       caused by direct physical loss or
                                 your "operations", with rea-                     damage at the described premises
                                 sonable speed, to the level                      caused by or resulting from any
                                 which would generate the                         Covered Cause of Loss.
                                 business income amount
                                 that would have existed if                d. Interruption Of Computer Operations
                                 no direct physical loss or                   (1) Under this Additional Coverage,
                                 damage had occurred; or                          electronic data has the meaning
                            (ii) 30 consecutive days after                        described under Additional Limi-
                                 the date determined in                           tation — Interruption Of Computer
                                 (1)(a) above.                                    Operations.
                       However, Extended Business In-                         (2) Subject to all provisions of this
                       come does not apply to loss of                             Additional Coverage, you may ex-
                       Business Income incurred as a                              tend the insurance that applies to
                       result of unfavorable business con-                        Business Income and Extra Expense
                       ditions caused by the impact of the                        to apply to a "suspension" of
                       Covered Cause of Loss in the area                          "operations" caused by an interrup-
                       where the described premises are                           tion in computer operations due to
                       located.                                                   destruction or corruption of elec-
                                                                                  tronic data due to a Covered Cause
                       Loss of Business Income must be                            of Loss.
                       caused by direct physical loss or
                       damage at the described premises                       (3) With respect to the coverage pro-
                       caused by or resulting from any                            vided under this Additional Cover-
                       Covered Cause of Loss.                                     age, the Covered Causes of Loss
                                                                                  are subject to the following:


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                          (a) If the Causes Of Loss - Special                      increase the amount of insurance in
                              Form applies, coverage under                         the next policy year. With respect
                              this Additional Coverage —                           to any interruption which begins in
                              Interruption Of Computer Oper-                       one policy year and continues or
                              ations is limited to the "spec-                      results in additional loss or expense
                              ified causes of loss" as defined                     in a subsequent policy year(s), all
                              in that form, and Collapse as                        loss and expense is deemed to be
                              set forth in that form.                              sustained or incurred in the policy
                         (b) If the Causes Of Loss — Broad                         year in which the interruption
                              Form applies, coverage under                         began.
                              this Additional Coverage —                       (5) This Additional Coverage — Inter-
                              Interruption Of Computer Oper-                       ruption in Computer Operations
                              ations includes Collapse as set                      does not apply to loss sustained or
                              forth in that form.                                  expense incurred after the end of
                         (c) If the Causes Of Loss Form is                         the "period of restoration", even if
                              endorsed to add a Covered                            the amount of insurance stated in
                              Cause of Loss, the additional                        (4) above has not been exhausted.
                              Covered Cause of Loss does               6. Coverage Extension
                              not apply to the coverage pro-               If a Coinsurance percentage of 50% or
                              vided under this Additional Cov-             more is shown in the Declarations, you
                              erage — Interruption Of Com-                  may extend the insurance provided by this
                              puter Operations.                             Coverage Part as follows:
                         (d) The Covered Causes of Loss                     NEWLY ACQUIRED LOCATIONS
                              include a virus, harmful code or
                              similar instruction introduced               a. You may extend your Business Income
                              into or enacted on a computer                    and Extra Expense Coverages to apply
                              system (including electronic                     to property at any location you acquire
                              data) or a network to which it is                other than fairs or exhibitions.
                              connected, designed to damage                b. The most we will pay under this
                              or destroy any part of the sys-                  Extension, for the sum of Business In-
                              tem or disrupt its normal oper-                  come loss and Extra Expense incurred,
                              ation. But there is no coverage                  is $100,000 at each location.
                              for an interruption related to               c. Insurance under this Extension for each
                              manipulation of a computer                       newly acquired location will end when
                              system (including electronic                     any of the following first occurs:
                              data) by any employee, includ-
                              ing a temporary or leased em-                    (1) This policy expires;
                              ployee, or by an entity retained                 (2) 30 days expire after you acquire or
                              by you or for you to inspect,                        begin to construct the property; or
                              design, install, maintain, repair
                                                                               (3) You report values to us.
                              or replace that system.
                                                                               We will charge you additional premium
                     (4) The most we will pay under this
                                                                               for values reported from the date you
                         Additional Coverage — Interruption
                                                                               acquire the property.
                         of Computer Operations is $2,500
                         for all loss sustained and expense                The Additional Condition, Coinsurance,
                         incurred in any one policy year,                  does not apply to this Extension.
                         regardless of the number of inter-         B. Limits Of Insurance
                         ruptions or the number of premises,
                         locations or computer systems in-             The most we will pay for loss in any one
                         volved. If loss payment relating to           occurrence is the applicable Limit of Insurance
                         the first interruption does not ex-           shown in the Declarations.
                         haust this amount, then the balance           Payments under the following coverages will
                         is available for loss or expense sus-         not increase the applicable Limit of Insurance:
                         tained or incurred as a result of             1. Alterations And New Buildings;
                         subsequent interruptions in that              2. Civil Authority;
                         policy year. A balance remaining at           3. Extra Expense; or
                         the end of a policy year does not             4. Extended Business Income.



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           The amounts of insurance stated in the Inter-                           will not increase the Limit of
           ruption Of Computer Operations Additional                               Insurance. However, we will not
           Coverage and the Newly Acquired Locations                               pay for any subsequent loss or
           Coverage Extension apply in accordance with                             damage resulting from a cause of
           the terms of those coverages and are separate                           loss that is not a Covered Cause of
           from the Limit(s) of Insurance shown in the                             Loss. Also, if feasible, set the dam-
           Declarations for any other coverage.                                    aged property aside and in the best
        C. Loss Conditions                                                         possible order for examination.
           The following conditions apply in addition to                      (5) As often as may be reasonably
           the Common Policy Conditions and the Com-                               required, permit us to inspect the
           mercial Property Conditions.                                            property proving the loss or dam-
                                                                                   age and examine your books and
           1. Appraisal                                                            records.
               If we and you disagree on the amount of                             Also permit us to take samples of
               Net Income and operating expense or the                             damaged and undamaged property
               amount of loss, either may make written                             for inspection, testing and analysis,
               demand for an appraisal of the loss. In this                        and permit us to make copies from
               event, each party will select a competent                           your books and records.
               and impartial appraiser.
                                                                              (6) Send us a signed, sworn proof of
               The two appraisers will select an umpire. If                        loss containing the information we
               they cannot agree, either may request that                          request to investigate the claim.
               selection be made by a judge of a court                             You must do this within 60 days
               having jurisdiction. The appraisers will state                      after our request. We will supply
               separately the amount of Net Income and                             you with the necessary forms.
               operating expense or amount of loss. If
               they fail to agree, they will submit their                     (7) Cooperate with us in the investi-
               differences to the umpire. A decision                               gation or settlement of the claim.
               agreed to by any two will be binding. Each                     (8) If you intend to continue your busi-
               party will:                                                         ness, you must resume all or part
               a. Pay its chosen appraiser; and                                    of your "operations" as quickly as
                                                                                   possible.
               b. Bear the other expenses of the ap-
                    praisal and umpire equally.                            b. We may examine any insured under
                                                                              oath, while not in the presence of any
               If there is an appraisal, we will still retain                 other insured and at such times as may
               our right to deny the claim.                                   be reasonably required, about any
           2. Duties In The Event Of Loss                                     matter relating to this insurance or the
                                                                              claim, including an insured's books and
               a. You must see that the following are
                                                                              records. In the event of an examination,
                    done in the event of loss:
                                                                              an insured's answers must be signed.
                    (1) Notify the police if a law may have
                                                                        3. Loss Determination
                        been broken.
                                                                           a. The amount of Business Income loss
                    (2) Give us prompt notice of the direct
                                                                              will be determined based on:
                        physical loss or damage. Include a
                        description    of     the   property                  (1) The Net Income of the business
                        involved.                                                  before the direct physical loss or
                                                                                   damage occurred;
                    (3) As soon as possible, give us a
                        description of how, when, and                         (2) The likely Net Income of the
                        where the direct physical loss or                          business if no physical loss or dam-
                        damage occurred.                                           age had occurred, but not including
                                                                                   any Net Income that would likely
                    (4) Take all reasonable steps to protect
                                                                                   have been earned as a result of an
                        the Covered Property from further
                                                                                   increase in the volume of business
                        damage, and keep a record of your
                        expenses necessary to protect the                          due to favorable business condi-
                                                                                   tions caused by the impact of the
                        Covered Property, for consideration
                                                                                   Covered Cause of Loss on custom-
                        in the settlement of the claim. This
                                                                                   ers or on other businesses;




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                    (3) The operating expenses, including              4. Loss Payment
                        payroll expenses, necessary to re-                  We will pay for covered loss within 30
                        sume "operations" with the same                     days after we receive the sworn proof of
                        quality of service that existed just                loss, if you have complied with all of the
                        before the direct physical loss or                  terms of this Coverage Part and:
                        damage; and
                                                                            a. We have reached agreement with you
                    (4) Other relevant sources of informa-                      on the amount of loss; or
                        tion, including:
                                                                            b. An appraisal award has been made.
                        (a) Your financial records and ac-
                             counting procedures;                   D. Additional Condition
                        (b) Bills, invoices and other vouch-           COINSURANCE
                            ers; and                                   If a Coinsurance percentage is shown in the
                        (c) Deeds, liens or contracts.                 Declarations, the following condition applies in
                                                                       addition to the Common Policy Conditions and
                b. The amount of Extra Expense will be                 the Commercial Property Conditions.
                    determined based on:
                                                                       We will not pay the full amount of any Busi-
                   (1) All expenses that exceed the nor-               ness Income loss if the Limit of Insurance for
                        mal operating expenses that would              Business Income is less than:
                        have been incurred by "operations"
                        during the "period of restoration" if          1. The Coinsurance percentage shown for
                        no direct physical loss or damage                   Business Income in the Declarations; times
                        had occurred. We will deduct from              2. The sum of:
                        the total of such expenses:                         a. The Net Income (Net Profit or Loss
                        (a) The salvage value that remains                      before income taxes), and
                            of any property bought for tem-                 b. Operating expenses, including payroll
                            porary use during the "period of                    expenses,
                            restoration", once "operations"
                            are resumed; and                                that would have been earned or incurred
                                                                            (had no loss occurred) by your "operations"
                        (b) Any Extra Expense that is paid                  at the described premises for the 12
                            for by other insurance, except                  months following the inception, or last
                            for insurance that is written                   previous anniversary date, of this policy
                            subject to the same plan,                       (whichever is later).
                            terms, conditions and provi-
                            sions as this insurance; and               Instead, we will determine the most we will
                                                                       pay using the following steps:
                   (2) Necessary expenses that reduce the
                        Business Income loss that other-                Step (1): Multiply the Net Income and
                        wise would have been incurred.                              operating expense for the 12
                                                                                    months following the inception, or
                c. Resumption Of Operations                                         last previous anniversary date, of
                   We will reduce the amount of your:                               this policy by the Coinsurance
                   (1) Business Income loss, other than                             percentage;
                        Extra Expense, to the extent you                Step (2): Divide the Limit of Insurance for the
                        can resume your "operations", in                            described premises by the figure de-
                        whole or in part, by using damaged                          termined in Step (1); and
                        or undamaged property (including                Step (3): Multiply the total amount of loss by
                        merchandise or stock) at the de-                            the figure determined in Step (2).
                        scribed premises or elsewhere.
                                                                       We will pay the amount determined in Step (3)
                   (2) Extra Expense loss to the extent                or the limit of insurance, whichever is less. For
                        you can return "operations" to nor-            the remainder, you will either have to rely on
                        mal and discontinue such Extra                 other insurance or absorb the loss yourself.
                        Expense.
                                                                       In determining operating expenses for the pur-
                d. If you do not resume "operations", or               pose of applying the Coinsurance condition, the
                   do not resume "operations" as quickly               following expenses, if applicable, shall be de-
                   as possible, we will pay based on the               ducted from the total of all operating expenses:
                   length of time it would have taken to
                                                                                (1) Prepaid freight — outgoing;
                   resume "operations" as quickly as
                   possible.                                                    (2) Returns and allowances;

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                 (3) Discounts;                                     EXAMPLE #2 (ADEQUATE INSURANCE)
                 (4) Bad debts;                                      When:        The Net Income and operating
                 (5) Collection expenses;                                         expenses for the 12 months
                 (6) Cost of raw stock and factory sup-                           following the inception, or last
                      plies consumed (including transpor-                         previous anniversary date, of this
                      tation charges);                                            policy at the described premises
                                                                                  would have been:              $ 400,000
                 (7) Cost of merchandise sold (including
                      transportation charges);                                    The Coinsurance percentage
                                                                                  is:                                50%
                 (8) Cost of other supplies consumed
                     (including transportation charges);                          The Limit of Insurance is: $ 200,000
                 (9) Cost of services purchased from                              The amount of loss is:       $ 80,000
                     outsiders (not employees) to resell,          The minimum amount of insurance to meet your
                     that do not continue under                    Coinsurance requirement is $200,000 ($400,000 x
                     contract;                                     50%). Therefore, the Limit of Insurance in this
                 (10)Power, heat and refrigeration                 example is adequate and no penalty applies. We
                     expenses that do not continue                 will pay no more than $80,000 (amount of loss).
                     under contract (if Form CP 15 11 is           This condition does not apply to Extra Expense
                     attached);                                    Coverage.
                 (11)All ordinary payroll expenses or the          E. Optional Coverages
                     amount of payroll expense exclud-
                     ed (if Form CP 15 10 is attached);                 If shown as applicable in the Declarations, the
                     and                                                following Optional Coverages apply separately
                                                                        to each item.
                 (12)Special deductions for mining pro-
                                                                        1. Maximum Period Of Indemnity
                     perties (royalties unless specifi-
                     cally included in coverage; actual                      a. The Additional Condition, Coinsurance,
                     depletion commonly known as unit                           does not apply to this Coverage Form
                     or cost depletion — not percentage                         at the described premises to which this
                     depletion; welfare and retirement                           Optional Coverage applies.
                     fund charges based on tonnage;                          b. The most we will pay for the total of
                     hired trucks).                                             Business Income loss and Extra Ex-
        EXAMPLE #1 (UNDERINSURANCE)                                             pense is the lesser of:
         When:     The Net Income and operating                                 (1) The amount of loss sustained and
                   expenses for the 12 months                                       expenses incurred during the 120
                   following the inception, or last                                 days immediately following the be-
                   previous anniversary date, of this                               ginning of the "period of restora-
                   policy at the described premises                                 tion"; or
                   would have been:              $ 400,000                      (2) The Limit of Insurance shown in the
                   The Coinsurance percentage                                       Declarations.
                   is:                                50%              2. Monthly Limit Of Indemnity
                   The Limit of Insurance is: $ 150,000                     a. The Additional Condition, Coinsurance,
                   The amount of loss is:       $ 80,000                        does not apply to this Coverage Form
                                                                                at the described premises to which this
         Step (1): $400,000 x 50% = $200,000                                    Optional Coverage applies.
                   (the minimum amount of insurance to                      b. The most we will pay for loss of Busi-
                   meet your Coinsurance requirements)
                                                                                ness Income in each period of 30 con-
         Step (2): $150,000 ÷ $200,000 = .75                                    secutive days after the beginning of the
         Step (3): $80,000 x .75 = $60,000                                      "period of restoration" is:
       We will pay no more than $60,000. The remaining                          (1) The Limit of Insurance, multiplied
       $20,000 is not covered.                                                      by
                                                                                (2) The fraction shown in the Declara-
                                                                                    tions for this Optional Coverage.




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        EXAMPLE                                                            (1) 12 months after the effective date
                                                                                of this Optional Coverage; or
        When:    The Limit of Insurance is:       $ 120,000
                 The fraction shown in the                                 (2) The expiration date of this policy;
                 Declarations for this Optional                            whichever occurs first.
                 Coverage is:                            1/4            c. We will reinstate the Additional Condi-
                 The most we will pay for loss in                          tion, Coinsurance, automatically if you
                 each period of 30 consecutive                             do not submit a new Work Sheet and
                 days is:                         $ 30,000                 Agreed Value:
                 ($120,000 x 1/4 = $30,000)
                                                                           (1) Within 12 months of the effective
                 If, in this example, the actual                                date of this Optional Coverage; or
                 amount of loss is:                                        (2) When you request a change in your
                 Days 1-30:                         $ 40,000                   Business Income Limit of Insurance.
                 Days 31-60:                        $ 20,000            d. If the Business Income Limit of Insur-
                 Days 61-90:                        $ 30,000               ance is less than the Agreed Value, we
                                                  $ 90,000                 will not pay more of any loss than the
                 We will pay:                                              amount of loss multiplied by:
                 Days 1-30:                       $ 30,000                 (1) The Business Income Limit of Insur-
                                                                               ance; divided by
                 Days 31-60:                      $ 20,000
                                                                           (2) The Agreed Value.
                 Days 61-90:                      $ 30,000
                                                  $ 80,000         EXAMPLE
                 The remaining $10,000 is not covered.              When:     The Limit of Insurance is: $ 100,000
            3. Business Income Agreed Value                                   The Agreed Value is:       $ 200,000
               a. To activate this Optional Coverage:                         The amount of loss is:     $ 80,000
                    (1) A Business Income Report/Work               Step (1): $100,000 ÷ $200,000 = .50
                         Sheet must be submitted to us and
                         must show financial data for your          Step (2): 50 x $80,000 = $40,000
                         "operations":
                         (a) During the 12 months prior to
                             the date of the Work Sheet; and       We will pay $40,000. The remaining $40,000 is
                                                                   not covered.
                         (b) Estimated for the 12 months
                             immediately     following    the         4. Extended Period Of Indemnity
                             inception of this Optional                   Under Paragraph A.5.c., Extended Business
                             Coverage.                                    Income, the number 30 in Subparagraphs
                    (2) The Declarations must indicate that               (1)(b) and (2)(b) is replaced by the number
                         the Business Income Agreed Value                 shown in the Declarations for this Optional
                         Optional Coverage applies, and an                Coverage.
                         Agreed Value must be shown in the         F. Definitions
                         Declarations. The Agreed Value
                         should be at least equal to:                 1. "Finished stock" means stock you have
                                                                          manufactured.
                         (a) The Coinsurance percentage
                             shown in the Declarations;                   "Finished stock" also includes whiskey and
                             multiplied by                                alcoholic products being aged, unless there
                                                                          is a Coinsurance percentage shown for
                         (b) The amount of Net Income and                 Business Income in the Declarations.
                             operating expenses for the
                             following 12 months you report               "Finished stock" does not include stock
                             on the Work Sheet.                           you have manufactured that is held for sale
                                                                          on the premises of any retail outlet insured
               b. The Additional Condition, Coinsurance,                  under this Coverage Part.
                   is suspended until:




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             2. "Operations" means:                                        The expiration date of this policy will not
                a. Your business activities occurring at                   cut short the "period of restoration".
                    the described premises; and                         4. "Pollutants" means any solid, liquid, gas-
                b. The tenantability of the described prem-                eous or thermal irritant or contaminant, in-
                    ises, if coverage for Business Income                  cluding smoke, vapor, soot, fumes, acids,
                    Including "Rental Value" or "Rental                    alkalis, chemicals and waste. Waste in-
                    Value" applies.                                        cludes materials to be recycled, recondi-
                                                                           tioned or reclaimed.
             3. "Period of restoration" means the period of
                time that:                                              5. "Rental Value" means Business Income that
                                                                           consists of:
                a. Begins:
                                                                           a. Net Income (Net Profit or Loss before
                    (1) 72 hours after the time of direct                      income taxes) that would have been
                        physical loss or damage for Busi-                      earned or incurred as rental income
                        ness Income Coverage; or                               from tenant occupancy of the premises
                    (2) Immediately after the time of direct                   described in the Declarations as fur-
                        physical loss or damage for Extra                      nished and equipped by you, including
                        Expense Coverage;                                      fair rental value of any portion of the
                                                                               described premises which is occupied
                    caused by or resulting from any Cov-
                                                                               by you; and
                    ered Cause of Loss at the described
                    premises; and                                          b. Continuing normal operating expenses
                                                                               incurred in connection with that prem-
                b. Ends on the earlier of:
                                                                               ises, including:
                    (1) The date when the property at the
                                                                               (1) Payroll; and
                        described premises should be re-
                        paired, rebuilt or replaced with                       (2) The amount of charges which are
                        reasonable speed and similar                                the legal obligation of the tenant(s)
                        quality; or                                                 but would otherwise be your
                                                                                   obligations.
                   (2) The date when business is resumed
                        at a new permanent location.                    6. "Suspension" means:
                "Period of restoration" does not include                   a. The slowdown or cessation of your
                any increased period required due to the                       business activities; or
                enforcement of any ordinance or law that:                  b. That a part or all of the described prem-
                   (1) Regulates the construction, use or                      ises is rendered untenantable, if cover-
                        repair, or requires the tearing down,                  age for Business Income Including
                        of any property; or                                    "Rental Value" or "Rental Value"
                                                                               applies.
                   (2) Requires any insured or others to
                        test for, monitor, clean up, remove,
                        contain, treat, detoxify or neu-
                        tralize, or in any way respond to, or
                        assess the effects of "pollutants".




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                                                                                          COMMERCIAL PROPERTY


                            COMMERCIAL PROPERTY CONDITIONS
        This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable
        Loss Conditions and Additional Conditions in Commercial Property Coverage Forms.

        A. CONCEALMENT, MISREPRESENTATION OR                     F. NO BENEFIT TO BAILEE
            FRAUD                                                   No person or organization, other than you,
            This Coverage Part is void in any case of fraud         having custody of Covered Property will benefit
            by you as it relates to this Coverage Part at any       from this insurance.
            time. It is also void if you or any other insured,   G. OTHER INSURANCE
            at any time, intentionally conceal or
            misrepresent a material fact concerning:                 1. You may have other insurance subject to
                                                                        the same plan, terms, conditions and
            1. This Coverage Part;                                      provisions as the insurance under this
            2. The Covered Property;                                    Coverage Part. If you do, we will pay our
            3. Your interest in the Covered Property; or                share of the covered loss or damage. Our
                                                                        share is the proportion that the applicable
            4. A claim under this Coverage Part.                        Limit of Insurance under this Coverage Part
        B. CONTROL OF PROPERTY                                          bears to the Limits of Insurance of all
            Any act or neglect of any person other than                 insurance covering on the same basis.
            you beyond your direction or control will not            2. If there is other insurance covering the same
            affect this insurance.                                      loss or damage, other than that described in
                                                                        1. above, we will pay only for the amount
            The breach of any condition of this Coverage
                                                                        of covered loss or damage in excess of the
            Part at any one or more locations will not affect
            coverage at any location where, at the time of              amount due from that other insurance,
            loss or damage, the breach of condition does                whether you can collect on it or not. But we
            not exist.                                                  will not pay more than the applicable Limit
                                                                        of Insurance.
        C. INSURANCE UNDER TWO OR MORE COVER-
            AGES                                                 H. POLICY PERIOD, COVERAGE TERRITORY
           If two or more of this policy's coverages apply          Under this Coverage Part:
            to the same loss or damage, we will not pay             1. We cover loss or damage commencing:
            more than the actual amount of the loss or                   a. During the policy period shown in the
            damage.                                                         Declarations; and
        D. LEGAL ACTION AGAINST US                                      b. Within the coverage territory.
           No one may bring a legal action against us               2. The coverage territory is:
            under this Coverage Part unless:
                                                                        a. The United States of America (including
           1. There has been full compliance with all of                    its territories and possessions);
               the terms of this Coverage Part; and
                                                                        b. Puerto Rico; and
           2. The action is brought within 2 years after
               the date on which the direct physical loss or            c. Canada.
               damage occurred.
        E. LIBERALIZATION
           If we adopt any revision that would broaden
           the coverage under this Coverage Part without
           additional premium within 45 days prior to or
           during the policy period, the broadened
           coverage will immediately apply to this Cove-
           rage Part.




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        I. TRANSFER OF RIGHTS OF RECOVERY                          1. Prior to a loss to your Covered Property or
           AGAINST OTHERS TO US                                       Covered Income.
           If any person or organization to or for whom            2. After a loss to your Covered Property or
           we make payment under this Coverage Part has               Covered Income only if, at time of loss, that
           rights to recover damages from another, those              party is one of the following:
           rights are transferred to us to the extent of our          a. Someone insured by this insurance;
           payment. That person or organization must do
           everything necessary to secure our rights and              b. A business firm:
           must do nothing after loss to impair them. But               (1) Owned or controlled by you; or
           you may waive your rights against another                    (2) That owns or controls you; or
           party in writing:
                                                                      c. Your tenant.
                                                                   This will not restrict your insurance.




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                                                                                                COMMERCIAL PROPERTY
                                                                                                      CP 01 23 04 08

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                   OHIO CHANGES
        This endorsement modifies insurance provided under the following:

            COMMERCIAL PROPERTY COVERAGE PART
            STANDARD PROPERTY POLICY

        A. Paragraphs c. and g. of the Loss Payment Loss                    Coverage Form;
           Condition are replaced by the following, except              3. Extra Expense Coverage Form;
           as provided in Paragraph B.:
                                                                        4. Leasehold Interest Coverage Form; and
               c. We will give you notice, within 21 days
                   after we receive a properly executed                 5. Mortgageholders Errors And Omissions
                   proof of loss, that we:                                  Coverage Form.
                   (1) Accept your claim;                               In the forms listed above, the Loss Payment
                                                                        Loss Condition is replaced by the following:
                   (2) Deny your claim; or
                                                                            LOSS PAYMENT
                   (3) Need more time to investigate your
                        claim.                                              a. We will give you notice, within 21 days
                                                                               after we receive a properly executed
                   If we need more time to investigate                          proof of loss, that we:
                   your claim, we will provide an explana-
                   tion for our need for more time. We will                    (1) Accept your claim;
                   continue to notify you again in writing,                    (2) Deny your claim; or
                   at least every 45 days, of the status of                    (3) Need more time to investigate your
                   the investigation and of the continued                           claim.
                   time needed for the investigation.
                                                                               If we need more time to investigate
               g. Provided you have complied with all the                      your claim, we will provide an explana-
                   terms of this Coverage Part, we will                        tion for our need for more time. We will
                   pay for covered loss or damage within:                       continue to notify you again in writing,
                   (1) 10 days after we accept your claim                      at least every 45 days, of the status of
                       if such acceptance occurs within                        the investigation and of the continued
                       the first 21 days after we receive a                    time needed for the investigation.
                       properly executed proof of loss,                     b. Provided you have complied with all the
                       unless the claim involves an action                     terms of this Coverage Part, we will
                       by a probate court or other extra-                      pay for covered loss or damage within:
                       ordinary circumstances as docu-
                       mented in the claim file; or                            (1) 10 days after we accept your claim
                                                                                   if such acceptance occurs within
                  (2) Five days after we accept your                               the first 21 days after we receive a
                       claim if such acceptance occurs                              properly executed proof of loss,
                       more than 21 days after we receive                          unless the claim involves an action
                       a properly executed proof of loss,                          by a probate court or other
                       and                                                         extraordinary circumstances as
                       (a) An appraisal award has been                             documented in the claim file; or
                            made; or                                           (2) Five days after we accept your
                       (b) We have reached an agreement                             claim if such acceptance occurs
                            with you on the amount of loss                         more than 21 days after we receive
                            that was in dispute.                                   a properly executed proof of loss,
        B. Paragraph A. does not apply to the Loss                                 and
           Payment Loss Condition in the following forms:                          (a) An appraisal award has been
           1. Business Income (And Extra Expense)                                       made; or
              Coverage Form;                                                       (b) We have reached an agreement
           2. Business Income (Without Extra Expense)                                   with you on the amount of loss
                                                                                        that was in dispute.
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                                                                                            COMMERCIAL PROPERTY
                                                                                                  CP 01 40 07 06

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
               EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
        This endorsement modifies insurance provided under the following:

            COMMERCIAL PROPERTY COVERAGE PART
            STANDARD PROPERTY POLICY

        A. The exclusion set forth in Paragraph B. applies            supersedes any exclusion            relating    to
           to all coverage under all forms and                        "pollutants".
           endorsements that comprise this Coverage Part           D. The following provisions in this Coverage Part
           or Policy, including but not limited to forms or           or Policy are hereby amended to remove refer-
           endorsements that cover property damage to                 ence to bacteria:
           buildings or personal property and forms or
           endorsements that cover business income,                   1. Exclusion of "Fungus", Wet Rot, Dry Rot
           extra expense or action of civil authority.                    And Bacteria; and
        B. We will not pay for loss or damage caused by               2. Additional Coverage - Limited Coverage for
           or resulting from any virus, bacterium or other                "Fungus", Wet Rot, Dry Rot And Bacteria,
           microorganism that induces or is capable of                    including any endorsement increasing the
           inducing physical distress, illness or disease.                scope or amount of coverage.
           However, this exclusion does not apply to loss          E. The terms of the exclusion in Paragraph B., or
           or damage caused by or resulting from                      the inapplicability of this exclusion to a partic-
           "fungus", wet rot or dry rot. Such loss or                 ular loss, do not serve to create coverage for
           damage is addressed in a separate exclusion in             any loss that would otherwise be excluded un-
           this Coverage Part or Policy.                              der this Coverage Part or Policy.
        C. With respect to any loss or damage subject to
           the exclusion in Paragraph B., such exclusion




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                                                                                                            UNIFORM
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                                                                                                 COMMERCIAL PROPERTY
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                               CAUSES OF LOSS - SPECIAL FORM
        Words and phrases that appear in quotation marks have special meaning. Refer to Section G., Definitions.

        A. Covered Causes Of Loss                                                  (3) Mine subsidence, meaning sub-
           When Special is shown in the Declarations,                                  sidence of a man-made mine,
           Covered Causes of Loss means Risks Of Direct                                whether or not mining activity has
           Physical Loss unless the loss is:                                           ceased;
           1. Excluded in Section B., Exclusions; or                               (4) Earth sinking (other than sinkhole
                                                                                       collapse), rising or shifting including
           2. Limited in Section C., Limitations;                                      soil conditions which cause settl-
           that follow.                                                                ing, cracking or other disarrange-
                                                                                       ment of foundations or other parts
        B. Exclusions
                                                                                       of realty. Soil conditions include
           1. We will not pay for loss or damage caused                                contraction, expansion, freezing,
               directly or indirectly by any of the follow-                            thawing, erosion, improperly com-
               ing. Such loss or damage is excluded re-                                pacted soil and the action of water
               gardless of any other cause or event that                               under the ground surface.
               contributes concurrently or in any sequence
                                                                                   But if Earth Movement, as described in
               to the loss.
                                                                                   b.(1) through (4) above, results in fire
               a. Ordinance Or Law                                                 or explosion, we will pay for the loss
                    The enforcement of any ordinance or                            or damage caused by that fire or
                    law:                                                           explosion.
                    (1) Regulating the construction, use or                        (5) Volcanic eruption, explosion or
                        repair of any property; or                                     effusion. But if volcanic eruption,
                                                                                       explosion or effusion results in fire,
                    (2) Requiring the tearing down of any                              building glass breakage or Volcanic
                        property, including the cost of re-                            Action, we will pay for the loss or
                        moving its debris.                                             damage caused by that fire,
                    This exclusion, Ordinance Or Law, ap-                              building glass breakage or Volcanic
                    plies whether the loss results from:                               Action.
                        (a) An ordinance or law that is en-                            Volcanic Action means direct loss
                            forced even if the property has                            or damage resulting from the erup-
                            not been damaged; or                                       tion of a volcano when the loss or
                        (b) The increased costs incurred to                            damage is caused by:
                            comply with an ordinance or                                (a) Airborne volcanic blast or air-
                            law in the course of construc-                                 borne shock waves;
                            tion, repair, renovation, remod-                           (b) Ash, dust or particulate matter;
                            eling or demolition of property,                               or
                            or removal of its debris, fol-
                            lowing a physical loss to that                             (c) Lava flow.
                            property.                                                  All volcanic eruptions that occur
              b. Earth Movement                                                        within any 168-hour period will
                                                                                       constitute a single occurrence.
                   (1) Earthquake, including any earth
                        sinking, rising or shifting related to                         Volcanic Action does not include
                        such event;                                                    the cost to remove ash, dust or
                                                                                       particulate matter that does not
                   (2) Landslide, including any earth sink-                            cause direct physical loss or dam-
                        ing, rising or shifting related to                             age to the described property.
                        such event;




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                 c. Governmental Action                                             sovereign or other authority using
                     Seizure or destruction of property by                          military personnel or other agents;
                     order of governmental authority.                               or
                     But we will pay for loss or damage                        (3) Insurrection, rebellion, revolution,
                     caused by or resulting from acts of                            usurped power, or action taken by
                     destruction ordered by governmental                            governmental authority in hindering
                     authority and taken at the time of a fire                      or defending against any of these.
                     to prevent its spread, if the fire would              g. Water
                     be covered under this Coverage Part.                      (1) Flood, surface water, waves, tides,
                d. Nuclear Hazard                                                   tidal waves, overflow of any body
                    Nuclear reaction or radiation, or radio-                        of water, or their spray, all whether
                     active contamination, however caused.                          driven by wind or not;
                    But if nuclear reaction or radiation, or                   (2) Mudslide or mudflow;
                     radioactive contamination, results in                     (3) Water that backs up or overflows
                    fire, we will pay for the loss or damage                        from a sewer, drain or sump; or
                    caused by that fire.                                       (4) Water under the ground surface
                e. Utility Services                                                 pressing on, or flowing or seeping
                    The failure of power, communication,                            through:
                    water or other utility service supplied                         (a) Foundations, walls, floors or
                    to the described premises, however                                  paved surfaces;
                    caused, if the failure:                                         (b) Basements, whether paved or
                    (1) Originates away from the described                              not; or
                          premises; or                                              (c) Doors, windows or other
                    (2) Originates at the described prem-                               openings.
                         ises, but only if such failure in-                    But if Water, as described in g.(1)
                         volves equipment used to supply                       through g.(4) above, results in fire,
                         the utility service to the described                  explosion or sprinkler leakage, we will
                         premises from a source away from                      pay for the loss or damage caused by
                         the described premises.                               that fire, explosion or sprinkler leakage.
                    Failure of any utility service includes                h. "Fungus", Wet Rot, Dry Rot And
                    lack of sufficient capacity and reduction                  Bacteria
                    in supply.
                                                                               Presence, growth, proliferation, spread
                    Loss or damage caused by a surge of                        or any activity of "fungus", wet or dry
                    power is also excluded, if the surge                       rot or bacteria.
                    would not have occurred but for an
                    event causing a failure of power.                          But if "fungus", wet or dry rot or bac-
                                                                               teria results in a "specified cause of
                    But if the failure or surge of power, or                   loss", we will pay for the loss or dam-
                    the failure of communication, water or                     age caused by that "specified cause of
                    other utility service, results in a Cov-                   loss".
                    ered Cause of Loss, we will pay for the
                    loss or damage caused by that Covered                      This exclusion does not apply:
                    Cause of Loss.                                             1. When "fungus", wet or dry rot or
                    Communication services include but are                          bacteria results from fire or light-
                    not limited to service relating to Inter-                       ning; or
                    net access or access to any electronic,                    2. To the extent that coverage is pro-
                    cellular or satellite network.                                  vided in the Additional Coverage —
                f. War And Military Action                                          Limited Coverage For "Fungus",
                                                                                   Wet Rot, Dry Rot And Bacteria with
                    (1) War, including undeclared or civil                         respect to loss or damage by a
                         war;                                                       cause of loss other than fire or
                    (2) Warlike action by a military force,                        lightning.
                         including action in hindering or                  Exclusions B.1.a. through B.1.h. apply
                         defending against an actual or ex-                whether or not the loss event results in
                         pected attack, by any government,                 widespread damage or affects a substantial
                                                                           area.


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            2. We will not pay for loss or damage caused                                (a) Dampness or dryness of
               by or resulting from any of the following:                                    atmosphere;
               a. Artificially generated electrical, mag-                               (b) Changes in or extremes of
                   netic or electromagnetic energy that                                      temperature; or
                   damages, disturbs, disrupts or other-                                (c) Marring or scratching.
                   wise interferes with any:
                                                                                   But if an excluded cause of loss that is
                   (1) Electrical or electronic wire, device,                      listed in 2.d.(1) through (7) results in a
                       appliance, system or network; or                            "specified cause of loss" or building
                   (2) Device, appliance, system or                                glass breakage, we will pay for the loss
                       network utilizing cellular or satellite                     or damage caused by that "specified
                       technology.                                                 cause of loss" or building glass
                  For the purpose of this exclusion, elec-                         breakage.
                   trical, magnetic or electromagnetic en-                  e.     Explosion of steam boilers, steam
                   ergy includes but is not limited to:                            pipes, steam engines or steam turbines
                       (a) Electrical current, including                           owned or leased by you, or operated
                            arcing;                                                under your control. But if explosion of
                                                                                   steam boilers, steam pipes, steam
                       (b) Electrical charge produced or                           engines or steam turbines results in fire
                            conducted by a magnetic or                             or combustion explosion, we will pay
                            electromagnetic field;                                 for the loss or damage caused by that
                       (c) Pulse       of     electromagnetic                      fire or combustion explosion. We will
                            energy; or                                             also pay for loss or damage caused by
                       (d) Electromagnetic       waves     or                      or resulting from the explosion of gases
                                                                                   or fuel within the furnace of any fired
                            microwaves.
                                                                                   vessel or within the flues or passages
                  But if fire results, we will pay for the                         through which the gases of combustion
                  loss or damage caused by that fire.                              pass.
               b. Delay, loss of use or loss of market.                     f.     Continuous or repeated seepage or
               c. Smoke, vapor or gas from agricultural                            leakage of water, or the presence or
                  smudging or industrial operations.                               condensation of humidity, moisture or
                                                                                   vapor, that occurs over a period of 14
               d. (1) Wear and tear;                                               days or more.
                  (2) Rust or other corrosion, decay,                       g.     Water, other liquids, powder or molten
                       deterioration, hidden or latent de-                         material that leaks or flows from
                       fect or any quality in property that                        plumbing, heating, air conditioning or
                       causes it to damage or destroy                              other equipment (except fire protective
                       itself;                                                     systems) caused by or resulting from
                  (3) Smog;                                                        freezing, unless:
                  (4) Settling, cracking, shrinking or                             (1) You do your best to maintain heat
                       expansion;                                                       in the building or structure; or
                  (5)  Nesting   or infestation, or discharge                      (2) You drain the equipment and shut
                       or release of waste products or se-                              off the supply if the heat is not
                       cretions, by insects, birds, rodents                             maintained.
                       or other animals.                                    h.     Dishonest or criminal act by you, any
                  (6) Mechanical breakdown, including                              of your partners, members, officers,
                       rupture or bursting caused by cen-                          managers, employees (including leased
                       trifugal force. But if mechanical                           employees), directors, trustees, autho-
                       breakdown results in elevator col-                          rized representatives or anyone to
                       lision, we will pay for the loss or                         whom you entrust the property for any
                       damage caused by that elevator                              purpose:
                       collision.                                                  (1) Acting alone or in collusion with
                  (7)  The  following causes of loss to per-                            others; or
                       sonal property:                                             (2) Whether or not occurring during the
                                                                                        hours of employment.




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                     This exclusion does not apply to acts of                 This exclusion, I., does not apply to
                     destruction by your employees (includ-                   damage to glass caused by chemicals
                     ing leased employees); but theft by em-                  applied to the glass.
                     ployees (including leased employees) is              m. Neglect of an insured to use all reason-
                     not covered.                                             able means to save and preserve pro-
                 i. Voluntary parting with any property by                    perty from further damage at and after
                     you or anyone else to whom you have                      the time of loss.
                     entrusted the property if induced to do           3. We will not pay for loss or damage caused
                     so by any fraudulent scheme, trick, de-              by or resulting from any of the following,
                     vice or false pretense.                              3.a. through 3.c. But if an excluded cause
                J. Rain, snow, ice or sleet to personal pro-              of loss that is listed in 3.a. through 3.c.
                     perty in the open.                                   results in a Covered Cause of Loss, we will
                 k. Collapse, including any of the following              pay for the loss or damage caused by that
                     conditions of property or any part of                Covered Cause of Loss.
                     the property:                                        a. Weather conditions. But this exclusion
                    (1) An abrupt falling down or caving in;                  only applies if weather conditions con-
                                                                              tribute in any way with a cause or
                    (2) Loss of structural integrity, includ-                 event excluded in Paragraph 1. above
                         ing separation of parts of the pro-                  to produce the loss or damage.
                         perty or property in danger of fall-
                         ing down or caving in; or                        b. Acts or decisions, including the failure
                                                                              to act or decide, of any person, group,
                    (3) Any cracking, bulging, sagging,                       organization or governmental body.
                         bending, leaning, settling, shrinkage
                         or expansion as such condition re-               c. Faulty, inadequate or defective:
                         lates to (1) or (2) above.                           (1) Planning, zoning, development, sur-
                    But if collapse results in a Covered                           veying, siting;
                    Cause of Loss at the described prem-                      (2) Design,       specifications,    work-
                    ises, we will pay for the loss or damage                      manship,       repair,    construction,
                    caused by that Covered Cause of Loss.                         renovation, remodeling, grading,
                    This exclusion, k., does not apply:                           compaction;
                         (a) To the extent that coverage is                   (3) Materials used in repair, construc-
                              provided under the Additional                       tion, renovation or remodeling; or
                             Coverage — Collapse; or                          (4) Maintenance;
                         (b) To collapse caused by one or                     of part or all of any property on or off
                             more of the following:                           the described premises.
                             (i) The "specified causes of              4. Special Exclusions
                                   loss";                                 The following provisions apply only to the
                             (ii) Breakage of building glass;             specified Coverage Forms.
                             (iii) Weight of rain that collects           a. Business Income (And Extra Expense)
                                   on a roof; or                              Coverage Form, Business Income
                             (iv) Weight of people or per-                    (Without Extra Expense) Coverage
                                   sonal property.                            Form, Or Extra Expense Coverage Form
                I. Discharge, dispersal, seepage, migra-
                    tion, release or escape of "pollutants"                       We will not pay for:
                    unless the discharge, dispersal, see-                         (1) Any loss caused by or resulting
                    page, migration, release or escape is                             from:
                    itself caused by any of the "specified                            (a) Damage or destruction of "fin-
                    causes of loss". But if the discharge,                                ished stock"; or
                    dispersal, seepage, migration, release
                    or escape of "pollutants" results in a                            (b) The time required to reproduce
                    "specified cause of loss", we will pay                                "finished stock".
                    for the loss or damage caused by that                             This exclusion does not apply to
                    "specified cause of loss".                                        Extra Expense.




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                    (2) Any loss caused by or resulting                           (b) Paragraph B.1.c., Governmental
                         from direct physical loss or damage                          Action;
                         to radio or television antennas (in-                     (c) Paragraph      B.1.d.,   Nuclear
                         cluding satellite dishes) and their                          Hazard;
                         lead-in wiring, masts or towers.
                                                                                  (d) Paragraph B.1.e., Utility Serv-
                    (3) Any increase of loss caused by or                             ices; and
                         resulting from:
                         (a) Delay in rebuilding, repairing or                    (e) Paragraph B.1.f., War And Mili-
                                                                                      tary Action.
                             replacing the property or re-
                             suming "operations", due to in-                   (2) The following additional exclusions
                             terference at the location of the                    apply to insurance under this Cov-
                             rebuilding, repair or replacement                    erage Form:
                             by strikers or other persons; or                     (a) Contractual Liability
                        (b) Suspension, lapse or cancel-                              We will not defend any claim or
                             lation of any license, lease or                          "suit", or pay damages that you
                             contract. But if the suspension,                         are legally liable to pay, solely
                             lapse or cancellation is directly                        by reason of your assumption
                             caused by the "suspension" of                            of liability in a contract or
                             "operations", we will cover                              agreement. But this exclusion
                             such loss that affects your                              does not apply to a written
                             Business Income during the                               lease agreement in which you
                             "period of restoration" and any                          have assumed liability for build-
                             extension of the "period of rest-                        ing damage resulting from an
                             oration" in accordance with the                          actual or attempted burglary or
                             terms of the Extended Business                           robbery, provided that:
                             Income Additional Coverage
                             and the Extended Period Of                               (i) Your assumption of liability
                                                                                           was executed prior to the
                             Indemnity Optional Coverage or
                                                                                           accident; and
                             any variation of these.
                                                                                      (ii) The building is Covered
                   (4) Any Extra Expense caused by or
                                                                                           Property under this Cover-
                        resulting from suspension, lapse or
                                                                                           age Form.
                        cancellation of any license, lease or
                        contract beyond the "period of                            (b) Nuclear Hazard
                        restoration".                                                 We will not defend any claim or
                   (5) Any other consequential loss.                                  "suit", or pay any damages,
                                                                                      loss, expense or obligation, re-
                b. Leasehold Interest Coverage Form
                                                                                      sulting from nuclear reaction or
                   (1) Paragraph B.1.a., Ordinance Or                                 radiation, or radioactive con-
                        Law, does not apply to insurance                              tamination, however caused.
                        under this Coverage Form.
                                                                       5. Additional Exclusion
                   (2) We will not pay for any loss caused
                                                                          The following provisions apply only to the
                        by:                                               specified property.
                        (a) Your cancelling the lease;
                                                                          LOSS OR DAMAGE TO PRODUCTS
                        (b) The suspension, lapse or can-                 We will not pay for loss or damage to any
                             cellation of any license; or
                                                                          merchandise, goods or other product
                        (c) Any other consequential loss.                 caused by or resulting from error or
                c. Legal Liability Coverage Form                          omission by any person or entity (including
                                                                          those having possession under an arrange-
                   (1) The following exclusions do not ap-                ment where work or a portion of the work
                        ply to insurance under this Cover-                is outsourced) in any stage of the develop-
                        age Form:                                         ment, production or use of the product,
                       (a) Paragraph B.1.a., Ordinance Or                 including planning, testing, processing,
                             Law;                                         packaging, installation, maintenance or




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               repair. This exclusion applies to any effect                     (2) Business Income Coverage or Extra
               that compromises the form, substance or                              Expense Coverage.
               quality of the product. But if such error or                e. Property that is missing, where the only
               omission results in a Covered Cause of                           evidence of the loss or damage is a
               Loss, we will pay for the loss or damage                         shortage disclosed on taking inventory,
               caused by that Covered Cause of Loss.                            or other instances where there is no
        C. Limitations                                                          physical evidence to show what
           The following limitations apply to all policy                        happened to the property.
           forms and endorsements, unless otherwise                        f. Property that has been transferred to a
           stated.                                                              person or to a place outside the des-
           1. We will not pay for loss of or damage to                          cribed premises on the basis of unauth-
               property, as described and limited in this                       orized instructions.
               section. In addition, we will not pay for any            2. We will not pay for loss of or damage to
               loss that is a consequence of loss or                       the following types of property unless
               damage as described and limited in this                     caused by the "specified causes of loss" or
               section.                                                    building glass breakage:
               a. Steam boilers, steam pipes, steam                        a. Animals, and then only if they are killed
                   engines or steam turbines caused by or                       or their destruction is made necessary.
                   resulting from any condition or event                   b. Fragile articles such as statuary, mar-
                   inside such equipment. But we will pay                       bles, chinaware and porcelains, if bro-
                   for loss of or damage to such                                ken. This restriction does not apply to:
                   equipment caused by or resulting from
                   an explosion of gases or fuel within the                     (1) Glass; or
                   furnace of any fired vessel or within the                    (2) Containers of property held for sale.
                   flues or passages through which the                     c. Builders' machinery, tools and equip-
                   gases of combustion pass.                                    ment owned by you or entrusted to
               b. Hot water boilers or other water heat-                        you, provided such property is Covered
                   ing equipment caused by or resulting                         Property.
                   from any condition or event inside such                      However, this limitation does not apply:
                   boilers or equipment, other than an
                   explosion.                                                   (1) If the property is located on or
                                                                                    within 100 feet of the described
               c. The interior of any building or structure,                        premises, unless the premises is
                   or to personal property in the building                          insured under the Builders Risk
                   or structure, caused by or resulting                             Coverage Form; or
                   from rain, snow, sleet, ice, sand or
                   dust, whether driven by wind or not,                         (2) To Business Income Coverage or to
                   unless:                                                          Extra Expense Coverage.
                   (1) The building or structure first                  3. The special limit shown for each category,
                       sustains damage by a Covered                        a. through d., is the total limit for loss of or
                       Cause of Loss to its roof or walls                  damage to all property in that category.
                       through which the rain, snow,                       The special limit applies to any one occur-
                       sleet, ice, sand or dust enters; or                 rence of theft, regardless of the types or
                                                                           number of articles that are lost or damaged
                   (2) The loss or damage is caused by or                  in that occurrence. The special limits are:
                       results from thawing of snow, sleet
                       or ice on the building or structure.                a. $2,500 for furs, fur garments and gar-
                                                                                ments trimmed with fur.
               d. Building materials and supplies not at-
                   tached as part of the building or struc-                b. $2,500 for jewelry, watches, watch
                   ture, caused by or resulting from theft.                     movements, jewels, pearls, precious
                                                                                and semi-precious stones, bullion, gold,
                   However, this limitation does not apply                      silver, platinum and other precious
                   to:                                                          alloys or metals. This limit does not
                   (1) Building materials and supplies held                     apply to jewelry and watches worth
                       for sale by you, unless they are in-                     $100 or less per item.
                       sured under the Builders Risk Cov-                  c. $2,500 for patterns, dies, molds and
                       erage Form; or                                           forms.




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                d. $250 for stamps, tickets, including lot-                    course of the construction, remodeling
                     tery tickets held for sale, and letters of                or renovation.
                     credit.                                               d. Use of defective material or methods in
                These special limits are part of, not in                       construction, remodeling or renovation
                addition to, the Limit of Insurance appli-                     if the abrupt collapse occurs after the
                cable to the Covered Property.                                 construction, remodeling or renovation
                This limitation, C.3., does not apply to                       is complete, but only if the collapse is
                Business Income Coverage or to Extra Ex-                       caused in part by:
                pense Coverage.                                                (1) A cause of loss listed in 2.a. or
           4. We will not pay the cost to repair any                                2.b.;
                defect to a system or appliance from which                     (2) One or more of the "specified
                water, other liquid, powder or molten mate-                         causes of loss";
                rial escapes. But we will pay the cost to
                repair or replace damaged parts of fire-                      (3) Breakage of building glass;
                extinguishing equipment if the damage:                        (4) Weight of people or personal
                                                                                    property; or
                a. Results in discharge of any substance
                     from an automatic fire protection                        (5)   Weight  of rain that collects on a
                     system; or                                                     roof.
                b. Is directly caused by freezing.                     3. This Additional Coverage — Collapse does
                                                                          not apply to:
                However, this limitation does not apply to
               Business Income Coverage or to Extra Ex-                   a. A building or any part of a building that
               pense Coverage.                                                is in danger of falling down or caving
                                                                              in;
        D. Additional Coverage — Collapse
                                                                          b. A part of a building that is standing,
           The coverage provided under this Additional                        even if it has separated from another
           Coverage — Collapse applies only to an abrupt                      part of the building; or
           collapse as described and limited in D.1.
           through D.7.                                                   c. A building that is standing or any part
                                                                              of a building that is standing, even if it
           1. For the purpose of this Additional Coverage                     shows evidence of cracking, bulging,
               — Collapse, abrupt collapse means an                           sagging, bending, leaning, settling,
               abrupt falling down or caving in of a                          shrinkage or expansion.
               building or any part of a building with the
               result that the building or part of the                 4. With respect to the following property:
               building cannot be occupied for its intended               a. Outdoor radio or television antennas
               purpose.                                                       (including satellite dishes) and their
           2. We will pay for direct physical loss or                         lead-in wiring, masts or towers;
               damage to Covered Property, caused by                      b. Awnings, gutters and downspouts;
               abrupt collapse of a building or any part of
                                                                          c. Yard fixtures;
               a building that is insured under this Cover-
               age Form or that contains Covered Property                 d. Outdoor swimming pools;
               insured under this Coverage Form, if such                  e. Fences;
               collapse is caused by one or more of the
               following:                                                 f. Piers, wharves and docks;
                                                                          g. Beach or diving platforms or
                                                                              appurtenances;
                a. Building decay that is hidden from
                   view, unless the presence of such                      h. Retaining walls; and
                   decay is known to an insured prior to                  i. Walks, roadways and other paved
                   collapse;                                                  surfaces;
                b. Insect or vermin damage that is hidden                 if an abrupt collapse is caused by a cause
                   from view, unless the presence of such                 of loss listed in 2.a. through 2.d., we will
                   damage is known to an insured prior to                 pay for loss or damage to that property
                   collapse;                                              only if:
                c. Use of defective material or methods in                    (1) Such loss or damage is a direct
                   construction, remodeling or renovation                          result of the abrupt collapse of a
                   if the abrupt collapse occurs during the                        building    insured   under     this
                                                                                   Coverage Form; and


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                     (2) The property is Covered Property                  a. Direct physical loss or damage to
                          under this Coverage Form.                             Covered Property caused by "fungus",
            5. If personal property abruptly falls down or                      wet or dry rot or bacteria, including the
                caves in and such collapse is not the result                    cost of removal of the "fungus", wet or
                of abrupt collapse of a building, we will pay                   dry rot or bacteria;
                for loss or damage to Covered Property                     b. The cost to tear out and replace any
                caused by such collapse of personal pro-                        part of the building or other property as
                perty only if:                                                  needed to gain access to the "fungus",
                a. The collapse of personal property was                        wet or dry rot or bacteria; and
                     caused by a cause of loss listed in 2.a.              c. The cost of testing performed after
                     through 2.d.;                                              removal, repair, replacement or restora-
                b. The personal property which collapses                        tion of the damaged property is com-
                     is inside a building; and                                  pleted, provided there is a reason to
                                                                                believe that "fungus", wet or dry rot or
                c. The property which collapses is not of                       bacteria are present.
                     a kind listed in 4., regardless of
                     whether that kind of property is con-             3. The coverage described under E.2. of this
                     sidered to be personal property or real               Limited Coverage is limited to $15,000.
                     property.                                             Regardless of the number of claims, this
                                                                           limit is the most we will pay for the total of
                The coverage stated in this Paragraph 5.                   all loss or damage arising out of all occur-
                does not apply to personal property if mar-                rences of "specified causes of loss" (other
                ring and/or scratching is the only damage                  than fire or lightning) and Flood which take
                to that personal property caused by the                    place in a 12-month period (starting with
                collapse.                                                  the beginning of the present annual policy
           6. This Additional Coverage — Collapse does                     period). With respect to a particular occur-
                not apply to personal property that has not                rence of loss which results in "fungus",
               abruptly fallen down or caved in, even if                  wet or dry rot or bacteria, we will not pay
               the personal property shows evidence of                    more than a total of $15,000 even if the
               cracking, bulging, sagging, bending, lean-                 "fungus", wet or dry rot or bacteria con-
               ing, settling, shrinkage or expansion.                     tinues to be present or active, or recurs, in
           7. This Additional Coverage — Collapse will                    a later policy period.
               not increase the Limits of Insurance pro-               4. The coverage provided under this Limited
               vided in this Coverage Part.                               Coverage does not increase the applicable
           8. The term Covered Cause of Loss includes                     Limit of Insurance on any Covered Pro-
               the Additional Coverage — Collapse as                      perty. If a particular occurrence results in
               described and limited in D.1. through D.7.                 loss or damage by "fungus", wet or dry rot
                                                                          or bacteria, and other loss or damage, we
        E. Additional Coverage — Limited Coverage For                     will not pay more, for the total of all loss or
           "Fungus", Wet Rot, Dry Rot And Bacteria                        damage, than the applicable Limit of Insur-
           1. The coverage described in E.2. and E.6.                     ance on the affected Covered Property.
               only applies when the "fungus", wet or dry                 If there is covered loss or damage to
               rot or bacteria is the result of one or more               Covered Property, not caused by "fungus",
               of the following causes that occurs during                 wet or dry rot or bacteria, loss payment
               the policy period and only if all reasonable               will not be limited by the terms of this
               means were used to save and preserve the                   Limited Coverage, except to the extent that
               property from further damage at the time of                "fungus", wet or dry rot or bacteria causes
               and after that occurrence.                                 an increase in the loss. Any such increase
               a. A "specified cause of loss" other than                  in the loss will be subject to the terms of
                    fire or lightning; or                                 this Limited Coverage.
               b. Flood, if the Flood Coverage Endorse-                5. The terms of this Limited Coverage do not
                    ment applies to the affected premises.                increase or reduce the coverage provided
                                                                          under Paragraph F.2. (Water Damage,
           2. We will pay for loss or damage by "fun-
                                                                          Other Liquids, Powder Or Molten Material
               gus", wet or dry rot or bacteria. As used in
                                                                          Damage) of this Causes Of Loss Form or
               this Limited Coverage, the term loss or
                                                                          under the Additional Coverage — Collapse.
               damage means:




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           6. The following, 6.a. or 6.b., applies only if                      (3) Theft of an entire bale, case or
              Business Income and/or Extra Expense                                   package by forced entry into a se-
              Coverage applies to the described premises                             curely locked body or compartment
              and only if the "suspension" of "opera-                                of the vehicle. There must be vis-
              tions" satisfies all terms and conditions of                           ible marks of the forced entry.
              the applicable Business Income and/or Ex-                    c. The most we will pay for loss or dam-
              tra Expense Coverage Form.                                        age under this Extension is $5,000.
              a. If the loss which resulted in "fungus",                   This Coverage Extension is additional insur-
                   wet or dry rot or bacteria does not in it-              ance. The Additional Condition, Coinsur-
                   self necessitate a "suspension" of "op-                 ance, does not apply to this Extension.
                   erations", but such "suspension" is
                   necessary due to loss or damage to                  2. Water Damage, Other Liquids, Powder Or
                   property caused by "fungus", wet or                     Molten Material Damage
                   dry rot or bacteria, then our payment                   If loss or damage caused by or resulting
                   under Business Income and/or Extra                      from covered water or other liquid, powder
                   Expense is limited to the amount of                     or molten material damage loss occurs, we
                   loss and/or expense sustained in a                      will also pay the cost to tear out and
                   period of not more than 30 days. The                    replace any part of the building or structure
                   days need not be consecutive.                           to repair damage to the system or appli-
              b. If a covered "suspension" of "opera-                      ance from which the water or other sub-
                   tions" was caused by loss or damage                     stance escapes. This Coverage Extension
                   other than "fungus", wet or dry rot or                  does not increase the Limit of Insurance.
                   bacteria but remediation of "fungus",               3. Glass
                   wet or dry rot or bacteria prolongs the                 a. We will pay for expenses incurred to
                   "period of restoration", we will pay for                     put up temporary plates or board up
                   loss and/or expense sustained during                         openings if repair or replacement of
                   the delay (regardless of when such a                         damaged glass is delayed.
                   delay occurs during the "period of
                   restoration"), but such coverage is lim-                b. We will pay for expenses incurred to
                   ited to 30 days. The days need not be                        remove or replace obstructions when
                   consecutive.                                                 repairing or replacing glass that is part
                                                                                of a building. This does not include re-
        F. Additional Coverage Extensions                                       moving or replacing window displays.
           1. Property In Transit                                          This Coverage Extension, F.3., does not in-
              This Extension applies only to your per-                     crease the Limit of Insurance.
              sonal property to which this form applies.            G. Definitions
              a. You may extend the insurance provided                 1. "Fungus" means any type or form of
                   by this Coverage Part to apply to your                  fungus, including mold or mildew, and any
                   personal property (other than property                  mycotoxins, spores, scents or by-products
                  in the care, custody or control of your                  produced or released by fungi.
                  salespersons) in transit more than 100
                  feet from the described premises.                    2. "Specified causes of loss" means the fol-
                  Property must be in or on a motor                        lowing: fire; lightning; explosion; wind-
                  vehicle you own, lease or operate while                  storm or hail; smoke; aircraft or vehicles;
                  between points in the coverage terri-                    riot or civil commotion; vandalism; leakage
                  tory.                                                    from fire-extinguishing equipment; sinkhole
                                                                           collapse; volcanic action; falling objects;
              b. Loss or damage must be caused by or                       weight of snow, ice or sleet; water
                  result from one of the following causes                  damage.
                  of loss:
                                                                           a. Sinkhole collapse means the sudden
                  (1) Fire, lightning, explosion, wind-                         sinking or collapse of land into under-
                       storm or hail, riot or civil commo-                      ground empty spaces created by the
                       tion, or vandalism.                                      action of water on limestone or dolo-
                  (2) Vehicle collision, upset or overturn.                     mite. This cause of loss does not
                       Collision means accidental contact                       include:
                       of your vehicle with another vehicle                     (1) The cost of filling sinkholes; or
                       or object. It does not mean your
                       vehicle's contact with the roadbed.                      (2) Sinking or collapse of land into
                                                                                    man-made underground cavities.


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                 b. Falling objects does not include loss or               c. Water damage means accidental dis-
                    damage to:                                                charge or leakage of water or steam as
                    (1) Personal property in the open; or                     the direct result of the breaking apart or
                                                                              cracking of a plumbing, heating, air
                    (2) The interior of a building or struc-                  conditioning or other system or ap-
                         ture, or property inside a building or               pliance (other than a sump system in-
                         structure, unless the roof or an out-                cluding its related equipment and
                         side wall of the building or struc-                  parts), that is located on the described
                        ture is first damaged by a falling                    premises and contains water or steam.
                        object.




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                                                                                                COMMERCIAL PROPERTY
                                                                                                      CP 10 32 08 08

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              WATER EXCLUSION ENDORSEMENT
        This endorsement modifies insurance provided under the following:

            COMMERCIAL PROPERTY COVERAGE PART
            STANDARD PROPERTY POLICY

        A. The exclusion in Paragraph B. replaces the                   5. Waterborne material carried or otherwise
           Water Exclusion in this Coverage Part or Policy.                moved by any of the water referred to in
        B. Water                                                           Paragraph 1., 3. or 4., or material carried
                                                                           or otherwise moved by mudslide or
           1. Flood, surface water, waves (including tidal                 mudflow.
              wave and tsunami), tides, tidal water, over-
              flow of any body of water, or spray from                 This exclusion applies regardless of whether
              any of these, all whether or not driven by               any of the above, in Paragraphs 1. through 5.,
              wind (including storm surge);                            is caused by an act of nature or is otherwise
                                                                       caused. An example of a situation to which
           2. Mudslide or mudflow;                                     this exclusion applies is the situation where a
           3. Water that backs up or overflows or is                   dam, levee, seawall or other boundary or con-
              otherwise discharged from a sewer, drain,                tainment system fails in whole or in part, for
              sump, sump pump or related equipment;                    any reason, to contain the water.
           4. Water under the ground surface pressing                  But if any of the above, in Paragraphs 1.
              on, or flowing or seeping through:                       through 5., results in fire, explosion or sprinkler
              a. Foundations, walls, floors or paved                   leakage, we will pay for the loss or damage
                  surfaces;                                            caused by that fire, explosion or sprinkler
                                                                       leakage (if sprinkler leakage is a Covered Cause
              b. Basements, whether paved or not; or                   of Loss).
              c. Doors, windows or other openings; or




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